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                         EXHIBIT A
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                       UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF COLUMBIA


FRIENDS OF THE HEADWATERS,


                                        Case No.
      Plaintiff,

v.


UNITED STATES ARMY CORPS OF
ENGINEERS,


      Defendant.

__________________________________


                   CORPS DECISION DOCUMENT AND APPENDIX
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       Enbridge Line 3
     Replacement Project
Department of the Army Environmental
Assessment and Statement of Findings


November 23, 2020
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Department of the Army Environmental Assessment and
Statement of Findings for the Enbridge Line 3 Replacement
Project
This document constitutes the Environmental Assessment, Section 404(b)(1) Guidelines
Evaluation, Public Interest Review, and Statement of Findings for the Enbridge Line 3
Replacement project and is referred to as the Decision Document for this project.

Lead Federal Agency:                      U.S. Army Corps of Engineers

Applicant:                                Enbridge Energy, Limited Partnership

Applicant Reference Number:               MVP-2014-01071-CLJ

Responsible Official:                     COL Karl Jansen
                                          District Commander
                                          180 East Fifth Street, Suite 700
                                          St. Paul, MN 55101

For Information Contact:                  Chad Konickson
                                          Regulatory Division Chief
                                          180 East Fifth Street, Suite 700
                                          St. Paul, MN 55101
                                          (651) 290-5364




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SUBJECT
Department of the Army Environmental Assessment and Statement of Findings for the Above-
Referenced Standard Individual Permit Application

This document constitutes the Environmental Assessment, Section 404(b)(1) Guidelines
Evaluation, Public Interest Review, and Statement of Findings for the subject application

Due to multiple agency approvals needed for this Project, the Corps and other regulatory
agencies worked collaboratively to leverage expertise and information, and to maximize
consistency in regulatory requirements where allowed by respective agency policies to assist in
minimizing impacts to aquatic resources as well as reduce duplication in regulatory
requirements.

1.0    INTRODUCTION AND OVERVIEW

       Information about the proposal, subject to one or more of the Corps’ regulatory
       authorities, is provided in Section 1. Detailed evaluation of the activity is found in
       Sections 2 through 11 and findings are documented in Section 12 of this decision
       document. Further, summary information about the activity including administrative
       history of actions taken during Project evaluation is attached (ORM2 Summary) and
       incorporated in this memorandum.

1.1     ACTIVITY LOCATION

        The proposed Enbridge Line 3 Replacement Project (Project) route crosses multiple
        waterways in Minnesota and in North Dakota. The designated route crosses portions of
        Kittson, Marshall, Pennington, Polk, Red Lake, Clearwater, Hubbard, Wadena, Cass,
        Crow Wing, Aitkin, St. Louis, and Carlton Counties in Minnesota, and a portion of
        Pembina County in North Dakota. The corridor for the Designated Route is located in
        the following Public Land Survey System (PLSS) locations:

       Township                            Range                 Section(s)

       48                     15           31
       48                     16           19, 27, 28, 29, 30, 34, 35, 36
       48                     17           6, 7, 8, 9, 13, 14, 15, 16, 17, 22, 23, 24
       48                     18           1
       49                     18           6, 7, 8, 16, 17, 21, 22, 26, 27, 35, 36
       49                     19           1
       50                     19           7, 8, 16, 17, 21, 22, 26, 27, 35, 36
       50                     20           1, 2, 12
       51                     20           19, 20, 21, 27, 28, 34, 35
       51                     21           19, 20, 21, 22, 23, 24
       51                     22           19, 20, 21, 22, 23, 24
       51                     23           22, 23, 24, 27, 28, 29, 30




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51                24        25, 26, 27, 28, 29, 31, 32
51                25        31, 32, 33, 34, 35, 36
51                26        31, 32, 33, 34, 35, 36
51                27        25, 26, 27, 28, 36
138               28        6
138               29        1, 7, 8, 9, 10, 11, 12, 14, 15
138               30        7, 8, 9, 10, 11, 12
138               31        5, 6, 8, 9, 10, 11, 12
138               32        1, 2, 3, 4, 5, 6
138               33        1, 2, 3, 4, 5, 6
138               34        1
139               25        1, 2, 3, 4, 7, 8, 9
139               26        11, 12, 14, 15, 19, 20, 21, 22
139               27        13, 14, 15, 19, 20, 21, 22, 24
139               28        24, 25, 26, 27, 28, 29, 31, 32
139               34        31, 32, 33, 34, 35, 36
139               35        5, 6, 7, 18, 19, 30, 31, 32, 33, 34, 35, 36
140               35        6, 7, 18, 19, 20, 29, 32
141               35        5, 8, 17, 20, 29, 31, 32
142               35        5, 8, 17, 20, 29, 32
143               35        5, 8, 17, 20, 21, 29, 32, 33
144               35        19, 29, 30, 32
144               36        2, 11, 12, 13, 24
145               36        2, 11, 14, 23, 26, 35, 36
146               36        7, 8, 9, 10, 14, 15, 23, 26, 35
146               37        2, 3, 11, 12
147               37        5, 8, 16, 17, 21, 27, 28, 34
148               37        6, 7, 8, 17, 20, 29, 32
149               37        29, 30, 32
149               38        6, 7, 8, 9, 15, 16, 22, 23, 24, 25
149               39        1, 2, 3
150               39        19, 28, 29, 30, 33, 34
150               40        6, 7, 8, 9, 14, 15, 16, 23, 24
150               41        1, 2
151               41        19, 28, 29, 30, 33, 34, 35
151               42        4, 5, 9, 10, 14, 15, 23, 24
152               42        30, 31, 32
152               43        4, 5, 9, 10, 14, 15, 23, 24, 25
153               43        18, 19, 20, 29, 32, 33
153               44        2, 3, 11, 12, 13
154               44        18, 19, 20, 28, 29, 33, 34
154               45        2, 11, 12, 13
155               45        7, 17, 18, 20, 21, 28, 33, 34, 35
155               46        1, 2, 3, 4, 12
156               46        7, 17, 18, 20, 21, 28, 33
156               47        1, 2, 12
157               47        6, 7, 8, 16, 17, 21, 22, 26, 27, 35, 36



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       157                     48           1
       158                     48           5, 6, 8, 9, 15, 16, 22, 23, 26, 35, 36
       159                     48           31
       159                     49           4, 5, 9, 10, 14, 15, 23, 25, 26, 36
       160                     49           30, 31, 32
       160                     50           4, 5, 9, 10, 14, 15, 23, 24, 25




Figure 1. Line 3 Replacement Project Overview Map

1.2    PROJECT DESCRIPTION
The applicant, Enbridge Energy Limited Partnership (Enbridge), seeks a Department of the
Army (DA) permit for construction-related activities in waters of the U.S. associated with the
proposed Project. The Project involves the replacement of approximately 282 miles of the
existing 34-inch-diameter Line 3 pipeline from the Red River valve in North Dakota to the
Minnesota/Wisconsin border, with 330 miles of new 36-inch-diameter pipeline and associated
facilities along the Project’s Designated Route in Minnesota. Construction activities would result
in temporary discharges of fill material into 1,049.58 acres of wetlands, 1.13 acres of
streambed, and permanent discharges of fill material into 9.97 acres of wetlands.
Approximately 130.21 acres of the total acres temporarily impacted would be permanently
converted from a forested or scrub-shrub vegetation community to an herbaceous vegetation
community. Permanently converted areas are within the 50-foot permanent easement where
the pipeline corridor would be maintained by periodic mowing and clearing activities. Forested




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and scrub-shrub vegetation communities outside of the permanent easement would be allowed
to regenerate.

A total of 227 waterbodies would being crossed by the Project. Ditches account for 95 of the
waterbodies, many of which are roadside ditches. Seventy-four of the ditches would be crossed
via a trench method and 21 would be crossed via bore method. The proposal would cross 132
streams (84 with perennial flow, 16 with intermittent flow, 20 with ephemeral flow, and 12
streams where no flow regime was identified). Of the streams, 21 would be crossed via
Horizontal Directional Drill (HDD) or bore method, and 111 will be crossed via a trench method.
Waterbodies described throughout the EA include two navigable rivers subject to Section 10 of
the Rivers and Harbors Act (Section 10), and tributaries which includes streams and ditches.

The overall Project features include mainline construction activities, equipment upgrades,
construction of temporary workspaces, access roads, cathodic protection systems, and an
expansion of the existing Clearbrook Terminal footprint. Additionally, 37 above-ground mainline
valves are proposed near major rivers, population centers, at pump stations, and in
environmentally sensitive areas along the Designated Route. Four existing pump stations would
be expanded and four new pump stations within the permanent pipeline right-of-way are also
proposed. Expansion of existing pump stations would occur at Donaldson (Kittson County),
Viking (Marshall County), Plummer (Red Lake County) and Clearbrook (Clearwater County),
and installation of new pump stations would occur at Two Inlets (Hubbard County), Backus
(Cass County), Swatara (Aitkin County) and North Gowan North (St. Louis County). Of the 37
total mainline valves to be constructed, 13 valve sites include a regulated discharge required for
construction of an access road. In addition, six of the eight pump stations (Donaldson,
Plummer, Clearbrook Terminal, Two Inlets, Swatara, and Gowan) include a regulated discharge
into waters of the U.S.

The Project would be constructed using typical industry-accepted pipeline construction
methods, following a sequential process which includes: survey and staking, clearing and site
preparation, pipe stringing, bending, welding, coating, trenching, lowering-in, backfilling,
hydrostatic testing, cleanup, and restoration. In most areas, these construction processes would
proceed in an assembly-line fashion with construction crews in five independent spreads
moving along the construction right-of-way. Construction crews would utilize mats or temporary
access roads for ingress/egress to Project workspaces where travel down the right-of-way is not
feasible.

Enbridge would permanently deactivate (i.e., permanently remove from service) the existing
Line 3 pipeline following construction and commissioning of the Project in accordance with
Pipeline and Hazardous Materials Safety Administration (PHMSA) regulations. The EPA-
Enbridge Consent Decree arising out of two oil spills that occurred in 2010 from two Enbridge
Lakehead System pipelines in Michigan requires Enbridge to purge remaining oil from Existing
Line 3 by running a cleaning pig through the line within 90 days after Existing Line 3 is taken out
of service. The Consent Decree also requires Enbridge to complete final clean-out and
decommissioning of Existing Line 3 within one year thereafter. Once the cleaning process has
been completed and passed inspection, the existing pipeline would be physically disconnected
from pump station terminals. Mainline valves would be closed and disconnected so that they
could not be operated. Enbridge engineers would then determine if additional segmentation of



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the pipeline would be needed to prevent the pipe from acting as a conduit for water or residual
oil, either within or outside of the pipe. The pipeline would be capped on the open ends of the
segments. Enbridge would be required to continue to monitor and maintain the abandoned Line
3 right-of-way in accordance with PHMSA regulations indefinitely. Enbridge notes that this
monitoring would enable it to identify and assess impacts to the public or the environment
caused by the abandoned Line 3. Enbridge would take measures to mitigate identified potential
risks, and cathodic protection would be maintained for the abandoned pipeline to prevent
corrosion. In addition to Enbridge’s own monitoring, Minnesota Office of Pipeline Safety
(MNOPS) is authorized by PHMSA to provide local regulatory oversight. This includes safety
inspections of operating pipelines and during decommissioning, as well as inspections during
integrity digs. Once deactivation steps have been completed, portions of pipeline may be
removed, including exposed segments of the pipeline and segments in areas where landowners
have requested removal after the appropriate permits and authorizations have been obtained.
Enbridge would consult with the Corps and apply for the appropriate permit(s) to conduct any
activities that may include dredge and fill activities within waters of the United States prior to
commencing permanent deactivation of existing Line 3.

1.3    PROPOSED AVOIDANCE AND MINIMIZATION MEASURES

In April 2015 Enbridge filed separate applications for a certificate of need (CN) and routing
permit (RP) for the proposed Project with the Minnesota Public Utilities Commission (MPUC).
The MPUC authorized the State of Minnesota Department of Commerce, Energy Environmental
Review and Analysis Unit (DOCEERA) to prepare an environmental impact statement (EIS).
Details of this process are included in Section 1.5 below. During the scoping process for the
State EIS, Enbridge studied a variety of major route alternatives and minor route variations in
developing its preferred route for the Project. In selecting its preferred route, Enbridge
considered constraints, opportunities, technical guidelines, potential environmental impacts, and
economic feasibility. The geographic requirements necessary to meet Project purpose and
objectives are that the Project must cross into Minnesota in Kittson County, make deliveries to
and interconnect with other Enbridge and third-party pipelines at the Clearbrook Terminal, and
exit Minnesota in Carlton County to connect with the Superior Terminal in Wisconsin. Enbridge
selected locations for new pump stations based on the results of their hydraulic studies to
optimize pipeline performance. Enbridge also considered and evaluated other location factors
that are important in minimizing impacts to the environment and human settlement. Factors
considered prior to selection of its preferred route included, but were not limited to, the following:

• Avoiding sensitive areas, such as state forests;
• Avoiding wetlands and/or minimizing wetland impacts where possible;
• Minimizing tree clearing;
• Avoiding close proximity to historic properties, residential areas, and communities;
• Ensuring reasonably level grade;
• Ensuring that the site spacing provides sufficient clearances to allow effective operation and
maintenance of all components;
• Ensuring reasonable highway access with minimal upgrading of municipal roads;
• Ensuring reasonable access to suitable power and utilities;
• Ability to locate on the correct side of the mainline corridor to prevent pipe cross-overs for




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station suction and discharge lines; and,
• Land availability.

The Environmental Protection Plan (EPP) submitted with the permit application and subsequent
revisions provides details regarding minimization of wetland & waterbody impacts from
construction activities along the Designated Route. Avoidance and/or minimization measures
that are generally applicable to all wetland crossings include the following: construction
workspace reductions in wetlands and at waterbody crossings; Right-of-way clearing using low
ground-pressure equipment or operated off timber mats to limit disturbance to wetlands; locating
additional temporary workspaces (ATWS) outside of wetlands to the extent practicable to
minimize the area of disturbance; limit grading to trench areas and minimize mechanized land
clearing within construction workspaces to the extent practicable; reduce area of vegetative
clearing along the HDD drill path; conduct vegetative clearing at stream banks for the HDD drill
path or response to inadvertent release of drilling mud only when needed; maintain roots where
vegetative clearing is required to reduce potential for erosion; no grading or stump removal over
the HDD path except at limited locations where free-span engineered bridges will be installed,
or as needed to assist with staging to respond to an inadvertent release of drilling mud; install
and maintain erosion control devices and utilize best management practices to prevent
sediment flow into wetlands; and, strip and segregate up to 1 foot of the organic layer and/or
topsoil (i.e., “O” and/or “A” horizons) from the trench line and separate from trench spoil to
preserve the native seed stock from wetlands in areas without standing water. In standing water
wetlands, the Contractor will attempt to segregate as much of the soil surface as possible based
on site and saturation conditions.

1.4     PROPOSED COMPENSATORY MITIGATION

Enbridge indicated they would provide compensatory wetland mitigation for unavoidable
permanent fill and for wetland type conversions and for temporal loss of wetland functions, in
accordance with the Corps and EPA Final Rule regarding Compensatory Mitigation for Losses
of Aquatic Resources 33 CFR Parts 325 and 332 and 40 CFR Part 230, 33 CFR Part 332
(2008) (Mitigation Rule), and the 2009 Final St. Paul District Policy for Wetland Compensatory
Mitigation in Minnesota (District Mitigation Policy).

The agencies developed a collaborative framework to inform the compensatory mitigation
requirements necessary to offset unavoidable wetland impacts to wetlands with unique features
and functions in accordance with the Federal Mitigation Rule and District Mitigation Policy. The
Corps, the Minnesota Pollution Control Agency (MPCA), and the Minnesota Department of
Natural Resources (MDNR) recognized a need to augment compensation requirements for
impacts to wetlands with unique features. Consideration was given to wetland and impact type,
impact duration and location, and anticipated effects to habitat, biodiversity, and hydrology.
Enbridge would secure Corps-approved wetland mitigation bank credits to compensate for
unavoidable permanent wetland impacts in watersheds crossed by the Project. In addition to
compensatory mitigation, Enbridge would provide an assurance bond for financial assurances to
ensure a high level of confidence that the restoration of wetlands and waters to pre-construction
conditions will be successfully completed in accordance with the performance standards. Final
compensatory mitigation is outlined in the L3 Compensatory Wetland Mitigation Plan dated
October 2020



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Enbridge proposes to conduct post-construction wetland monitoring efforts during the growing
season in years 1, 3, and 5 at all wetland locations for the purpose of adaptively managing
effects of unanticipated wetland impacts. The initial stage of monitoring would occur to ensure
proper maintenance of erosion and sediment control and related site-restoration structures until
affected areas stabilize with new vegetation. Enbridge would monitor wetlands for stabilization,
crowning, subsidence, restoration of hydrologic features (e.g., ponding or water impoundment),
invasive species (e.g., type, density, and distribution as compared to preconstruction
conditions), vegetative cover and species composition. The primary focus of the initial
monitoring would be on the development of plant communities in affected areas and the
restoration of topography to match pre-construction conditions. Enbridge would provide formal
reports of the monitoring results to the Corps, MPCA, and MDNR by December 31st of each
monitoring year. Specific monitoring details are outlined in the Post-Construction Wetlands and
Waterbody Monitoring Plan dated November 2020.

1.5    EXISTING CONDITIONS AND ANY APPLICABLE PROJECT
       HISTORY

The existing Enbridge Line 3 crude oil pipeline is a 34-inch-diameter, 1,097-mile long pipeline
that extends from Alberta, Canada to Superior, Wisconsin. Construction of Line 3 began in 1962
as 34-inch parallel loops to Enbridge’s Line 2 pipeline to create additional capacity. Enbridge
constructed additional loops until a continuous 34-inch line was completed, referred to as Line
3, and then separated from Line 2 in 1968. The crude oil transported in Line 3 has varied over
its many years of operation based on type of crude produced, shipper demand, and system
operations. When Enbridge originally placed the line into service, it transported only light crude
oil. Subsequently, Enbridge used Line 3 to transport medium and heavy crudes as well. It was
designed to transport all grades of crude oil, and the type of crude oil transported upon
replacement would be based on shipper demand as it is currently and was in the past.

The historic annual average operating capacity of Line 3 was approximately 760,000 barrels per
day.Enbridge voluntarily reduced the operating pressure and capacity on Line 3 to 390,000
barrels per day due to pipeline integrity issues, which are discussed below. The actual capacity
of the pipeline is dependent on the type of crude oil being transported through the line and the
presence or absence of pressure restrictions on the pipeline. Full implementation of the Line 3
Pipeline Replacement Project would restore the line to its historic annual average throughput
capacity of approximately 760,000 barrels per day, assuming the pipeline will transport of both
heavy and light crudes.

Approximately 90 percent of the Project route would be co-located with other Enbridge
pipelines; third-party pipelines or utilities; roads, railroads or highways. The remainder of the
route would be new corridor that is not adjacent to existing infrastructure (Greenfield route). The
term “Greenfield” refers to land that has not previously been used for another pipeline, utility,
road, or railroad right-of-way. The term Greenfield is applied to land that is more than 250 feet
away from an existing parallel pipeline, utility, road, or railroad right-of-way.




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The history of the environmental review process and of the permit application history for the
Project is summarized below. The summary also includes significant actions related to the
Minnesota Public Utilities Commission (MPUC) process in designating the route alignment. The
MPUC is the Minnesota unit of government with decision authority over oil and gas pipeline
route decisions. The Designated Route approved by the MPUC in its May 1 Order is the corridor
within which Enbridge is legally obligated to construct the Project under Minnesota law. The
Corps did not select the Designated Route and does not have authority over the entire pipeline.
The Corps’ Section 404/10 review includes segments of the overall Project comprised of waters
where regulated activities would occur as well as nearby uplands where the Corps has sufficient
control and responsibility to consider effects due to the relationship of the work in those upland
areas to work in waters.


           o   April 24, 2015: Enbridge submits applications to the Minnesota Public Utilities
               Commission (MPUC) for a Certificate of Need (CN) and Route Permit (RP) to
               construct and operate the Line 3 Project along Enbridge’s preferred route. MPUC
               asks the Minnesota Department of Commerce, Energy Environmental Review
               and Analysis (DOCEERA) to prepare an Environmental Impact Statement (“EIS”)
               in cooperation with the MDNR and MPCA to facilitate the review of Enbridge’s
               CN and RP applications for the Project, in accordance with Minnesota
               Administrative Rules Chapter 4410.

           o   September 30, 2015: Enbridge submits Section 404/10/408 permit application for
               the Line 3 Project.

           o   November 9, 2015: Enbridge submits additional resource spreadsheets, a
               tabulated list of property owners, and requests that the Corps not issue a public
               notice for the permit application at this time.

           o   April 11, 2016: DOCEERA Issues Scoping EAW and Draft Scoping Decision
               Document.

           o   April 25, 2016: through May 26, 2016: DOCEERA and MPUC hold 12 public
               meetings on the scoping EA for the State EIS.

           o   November 30, 2016: MPUC approves DOCEERA scoping decision.

           o   December 5, 2016: DOCEERA issues final EIS scoping decision document and
               issues EIS preparation notice for Line 3 Pipeline Replacement Project.

           o   February 23, 2017: Segment 18 of Line 3 in Wisconsin between the Minnesota
               state line and Superior, Wisconsin is authorized under DA permit 2014-00914-
               RMG.

           o   May 15, 2017: DOCEERA issues the State’s Draft EIS for the Line 3 Project and
               conducts Draft EIS informational meetings with comment period ending July 10,
               2017.



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   o   August 17, 2017: DOCEERA issues the State’s Final EIS (FEIS) for the Line 3
       Project.

   o   September 26, 2017 through October 25, 2017: MPUC holds16 public hearings
       in eight different counties, conducted by an Administrative Law Judge (ALJ) from
       the MN Office of Administrative Hearings to receive comments on the CN and RP
       applications for the proposed Line 3 Project.

   o   November 1, 2017 through November 17, 2017: ALJ conducts evidentiary
       hearings on certificate of need and route permit matters at MPUC.

   o   December 7, 2017: MPUC deems the State’s FEIS inadequate on the basis of
       four specific issues.

   o   December 14, 2017: MPUC issues an order which concluded that the Final EIS
       could not be found adequate until it contained specific additional information. The
       Commission requested the Department of Commerce to prepare the additional
       information and submit to the Commission by February 12, 2018.

   o   February 7, 2018: Enbridge submits supplemental permit application information
       for its preferred route.

   o   February 12, 2018: The DOCEERA issues the revised FEIS.

   o   April 23, 2018: ALJ issues Findings of Fact, Conclusions of Law, and
       Recommendation on the Line 3 Replacement Project Certificate of Need and
       Route Permit applications.

   o   May 1, 2018: The MPUC issues a written order finding the revised FEIS
       adequate.

   o   June 28, 2018: The MPUC grants a CN for the Project, subject to modifications.

   o   September 5, 2018: The MPUC issues a written Order granting the CN - as
       modified and requiring filings.

   o   September 21, 2018: Enbridge submits revised DA permit application for the
       Designated Route and a separate Section 408 review request for the Lost River
       crossing.

   o   October 26, 2018: The MPUC issues a written order granting the RP identifying
       Enbridge’s Preferred Project Route to include two route segment alternatives
       (RSA-05 and RSA-22) as the MPUC’s Designated Route.




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   o   December 20, 2018: The Corps issues a joint Public Notice for the DA permit
       application and for the Section 408 request. The PN provides for a 30-day
       comment period. An accompanying press release is issued.

   o   January 18, 2019: The Corps issues a second Public Notice and press release to
       extend the comment period for the joint Public Notice an additional 30 days, to
       February 21, 2019. (60 days total)

   o   January 31, 2019: North Dakota Department of Health issues Individual Section
       401 Water Quality Certification for portion of project being reviewed by St. Paul
       District in North Dakota.

   o   March 25, 2019: Corps submits Biological Assessment (BA) to USFWS and
       requests informal consultation seeking concurrence on effect determinations to
       listed species and habitat within the federal action areas.

   o   April 15, 2019: Enbridge submits revisions to the September 2018 permit
       application (updated tables, workspace revisions, and construction plans)

   o   June 3, 2019: The State Supreme Court rules the EIS inadequate for failing to
       evaluate the consequences of an oil spill within the Lake Superior Watershed.
       The CN and RP were remanded to the MPUC.

   o   July 2, 2019: USFWS concurs with Corps’ effect determinations regarding
       federally-listed threatened and endangered species within the permit areas of the
       linear Project.

   o   September 27, 2019: The MPCA issues a denial (without prejudice) of the
       Section 401 Certification.

   o   October 1, 2019: The MPUC requests the DOCEERA to revise its EIS for the
       Project to include the potential impact of an oil spill into the Lake Superior
       watershed. MPUC requested a 60-day suspense date to submit the report.

   o   October 8, 2019: Corps requests additional information from Enbridge to address
       Public Notice comments and questions regarding wetland and impact
       characterization, construction methods, impact minimization, post-construction
       monitoring, and compensatory mitigation.

   o   November 15, 2019: Enbridge re-submitted request to MPCA for Section 401
       Water Quality Certification.

   o   December 6, 2019: Enbridge submits response to October 8, 2019 Corps
       request. Response identifies minor changes in Project workspaces, resulting in
       reductions to temporary and permanent wetland impacts. Submittal also
       included updated tables and maps, Environmental Protection Plan,
       Compensatory Mitigation Plan, and Post Construction Monitoring Plan (PCMP).



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          o   December 19, 2019: MPCA request Corps consider extending the timeframe for
              decision on the on the Section 401 Water Quality Certification for the Project to
              August 15, 2020.

          o   January 8, 2020: Corps grants MPCA request, extending Section 401 Water
              Quality Certification decision timeframe to August 15, 2020.

          o   February 3, 2019: MPUC finds the revised FEIS for the Project to be adequate.
              Additionally, the MPUC approves and re-issues the CN and RP for the Project.

          o   February 4, 2020: Corps issues Public Notice and press release requesting
              public comment on the revisions submitted by Enbridge on December 6, 2019.
              Comment period is 30 days and expires on March 6, 2020.

          o   February 26, 2020: MPCA release of draft Section 401 Water Quality
              Certification for 30 day comment period.

          o   May 7, 2020: Letter response from MN State Historic Preservation Office (SHPO)
              concurring with the Corps’ No Adverse Effect finding and National Register of
              Historic Places eligibility determinations. Coordination with SHPO and
              responsibilities under Section 106 of the NHPA are complete.

          o    June 3, 2020: MPCA grants contested case hearing after receiving request from
              Project opponents. MPCA requests an extension of the Water Quality
              Certification decision to November 14, 2020. Corps grants extension of
              certification decision.

          o   August 24, 2020: MPCA contested case hearing concludes.

          o   October 16, 2020: ALJ Report and Final Recommendation in the matter of the
              Line 3 Replacement Draft Section 401 Water Quality Certification issued.

          o   November 12, 2020: Individual Section 401 Water Quality Certification issued by
              MPCA.

1.6    PERMIT AUTHORITY

Section 10 of the Rivers and Harbors Act of 1899 (33 U.S.C. § 403), Section 404 of the Clean
Water Act (33 U.S.C. § 1344), and Section 14 of the Rivers and Harbors Act of 1899 (33 U.S.C.
§ 408) (commonly referred to as Section 408).




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2.0    SCOPE OF REVIEW

2.1    Determination of scope of analysis for National Environmental
       Policy Act (NEPA)

The scope of analysis includes the specific activity requiring a Department of the Army permit.
Other portions of the Project are included because the Corps does have sufficient control and
responsibility to warrant federal review.


When determining whether there is sufficient control and responsibility to include portions of the
project beyond the regulated activities in waters, the Corps considered as appropriate the
following factors from Appendix B of 33 CFR part 325.

First, almost all regulated activities associated with the overall project comprise separate
crossings that are “merely links” in a corridor type project. In other words, much of the corridor
project is located in uplands and does not involve regulated work in waters of the U.S. A total
of 227 waterbodies scattered across approximately 340 miles of the entire corridor are proposed
to be impacted by discharge of fill material associated with trenching and construction activities
of the mainline. In addition, less than 1% of the overall work in waters (9.97 acres of wetland
impact of the total 1059.55 acres of wetland impact) would occur in association with the non-
linear aspects of the overall project, to include expanding three pump stations at the following
existing facilities: Donaldson (Kittson County), Plummer (Red Lake County), and Clearbrook
(Clearwater County); and installing three new pump stations and associated electrical service at
the following locations in the new corridor extending south and east of Clearbrook: Two Inlets
(Hubbard County), Swatara (Aitkin County), and North Gowan North (St. Louis County).

Second, the Corps considered the extent to which there are aspects of works in uplands in the
immediate vicinity of the regulated activity that affect the location and configuration of the
regulated activity. For linear crossings, the distance from each waterbody crossing location to a
point in uplands where the pipe can be configured to follow a different alignment reflects the
area that affects the location and configuration of the regulated activity.

Third, the Corps considered the extent to which the entire project will be within Corps
jurisdiction. Approximately 24% percent of the overall project comprises activities in waters of
the U.S.

Final description of scope of analysis:
Based on the above considerations, the Corps concluded that the scope of analysis includes the
regulated activities in waters of the U.S. associated with linear crossings as well as uplands
adjacent to, and in some cases between, waterbodies where the Corps has sufficient control
and responsibility to expand its analysis. For waters with regulated activities that are distant
from one another, the scope extends on either side of those waters to the points in uplands
where the pipe could be configured to follow a different alignment. Some waterbody crossings
are in proximity to one another such that alternative alignments cannot be configured in the
narrow uplands in between those waters. In these instances, the scope extends to include




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those waterbody crossings and adjacent and in between narrow uplands to the point where
alternative alignments can be configured. The Corps also determined the scope includes the
waters and uplands to be impacted by pump station construction and the Clearbrook terminal
expansion. This scope for NEPA purposes aligns with the action area for Section 7 of the
Endangered Species Act and permit area for Section 106 of the NHPA as further described
below. The scope does not extend to the entire pipeline construction, or operation, because the
Corps does not have sufficient control and responsibility over the entire project to warrant an
expanded analysis.

2.2    Determination of the “Corps action area” for Section 7 of the
       Endangered Species Act (ESA)

The Corps action area includes all areas to be affected directly or indirectly by the Federal
action and not merely the immediate area involved in the action. The Federal action being
considered is issuance of permit for activities regulated under Section 404 of the Clean Water
Act and Section 10 of the Rivers and Harbors Act. Direct effects are those effects that are
caused by the proposed action (i.e., the regulated activity in waters of the U.S.) and occur at the
same time and place. Indirect effects are those that are caused by the proposed action (i.e., the
regulated activity in waters of the United States) and are later in time, but are still reasonably
certain to occur. The action area for this project is coincident with the areas described above for
the NEPA scope of analysis.

2.3    Determination of permit area for Section 106 of the National
       Historic Preservation Act (NHPA)

The permit area includes those areas comprising waters of the United States that will be directly
affected by the proposed work or structures, as well as activities outside of waters of the U.S.
for which all three tests identified in 33 CFR 325, Appendix C(1)(g)(1) have been met. This
includes installation of the pipe and access roads in uplands immediately adjacent to the aquatic
resource.

1)     “Such activity would not occur but for the authorization of the work or structures within
the waters of the United States”

But for authorizing the discharge of fill material into the aquatic resources for the installation of
the pipe and access roads, the upland activities immediately adjacent to these regulated
activities (discharge for permanent or temporary dredge or fill material) to a point where
alternative configurations could be proposed would not occur. Upland activities associated
with the expansion of three pump stations and construction of three new pump stations would
not occur but for the authorizing of the discharge of dredged and fill material associated with the
expansion or construction of the pump stations.

2)     “Such activity must be integrally related to the work or structures to be authorized within
waters of the United States. Or, conversely, the work or structures to be authorized must be
essential to the completeness of the overall Project or program”




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The regulated work in waters associated with the installation of the pipe and temporary access
roads is essential to activities in uplands to a point where alternative configurations could be
proposed. Work in waters for non-linear features, including the expansion of three existing pump
stations and construction of three new pump stations, is essential to the activities in the uplands.

3)     “Such activity must be directly associated (first order impact) with the work or structures
to be authorized”

The activities in uplands to a point where alternative configurations could be proposed are
directly associated with the work in waters of the U.S. to be authorized. The activities in
uplands for the expansion of three pump stations and construction of three new pump stations is
directly associated with the work in waters of the U.S. to be authorized.

Final description of the permit area:
The permit area includes the regulated activities in waters of the U.S. associated with linear
crossings as well as uplands adjacent to, and in some cases between, waterbodies where the
Corps have sufficient control and responsibility to expand its analysis. For waters with regulated
activities that are distant from one another, the permit area extends on either side of those
waters to the points in uplands where the pipe could be configured to follow a different
alignment. Some waterbody crossings are in proximity to one another such that alternative
alignments cannot be configured in the narrow uplands in between those waters. In these
instances, the permit area extends to include those waterbody crossings and adjacent and in
between narrow uplands to the point where alternative alignments can be configured. The
Corps also determined the permit area includes the waters and uplands to be impacted by
pump station construction and the Clearbrook terminal expansion.

In order to determine the Area of Potential Effects (APE), the Corps considered the nature of the
activities in the permit area, which are proposed to include primarily temporary construction
work in waters of the U.S. and adjacent uplands, such as vegetation clearing, excavation and
filling. Audible or atmospheric effects resulting from activities in the permit area would be
temporary and limited in their extent. Potential for changes in the use or character of a property
would also be limited, particularly where pipeline construction is within an existing utility corridor.
About 80 percent of the project would be co-located with, or parallel to, existing cleared and
maintained corridors of pipelines, roads and electrical transmission lines, or constructed through
agricultural areas with little change above ground. Along these co-located areas, the installation
of L3R would result in minimal, if any, visual impacts. The Corps reviewed an APE that includes
the permit area plus an area of 200 feet in all directions for co-located areas. In areas where
there are no existing cleared rights-of-way, the Corps reviewed an APE that includes the permit
area plus an area of 500 feet in all directions. A more expansive APE occurred at the above-
ground pump station locations, where viewshed analyses were conducted to consider indirect
effects.

The permit areas and APE are described in a letter to the Minnesota SHPO dated March 28,
2017, and the APE is further clarified in a March 22, 2018 letter to the Minnesota SHPO.

Direct effects of the undertaking coincide with the Corps’ permit areas, for example ground
disturbance directly associated with the regulated activities; indirect effects of the undertaking



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on historic properties are considered within the (indirect) APE, should historic properties be
present.


3.0    PURPOSE AND NEED
3.1 Purpose and need for the Project as provided by the applicant
and reviewed by the Corps
Through monitoring and ongoing evaluations, Enbridge identified integrity conditions on Line 3
that would make safely maintaining it a challenge in the coming years. Specifically, the Line 3
pipe materials, coating, installation method, operating history, and surrounding environment
together have resulted in the largest external corrosion anomaly density on the Enbridge
Mainline System. Enbridge has stated that a reduction of operating pressures on the pipeline
has slowed the growth of known stress corrosion cracking and long-seam cracking, and has
helped avoid releases on Line 3 since pressures were reduced in 2008. Enbridge has asserted
that the extensive corrosion, coupled with known stress corrosion cracking and long seam
cracking, would require approximately 6,250 integrity digs and repairs to be executed along the
existing Line 3 in Minnesota over the next 15 years. Enbridge estimates that the cost of such an
extensive dig and repair program is nearly equal to that of replacement and would result in year-
over-year impacts to landowners and to the environment. If the dig and repair program were to
continue, it would not comprehensively address the pervasive integrity issues present on Line 3,
or restore the pipeline capacity needed to reliably serve refiners.
Enbridge has proposed the replacement of Line 3 to ensure the continued safe operation of the
Enbridge Mainline System, to restore the capacity needed to meet current and forecasted
demands from shippers, and to ensure continued reliable crude oil transportation to refineries in
Minnesota through Enbridge’s Clearbrook Terminal, as well as continued deliveries to various
Midwest, Eastern Canada, and Gulf Coast refineries through the Enbridge Superior Terminal.
Enbridge has stated that the Project is needed to improve public safety and protection of the
environment by replacing their existing Line 3, an aging crude oil pipeline operating at reduced
capacity with a large number of identified pipe defects and anomalies, with a new pipeline
constructed with the latest construction practices, technology, and materials. The L3R would
accomplish three goals:
First, the Project would improve public safety and protection of the environment by replacing the
existing Line 3, a pipeline with a large number of identified pipe defects and anomalies, with a
new pipeline constructed with the latest construction practices, technology and materials. The
Project would avoid the large and increasing number of integrity repairs currently forecasted on
Line 3 over the next 15 years, thereby reducing the recurring impacts to landowners and the
environment.
Second, L3R would enable Enbridge to better meet the demand for crude oil in Petroleum
Administration Defense District (PADD) II, including Minnesota, as well as eastern Canada and
the U.S. Gulf Coast by allowing Enbridge to more reliably and efficiently transport an
economical and secure supply of crude oil. The Project would reduce on-going and forecasted
apportionment to the refining industry in PADD II, including the Flint Hills and Northern Tier




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Energy refineries in Minnesota, Eastern Canada, and the Gulf Coast by restoring the capacity of
the pipeline to its historic operating capacity of 760,000 bpd.
Third, the restored operational flexibility would allow Enbridge to more efficiently operate the
Enbridge Mainline System, optimize its pipeline system, and reduce power utilization on a per
barrel basis.
The Project would help to ensure the future adequacy, reliability, and efficiency of energy supply
to Enbridge’s customers, and, as a result, to the people of Minnesota and neighboring states.

3.2     Basic Project purpose, as determined by the Corps
Transportation of crude oil.

3.3     Water dependency determination
The activity does not require access or proximity to or siting within a special aquatic site to fulfill
its basic purpose. Therefore, the activity is not water dependent. The determination that the
activity is not water dependent recognizes that linear Projects such as pipelines must, in most
instances, cross waters of the United States to achieve their Project purpose. The Section
404(b)(1) guidelines are applicable to the Corps’ review of this Project. However, the range of
alternatives is limited to the route corridor designated by the MPUC. The Corps does not
regulate the siting of pipelines, nor any substance being transported within a pipeline.

3.4     Overall Project purpose, as determined by the Corps
To replace an existing crude oil pipeline to increase safety of transporting crude oil, and to
ensure continued reliable crude oil transportation to the refining industry in PADD II, to meet
current and forecasted demands.

4.0     PUBLIC INVOLVEMENT

4.1     OVERVIEW OF PUBLIC INVOLVEMENT
The Project review process took place over several years. Enbridge submitted a revised
Department of Army permit application on September 21, 2018, which included a withdrawal
request of the September 2015 and February 2018 applications. The revised application was
submitted as a result of changes to designated route and anticipation of MPUC approval of
route permit. The application was determined to be complete in accordance with 33 CFR 325
which includes specific information that is necessary to consider an application complete for
public posting. Enbridge was notified of the completeness determination on November 16,
2018. In response to the December 20, 2018 Public Notice, substantive comments were
received and are addressed in this document. The comments received from the public,
federally-recognized Tribes, non-governmental organizations, and agencies included many
similar topics. Because of the similar nature of the comments the Corps grouped the comments
when possible and responses to those comments and themes are provided below. The
administrative record contains all the official comments received. Key issues included wetlands,
streams, compensatory mitigation, NEPA document, assessing direct/indirect effects, and
alternatives.




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4.2 FIRST PUBLIC NOTICE COMMENTS AND RESPONSES
The Project was first public noticed for 30 days starting on December 20, 2018 and ended on
January 21, 2019. During the course of the public comment period several commenters
requested an extension to the original 30 days. The Corps considered the extension requests
and agreed to extend the comment period until February 21, 2019. The extended comment
period allowed the commenters additional time to review and comment on the proposal. All
comments were forwarded to the applicant on March 13, 2019 providing it an opportunity to
respond. Summary of comments on Public Notice (2014-01071-TJH) from December 20, 2018
through February 2019 are included in Appendix A.


4.3 SECOND PUBLIC NOTICE COMMENTS AND RESPONSES
In December 2019, Enbridge provided a revised application which include more detailed
mitigation and monitoring plans and minor route changes, mainly for access roads. The revised
application resulted in a minor reduction of overall impacts (a permanent fill reduction of 2.3
acres and temporary impacts reduction by 0.8 acres). A 30-day public notice was issued
February 4, 2020 disclosing the changes in the revised application. All comments were
forwarded to the applicant on March 11, 2020 providing Enbridge an opportunity to respond.
Summary of comments received from February 4, 2020 through March 6, 2020 is included in
Appendix A.

5.0    ALTERNATIVES ANALYSIS
An evaluation of alternatives is required under NEPA for all jurisdictional activities. An
evaluation of alternatives is required under the Section 404(b)(1) Guidelines for Projects that
include the discharge of dredged or fill material. NEPA requires discussion of a reasonable
range of alternatives, including the no action alternative, and the effects of those alternatives;
under the Guidelines, practicability of alternatives is taken into consideration and no alternative
may be permitted if there is a less environmentally damaging practicable alternative.

5.1    OVERVIEW
The Corps completed a review of alternatives commensurate with the impacts for the Project as
proposed by the Applicant. The Applicant considered several alternatives for the Project. The
remainder of this section details the range of alternatives considered.

5.2    SITE SELECTION/SCREENING CRITERIA

In order to be practicable, an alternative must be available, achieve the overall Project purpose
(as defined by the Corps), and be feasible when considering cost, logistics and existing
technology.

Criteria for alternatives as evaluated and determined by the Corps: Safety, land access or
availability, costs, logistics, continuity of service, and impacts to waters of the United States.




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5.3    NO ACTION ALTERNATIVE
The No Action Alternative would result from the Corps not issuing a DA permit for the
discharges of dredged and fill material into waters of the United States; or work in, over, or
under a Section 10 water. There would be no additional wetland or stream impacts as a result of
this alternative. No action alternatives are listed below:

5.3.1 Transportation via Rail

This alternative considers rail as an alternative mode of transport to transfer 760,000 bpd to
Enbridge’s terminals in Clearbrook, Minnesota, and Superior, Wisconsin. This alternative
assumes there would be no Section 404 or Section 10 permit required. Transporting oil by rail
would require an oil storage and rail loading facility near Neche, North Dakota, and could be
transported by either the Burlington Northern Santa Fe (BNSF) or the Canadian Pacific rail lines
to the Clearbrook and Superior terminals, respectively. There are currently no oil storage
facilities, rail loading facilities, or rail access immediately adjacent to the mainline near the
international border. In addition, no rail offloading facilities or rail access are adjacent to the
Clearbrook terminal. Some rail access and existing rail offloading capacity is currently available
at Superior. Transporting crude oil by rail would require loading/offloading facilities and new rail
access be developed and existing rail access be upgraded. To implement the rail alternative, oil
would be pumped through the existing pipelines to the pump station in Gretna, Canada, near
Neche, ND. Fourteen miles of new rail line would be required to access rail facilities near
Emerson, Canada. Transporting 760,000 bpd of oil by rail would require 10 loaded unit trains
per day to travel from the pump station in Gretna, Canada, to the Clearbrook and Superior
terminals. The analysis in the State EIS assumed 48% of the 760,000 bpd would be delivered to
the Clearbrook terminal based on the capacity of refineries in the Twin Cities, and the remaining
52% of the 760,000 bpd would be delivered to the Superior terminal. Under these assumptions,
five loaded unit trains would be required to travel from Gretna to the Clearbrook terminal per
day, and five loaded unit trains would be required to travel from Gretna to the Superior terminal
per day. Based on the calculations for the number of tank cars needed to deliver the specified
volumes per day, the estimated transit times of the unit trains, and the time necessary for
loading and offloading the tank cars and for empty trains to make return trips to Gretna,
approximately 7,200 new tank cars would be required which would cost approximately $1 billion,
assuming a cost of $140,000 per car. This estimate does not include the cost of constructing
the new rail spurs or any associated rail infrastructure needed, railway maintenance, labor
costs, fuel, or other associated expenses. Construction of unit train terminal facilities for loading
and offloading, would range from approximately $85 to $125 million.

During State of Minnesota proceedings, a general management consulting firm serving the
transportation and logistics sectors explained that pipelines are highly efficient at moving large
volumes of crude oil and offer “superior” economics compared to rail transportation because: (1)
pipeline transport is two to three times less expensive per barrel of oil than rail transport; and (2)
pipelines are not subject to certain external factors that impact rail traffic, such as extreme
weather or congestion. The firm indicated that the current rail system in Minnesota does not
presently have the sufficient surplus capacity required to fully support the increase in crude rail
traffic. The added use of rail for crude would increase competition for rail service with other
commodities (agricultural products, chemicals, minerals, etc.) and could negatively impact those
industries in Minnesota. Trains (and trucks) are more likely to result in small to medium spills
when compared to spills from pipelines, typically resulting from human error. While pipelines




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generally have fewer but larger spills, the number of incidents from train spills is higher which
results in a higher percentage of the overall volume being spilled when compared to pipelines.

This alternative is not a practicable due to costs associated with the alternative, both from the
need to increase infrastructure and additional costs associate with transporting crude via rail
compared to pipeline, and logistical issues with competition for rail space as well as potential
environmental factors (i.e., extreme weather conditions) that could delay transportation of
crude.

5.3.2 Transportation via Truck

This alternative considers truck as an alternative mode of transport to transfer 760,000 bpd to
Enbridge’s terminals in Clearbrook, Minnesota, and Superior, Wisconsin. This alternative
assumes there would be no Section 404 or Section 10 permit required. As with the rail
alternative, transporting crude oil by truck as an alternative to replacing Line 3 would require
that oil be pumped through the existing mainline from the Applicant’s facilities in Edmonton,
Alberta, to an oil storage and truck loading facility at Gretna, Manitoba, adjacent to the existing
mainline. Oil would then be loaded into tanker trucks and transported by highway to the
Clearbrook and Superior terminals. The analysis assumes that 48 percent of the 760,000 bpd
total (360,000 bpd) would be delivered to Clearbrook, Minnesota, based on the approximate
capacity of the Twin Cities refineries that the Clearbrook terminal serves. The analysis assumes
that the remaining 52 percent (400,000 bpd) would be delivered to Superior, Wisconsin. It also
assumes that existing highways would primarily be used. This alternative would require
development of truck loading and offloading facilities and new or upgraded road access to the
interstate highway system. Assuming that the Applicant could maximize use of that portion of
Line 3 approved for upgrade in Canada, a truck loading facility would likely be located at the
Gretna pump station near the U.S. border. From this point, trucks could be routed to Enbridge’s
Clearbrook and Superior terminals. Tanker trucks can carry approximately 190 barrels and are
generally used to move oil from wellhead locations not served by pipeline gathering systems to
aggregation points and storage facilities. They are not typically used to transport the volumes
proposed by the Project. Transporting 760,000 bpd of oil by tanker truck would require 4,000
tanker trucks per day to travel from Gretna to the Clearbrook and Superior terminals. This
alternative would add a substantial amount of tanker trucks to roadways. Although the amount
of oil transported per day could vary by demand, the applicant would need to operate a fleet of
trucks capable of transporting the full estimated volumes per day. The shortest distances by
highway from Gretna to the Clearbrook and Superior terminals are approximately 193 miles and
360 miles, respectively. Based on the estimated number of tanker trucks needed to deliver the
specified volumes per day, estimate of the time necessary for loading and offloading the tanker
trucks, and the time necessary for empty trucks to return to Gretna, 12,000 new tanker trucks
would be required costing approximately $2.4 billion assuming an estimated cost of $200,000
per truck. With the mileage the trucks would cover in steady service, the economic life of a
truck would be approximately 5 years, resulting in the cost being repeated every 5 years. Trucks
(and trains) are more likely to result in small to medium spills when compared to spills from
pipelines, typically resulting from human error. While pipelines generally have fewer but larger
spills, the number of incidents from truck spills is higher which results in a higher percentage of
the overall volume being spilled when compared to pipelines. In addition, transport via truck
using major roadways presents a greater risk of accidents potentially resulting in injury or death
to the operators or members of the public.




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This alternative is not a practicable due to costs associated with the alternative, both from the
need to increase infrastructure and additional costs associate with renewing the fleet of trucks
and transporting crude via truck compared to pipeline, safety concerns with adding a substantial
amount of tanker trucks to the roadways, and potential environmental factors (i.e., extreme
weather conditions) that could delay transportation of crude.

5.4    OFF-SITE ALTERNATIVES

No off-site pipeline alternatives were assessed as alternatives are limited to the corridor
designated by the MPUC. Specific alignments within the designated corridor generally followed
existing utility corridors in the interest of reducing environmental impacts.

5.5    ON-SITE ALTERNATIVES

The range of on-site alternatives is limited to the route corridor designated by the MPUC. The
Corps does not regulate the siting of pipelines, nor any substance being transported within a
pipeline. The Line 3 replacement corridor does not follow the existing Line 3 corridor entirely.
On-site alternatives focused on avoiding and minimizing impacts to waters of the U.S.

5.5.1 Applicant’s Preferred Alternative
Enbridge proposes to construct the L3R using modern pipeline design, manufacturing, coating,
and installation techniques, as well as wider, thicker pipe. 49 C.F.R. Part 195 contains
requirements for new pipelines addressing pipe strength, pipe and associated facility design,
and construction-related issues, such as welding, limitations on pipe bending, pipe installation,
and the required depth of cover. Enbridge proposes to use 36-inch-diameter pipe with a wall
thickness of 0.515 inch (as opposed to existing Line 3’s 34-inch-diameter pipe with 0.281-inch
wall thickness). The wider, thicker pipe has a yield strength 35 percent greater than existing
Line 3 and will resist fatigue growth of cracks from pressure cycling. The applicant’s preferred
alternative is expected to result in an increase in safety and reliability attributable to the use of
new equipment and modern-day technologies, manufacturing, and coating processes; and a
reduction in the number of integrity digs required for ongoing maintenance. The reduction in
integrity digs allows for decreased temporary capacity reductions required to ensure safety
while working around an exposed pipeline.

The Project will allow Enbridge to operate L3R in heavy, light, and mixed service. Currently,
existing Line 3 is transporting predominantly light crude. The Project will also restore historic
operating capabilities. The historic annual average operating capacity of existing Line 3 was
760,000 barrels per day (bpd). Enbridge voluntarily reduced the capacity of existing Line 3 to
390,000 bpd for light crude oil. The Project will allow Line 3 to return to an annual average
capacity of 760,000 bpd.

Approximately 90 percent of the Project route would be co-located with other Enbridge
pipelines; third-party pipelines or utilities; roads, railroads or highways. The remainder of the
route would be new corridor that is not adjacent to existing infrastructure (Greenfield route).
This proposal would temporarily impact 1049.58 acres of wetland, 227 waterbodies, and result
in the permanent loss of 9.97 acres of wetlands. See Enbridge’s L3R Compensatory mitigation
Wetland Mitigation Plan for a breakdown of temporary and permanent wetland impacts by




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wetland type. The applicant has indicated completing the preferred alternative (including
design, permitting, and construction) in Minnesota would cost approximately $2.1 billion.

Enbridge’s November 2020 Environmental Protection Plan (EPP) outlines environmental
procedures and mitigation measures that the contractor will implement during construction as
part of this alternative. The EPP addresses typical circumstances encountered during pipeline
construction and meets or exceeds applicable federal, state, tribal, local regulations, and
erosion control specifications. The EPP includes the Summary of Construction Methods and
Procedures for Wetland and Waterbody Crossings document, developed by Enbridge, which
provides more detailed discussion of the criteria it applies to identify its proposed crossing
method for each affected waterbody and wetland feature for this alternative. The document also
summarizes and compares the constructability advantages and disadvantages associated with
each type of crossing method. This information is Project site-specific and provided in a tabular
format that includes the location and brief description of the feature proposed to be crossed by
the Project, representative aerial photography to provide visual reference, as well as a
justification that may point to the above-listed documents for the type of crossing method
proposed. This information was reviewed during interagency coordination. Regional experts
within the agencies provide site specific concerns with certain crossings. This information was
provided to the applicant and some crossing methods were changes in the interest of
minimizing impacts or reducing potential for impacts to a certain waterbody. The interagency
review also resulted in additional requirements to ensure impacts would be mitigated such as
site-specific restoration plans and geo-technical analyses.

5.5.2 Maintaining the Existing Line 3

Because the existing Line 3 shares a corridor with the Line 3 replacement corridor for a portion
of the Project, this alternative is included as an “on-site” alternative.

When Enbridge’s integrity online inspection (ILI) identifies anomalies that require excavation
and visual inspection, Enbridge obtains the necessary environmental permits, notifies affected
landowners, and identifies all existing utilities in the vicinity of the area to be excavated.
Enbridge then excavates around the section of the buried pipe so that it can be cleaned,
examined, and repaired, as needed. This is referred to as a dig and repair program; individual
digs are referred to as “integrity digs.” Repair typically includes cleaning and examining the
external surface of the pipe and one, or a combination of the following repair methods: (1)
recoating with modern epoxy coating; (2) installing a pressure-containing steel sleeve and
recoating the outside of the sleeve with a modern epoxy coating; (3) grind repair to accurately
assess the size of the crack and to prevent it from propagating in the future; and (4) cut-out and
replacement to remove the anomaly and weld a new piece of pipe in its place.

Integrity digs entail ground disturbance and typically require Section 404 permits if the
excavation area, typically 40 feet by 80 feet occur in waters of the U.S. Additional temporary
workspace needed may be much larger. In Minnesota, maintaining existing Line 3 would
require approximately 6,250 integrity digs over the next 15 years. Within the Chippewa
National Forest (CNF) and on the Leech Lake and Fond du Lac Reservations, an estimated 484
digs would be required over the next 15 years. The digs in the CNF, on the Fond du Lac
Reservation, and on the Leech Lake Reservation are estimated to impact 13.0, 7.0, and 25.0
acres over the next 15 years, respectively. Locations and magnitude of all future discharges in
waters of the U.S. cannot be determined precisely at this point. The Corps would evaluate each




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individual integrity that would result in a regulated discharge under various permitting
mechanisms.

The MPUC, during the review of the Certificate of Need, indicated that the existing Line 3 is
deteriorating at an accelerating rate and continued operation of the existing Line 3 poses a far
greater risk of an accidental release and resulting environmental damage than the applicant’s
preferred alternative. Since 1990, Line 3 has experienced 15 total failures resulting in over 50
barrels of oil being release during each failure. Seven of these failures occurred in Minnesota.
Maintaining the existing Line 3 does not address defects of the pipeline due to the way the pipe
was originally manufactured. The MPUC ALJ report indicated that even with extensive repairs,
the long-seam cracking risks inherent to the flash-welded seams on the pipe will continue to
exist unless the pipe is fully replaced. External corrosion and subsequent maintenance
excavations would continually occur as long as the line is in service. Enbridge estimates that it
would cost $30 to $40 million per year to maintain the U.S. portion of the existing Line 3.

This alternative would require continued maintenance digs which have the potential to impact
waters of the U.S., although the magnitude of the impact would not be known until site
conditions of the integrity dig were assessed. Continued maintenance of the pipe would cost
approximately $30 to $40 million per year and would not eliminate future anomalies due to the
type of pipe and construction methods used at time of installation of Line 3 resulting increased
potential for accidental releases. As a result, Line 3 would need to remain at the reduced current
capacity to reduce the potential for and accidental release. For these reasons, this alternative is
not practicable.

5.5.3 In-Trench Replacement

This alternative includes the existing Line 3 pipeline be removed and that a new pipeline be
installed in the same trench, allowing the use of the existing pipeline corridor without further
expansion. This alternative would minimize the exposure of new areas of the state to pipeline
construction and operations, while increasing overall pipeline capacity for deliveries to Superior.
However, this alternative would result in interruption of service for shippers on the Enbridge
Mainline System, as the existing Line 3 would need to be taken out of service for approximately
16 months to allow for removal and replacement. From Neche to Clearbrook, Line 3 is one of
seven pipelines co-located in a single corridor. From Clearbrook to Superior, the corridor
includes six pipelines. Line 3 is in the interior of the multi-pipeline configuration where the
pipelines are spaced as close as 10 to 15 feet apart. Unlike constructing a new pipeline along
the edge of an existing pipeline corridor, as proposed in the applicant’s preferred alternative,
removing and replacing the pipeline in the existing trench would require working over the top of
existing operating high-pressure pipelines. To replace Line 3 in the same trench, Enbridge
would need to excavate, expose, cut, handle, remove, and then replace the existing pipeline.
Because this process would take place between multiple operating pipelines and within a very
restricted workspace, there would be an increased risk of damaging an operating pipeline
through accidental contact with equipment, overloads on the surface above the pipelines, cave-
ins, and adjacent pipe movement due to the varying depths of cover. In-trench replacement
would require the following:


   •   Protection for existing buried pipes – A layer of protective soil, mats, or bridging would
       be placed over the existing pipelines to protect them during the movement of heavy
       equipment and materials to the work area along the existing pipeline alignment. This



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       protective layer would be continuously moved with the construction activity as pipe
       removal and replacement progressed.

   •   Additional work space required – Depending on the engineering specifications and
       environmental factors associated with the adjacent pipelines, such as depth of cover,
       pipe design, operating pressure, soil types, and ground conditions, the operating
       pipelines would need to be protected from damage through placement of equipment
       bridges, additional fill, and mats. This increase in workspace would increase the overall
       disturbance to all environmental features. The presence of the existing pipelines
       precludes the activities above from occurring adjacent to the Line 3 trench. They would
       need to be located adjacent to the outermost buried pipeline. This would increase the
       construction work area from a width of approximately 120 feet for normal construction to
       approximately 205 feet for removal and replacement.

   •   Increased time of open trench – The addition of pipeline removal activity would lengthen
       the time required for maintaining an open trench. Normal construction would include
       maintaining an open trench for approximately 3 days. Time for pipeline removal and
       installation of the new pipe would require extending this time. During that time, changing
       weather conditions such as frost and rain could severely weaken the trench wall and
       contribute to trench cave-in, and rain could fill the trench with water. Both circumstances
       would prevent pipe installation and could result in an even longer period of open trench.
       Trench cave-ins would result in more time and activity to reconstruct the trench so that
       pipe may be installed, and collected rainwater/groundwater would need to be discharged
       out of the trench before installation could occur

In addition to the construction challenges, In-trench replacement also poses greater
environmental impacts at wetland and waterbody crossings due to the extended construction
period at each crossing. Installing a new pipeline at these same crossings with open trench
methods would further increase the duration of wetland and waterbody crossings, which could
increase impacts resulting from sedimentation and aquatic life disturbance.

Along with environmental concerns from increased duration of open trench, this alternative
would also cross 158 High Consequence Areas (HCAs). HCAs, as identified by the Office of
Pipeline Safety, are specific locales and areas where a release could have the most significant
adverse consequences. Once identified, operator’s area required to devote additional focus,
efforts, and analysis in HCAs to ensure the integrity of pipelines. HCAs include populated
areas, drinking water resources, and unusually sensitive ecological areas.

This alternative crosses the Leech Lake Reservation and the Fond du Lac Reservation pursuant
to easements that expire in 2029. This alternative also crosses about 157 acres of the
Chippewa National Forest over which the Leech Lake Band has co-management responsibilities
with the U.S. Forest Service. The Leech Lake Band has a memorandum of understanding with
the U.S. Forest Service that was entered into to recognize treaty rights of tribes to hunt, fish,
and gather wild plants on national forest lands. Throughout the multi-year permitting process,
the Leech Lake Band has consistently opposed granting Enbridge the required easement
extension to construct the proposed Project. This ultimately led to the MPUC to dismiss this
alternative from their Pipeline Routing Permit.

This alternative is not a practicable as it is not available and capable of being done due to Leech
Lake Band of Ojibwe’s refusal to grant Enbridge the easement extension required for the




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Project; and the logistical, safety, operational, and environmental considerations described
above.


5.5.4 Replacement with 34-inch Pipe

The original Line 3 is 34-inch diameter and was installed in 1968 with peak delivery volumes of
760,000 barrels per day (bpd). The modern industry standard is now 36-inch pipeline, which is
more energy efficient than the 34-inch pipe. The proposed 36-inch diameter pipeline and the
34-inch diameter pipeline alternative would have the same capacity; either pipeline configuration
would be designed with an annual capacity of 760,000 bpd. Construction methods and
requirements (i.e., trench width) would be the same for a 34-inch pipe as for a 36-inch pipe. The
34-inch diameter pipeline alternative would have comparable effects to waters of the United
States as compared to the 36-inch diameter pipeline. It would require the same construction
workspace, topsoil stripping, storage and replacement; would utilize the same equipment and
access roads; and would require the same permanent right-of-way. The 34-inch diameter
pipeline poses engineering and logistical constraints. A 36-inch pipeline and associated fittings
are standard industry size, whereas a 34-inch pipeline and associated fittings are non-standard
sizes. Line-up clamps and automatic welding bands are more common in 36-inch diameter
pipes. Enbridge currently has two 36-inch pipelines in Minnesota (Line 67/Alberta Clipper and
portions of Line 4). The Wisconsin portion of Line 3, referred to as Segment 18, is a 36-inch
diameter pipeline, the North Dakota portion evaluated by the Corps’ Omaha District is a 36-inch
diameter pipeline, and the Canadian portion of the replacement will also utilize 36-inch pipe,
except for a short 14-mile segment at the border crossing. This allows Enbridge to stock
common parts and emergency supplies that can be used on multiple lines instead of having to
stock maintenance items specifically for a 34-inch diameter pipe. These items would include
pigs, sleeves, stopples, valves and additional pipe. As a result of the non-standard sized pipe
and associated equipment, costs would increase. Additionally, the Project’s proposed 36-inch
diameter pipeline would result in significant energy savings because the oil moves more slowly
in the wider line, reducing friction and the energy required to pump the oil. The proposed 36-
inch pipeline in would save 108 gigawatt hours of energy a year in Minnesota and reduce the
annual CO2 emissions by 74,000 metric tons assuming an annual throughput of 760,000 bpd.

Because impacts to waters of the United States are comparable with the applicant’s preferred
alternative and costs would increase with use of non-standard equipment, this alternative was
determined to not be practicable.

5.5.5 Existing Line 3 Supplemented with Transportation via Rail
This alternative considers continued operation of existing Line 3 with trains transporting
additional oil to achieve a total transfer capacity of 760,000 bpd. This alternative assumes
existing Line 3 would supply 390,000 bpd to Superior. Assuming that Line 3 would transport the
full amount of its daily operating volume (390,000 bpd) to the Superior terminal, 360,000 bpd of
oil would the be transported by rail to the Clearbrook terminal and 10,000 bpd of oil transported
by rail to the Superior terminal. This alternative would require the ongoing maintenance and
repair activities associated with continued use of existing Line 3 as described in the Maintaining
the Existing Line 3 Alternative in Section 5.5.2, as well as development of the infrastructure for
rail transport described above. Based on the calculations for the number of tank cars needed to
deliver the specified volumes per day, the estimated transit times of the unit trains, and the time
necessary for loading and offloading the tank cars and for empty trains to make return trips to



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Gretna, approximately 3,500 new tank cars would be required costing approximately $495
million. As described in Section 5.5.2., Enbridge estimates that it would cost $30 to $40 million
per year to maintain the U.S. portion of the existing Line 3. Also as described in 5.3.1,
transportation via rail is subject to environmental factors that would impact the transportation of
crude via rail, would compete with other commodities for rail space, and result in a higher
number of incidents involving oil spills.

This alternative would include impacts to waters of the U.S. as a result of maintaining the
existing line 3, but could also impact additional Waters of the U.S. as a result of constructing
new infrastructure. Additional costs are associated with transporting crude via rail compared to
pipeline, logistical issues with completion for rail space as well as potential environmental
factors that could delay transportation of crude, safety and spills concerns, and continued
maintenance required on the existing Line 3, contribute to this alternative being determined to
not be practicable.

5.5.6 Existing Line 3 Supplemented with Transportation via Truck

This alternative considers continued operation of existing Line 3 with trucks transporting
additional oil to achieve a total transfer capacity of 760,000 bpd. This alternative assumes that
existing Line 3 would supply 390,000 bpd to Superior. Assuming that Line 3 would transport the
full amount of its daily operating volume (390,000 bpd) to the Superior terminal, 360,000 bpd of
oil would then be transported by truck to the Clearbrook terminal and 10,000 bpd of oil
transported by truck to the Superior terminal. This alternative would require the ongoing
maintenance and repair activities associated with continued use of existing Line 3 as described
in the Maintaining the Existing Line 3 Alternative in Section 5.5.2, as well as development of the
infrastructure for truck transport described in Section 5.5.2 above. Transporting 360,000 bpd of
oil by truck to the Clearbrook terminal and 10,000 bpd to the Superior terminal would require
1,889 trucks per day to travel from Gretna to the Clearbrook terminal and 58 trucks per day to
travel from Gretna to the Superior terminal. Based on the estimated number of tanker trucks
needed to deliver the specified volumes per day, a conservative estimate of the time necessary
for loading and offloading the tanker trucks, and the time necessary for empty trucks to return to
Gretna, 6,000 new tanker trucks would be required costing approximately $1.2 billion every 5
years. Also as described in Section 5.3.2, transportation via truck is subject to higher
transportation costs and subject to environmental factors that would impact the transportation of
crude via truck. As described in Section 5.5.2., Enbridge estimates that it would cost $30 to $40
million per year to maintain the U.S. portion of the existing Line 3. This alternative would include
impacts to waters of the United States as a result of maintaining the existing Line 3, but could
also impact additional waters of the United States as a result of constructing new infrastructure.

This alternative is not a practicable due to costs associated with the alternative, both from the
need to increase infrastructure and additional costs associate with renewing the fleet of trucks
and transporting crude via truck compared to pipeline, and costs associated with continued
maintenance required on Line 3. The alternative also has poses safety concerns with adding a
substantial amount of tanker trucks to the roadways as well as higher potential for spills from
tanker trucks, and potential extreme weather conditions that could delay transportation of crude.
This alternative would also include impacts to waters of the U.S. as discussed in Section 5.5.2.




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5.6    ALTERNATIVE CARRIED FORWARD IN THE ANALYSIS

The applicant’s preferred alternative (described in Section 5.5.1) and the No Action alternatives
(described in Section 5.3) were carried forward in the Least Environmentally Damaging
Practicable Alternative (LEDPA) analysis.

5.7    SUMMARY OF PRACTICABLE ALTERNATIVES
Of the 8 alternatives described above, the only practicable alternative is the Applicant’s
preferred alternative.

5.7.1 CORPS DETEMRINATION OF THE ENVIRONMENTALLY
      PREFERABLE AND LEAST ENVIRONMENTALLY DAMAGING
      PRACTICABLE ALTERANTIVE
For purposes of NEPA, the Environmental Assessment must identify the environmentally
preferable alternative. For purposes of the Section 404(b)(1) Guidelines, the LEDPA must be
identified. The LEDPA is usually the alternative with the least aquatic resource impact, but could
be an alternative with more aquatic resource impact if the alternative with less aquatic impact
has other more damaging environmental consequences. The applicant’s preferred alternative
(described in Section 5.5.1) and the No Action alternatives (described in Section 5.3) were
carried forward in the LEDPA analysis.

As detailed in Section 5 above, the Corps determined that the Applicant’s preferred alternative
(Section 5.5.1) is the LEDPA. This is not a determination of compliance with the Section
404(b)(1) Guidelines, which is addressed in Section 6.0, but rather a determination that there
are no other less damaging practicable alternatives. The remainder of this EA documents
whether this alternative is compliant with the Section 404(b)(1) Guidelines, whether it is or is not
contrary to the public interest, and whether it is in compliance with all other applicable laws,
regulations and policy.


6.0    EVALUATION OF THE DISCHARGE OF DREDGED AND FILL
       MATERIAL IN ACCORDANCE WITH THE SECTION 404(b)(1)
       GUIDELINES

6.1    FINDING OF PRACTICABLE ALTERNATIVES AND LEAST
       ENVIRONMENTALLY DAMAGING PRACTICABLE ALTERNATIVE
       (40 CFR 230.10(a))

Practicable alternatives to the proposed discharge consistent with 40 CFR 230.5(c) are
evaluated in Section 5. In summary, based on the analysis in Section 5.0 above, the no-action
alternative, which would not involve discharge into waters, is not practicable. For those
alternatives that would discharge into a special aquatic site and are not water dependent, the
applicant has demonstrated there are no practicable alternatives that do not involve special
aquatic sites. It has been determined that there are no alternatives to the proposed discharge
that would be less environmentally damaging. (Subpart B, 40 CFR 230.10(a)). The Applicants



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preferred alternative is the practicable alternative with the least adverse impact on the aquatic
ecosystem, and it does not have other significant environmental consequences. This alternative
meets the overall Project purpose, and is practicable in consideration of costs, logistics, and
existing technology.

6.2     CANDIDATE DISPOSAL SITE (40 CFR 230.11(f))

The “disposal site” is the waters where a discharge is proposed. Depth of water, current
velocity, direction and variability at the disposal site are considered.

As a result of the Project, a total of 1059.55 acres of wetland (1,049.58 acres of temporary
impact and 9.97 acres of permanent loss) would be impacted directly by the discharge of
dredge and fill material. See table below showing crossing methods for wetlands throughout the
Project. The discharge of dredged and fill material would also temporarily impact 0.64 acres
and 0.49 acres of stream bed for the installation of the pipe and bridges, respectively. See table
below for waterbody crossing methods.

See table 4.0-1 of the L3R Compensatory Wetland Mitigation Plan for impacts by wetland type
and duration as well as the Mainline Wetland Impact Table and Access Road/Haul Road
Wetland Impact Table for all impacts to wetlands.

A total of 227 waterbodies would be crossed by the Project. Ditches account for 95 of the
waterbodies, many of which are roadside ditches. Seventy-four of the ditches would be crossed
via a trench method and 21 would be crossed via bore method. The proposal would cross 132
streams (84 with perennial flow, 16 with intermittent flow, 20 with ephemeral flow, and 12
streams where no flow regime was identified). Of the streams, 21 would be crossed via HDD or
bore method, and 111 would be crossed via a trench method. See Line 3 Mainline Waterbody
Crossing table included in the administrative record for all waterbodies being crossed, crossing
method, flow regime, and impact area of the crossing.


Table 1.
                                                  Corps Jurisdiction
                                Proposed Wetland Crossing Construction Method Summary
                                                      Number of Proposed Wetland        Centerline Crossing Length
      Wetland Crossing Construction Method
                                                         Crossings by Method                      (miles)
  Trench: Modified Upland Construction Method                        755                           74.9
  (Open Cut)
  Trench: Push-Pull Method                                           5                             0.4
  Trenchless: Bore Method                                            82                            0.6
  Trenchless: HDD                                                    43                            3.5
                                            Total                    885                           79.4




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Table 2.
                                                     Corps Jurisdiction
                                  Proposed Waterbody Crossing Construction Method Summary
  Waterbody Crossing Construction Method                                 Number of Proposed Waterbody Crossings
  Trench: Open Cut (Non-Isolated) Method                                                    0
  Trench: Push-Pull Method                                                                  1
  Trench: Modified Dry Crossing                                                             23
  Trench: Dry (Isolated) Method                                                             160
  Trenchless: Bore Method                                                                   22
  Trenchless: HDD Method                                                                    21
                                                                 Total                      227




6.3     POTENTIAL IMPACTS ON THE PHYSICAL AND CHEMICAL
        CHARACTERISTICS OF THE NON-LIVING ENVIRONMENT (40
        CFR Part 230)

6.3.1 SUBSTRATE
         The proposed discharge would temporarily impact the physical substrate to 1,049.58
acres of wetland, 1.13 acres of streambed, and permanently adversely impact physical
substrate to 9.97 acres of wetland. Dredged and fill material would be discharged into wetlands
and streams as a result of temporary construction access, temporary side casting of material,
backfilling of the trench, installation of mainline valves, and construction of pump stations.
Temporary discharges in wetlands as a result of construction matting would minimize rutting
and disperse compaction pressure from heavy equipment. Soils excavated in wetlands would
be segregated prior to installation of the pipe in accordance with the method described in
Section 1.10.1 of the Environmental Protection Plan (EPP). Material would then be returned to
the trench in the reverse order it was excavated with the segregated top soil being returned last.
Streambed materials would not be segregated during excavation of the trench. Negative effects
to the substrate are expected to be limited to the duration of construction and a short time after
during restoration activities.

6.3.2 SUSPENDED PARTICULATES/TURBIDITY
Overall, impacts of suspended particulates and turbidity are not expected to exceed regulatory
limits. The primary potential effect of pipeline installation across surface waters would be the
potential temporary increase in Total Suspended Solids associated with the removal of riparian
vegetation, disturbance of channel bed and banks and temporary resuspension of sediments.
The placement of construction mats, ice roads, bridges, or culverts over surface waters may
also contribute to the resuspension of sediments during the installation and removal process,
and the introduction of sediments as equipment travels across these features. Discharges from
installation of the pipe and other attendant structures are subject to the MPCA NPDES/SDS
permitting. The NPDES/SDS permit contains limits on the amount of total suspended solids.

Open trench crossing methods that Enbridge proposes to use for the Project are typically
completed in 1-2 days. Any increase in TSS would occur shortly after initiation of the crossing
and would be minimized by best management practices (BMPs) such as erosion and



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sedimentation controls, and construction during frozen conditions which reduces potential for
sediment release during in-channel work. Dry-crossing methods to re-route flow through the
construction area, or crossing waterbodies with low enough flow to facilitate such a crossing
would also reduce the potential for sediment releases during the construction activities.
Enbridge would only clear 30 feet of vegetation within the 50-foot operational right-of-way along
the drill path as shown on Figure 4.5-1 of the Summary of Construction Methods and
Procedures, Appendix A of the EPP, except where additional construction workspace is
required for the installation of a bridge. This would not generally require removal of vegetation
on the stream banks. Where vegetation would be cleared, roots would be maintained which
would aid in stabilizing the soils and reducing erosion potential. No grading or stump removal
would occur over the HDD path except at limited locations where free-span engineered bridges
would be installed, or as needed to assist with staging to respond to an inadvertent release of
drilling mud. Restoration of the crossing areas may also result in a temporary increase in TSS,
but would also be reduced through use of BMPs. The MPCA has authority for assessing and
issuing a water quality certification. Through the issuance of the individual Section 401 water
quality certification, the MPCA has determined that the temporary increase in TSS would not
violate water quality standards or have long-term water quality effects. The Project is expected
to result in negligible effects in the short and long term due to suspended particulates and
turbidity. Please see Section 6.3.3 of this document for additional information on water quality.


6.3.3 WATER

Pipeline installation and right-of-way access (e.g., bridges, culverts) activities at waterbodies
may result in temporary impacts on water quality. The magnitude and extent of potential water
quality effects would vary depending on the pipeline installation method or bridge/culvert type.
A special condition included in the Section 401 certification would prohibit HDD crossings during
frozen conditions, unless otherwise approved by the MPCA and the MNDNR. This special
condition is intended to reduce the risk of undetected inadvertent release of drilling mud and
potential water quality concerns with such an event. The Applicant has considered effects to
TSS phosphorous, river eutrophication, dissolved oxygen, and mercury, and provide this
information to the MPCA. Affects to water as a result of temporary increases in TSS is
described in Section 6.3.2 of this document. There would be no substantial addition of mercury
due to the Project. Inorganic and organic mercury concentrations could potentially increase
through suspension of sediment particles. Due to the chemical properties of mercury, particles
would be expected to resettle prior to any release of mercury. As result, minor changes might
occur in dissolved mercury concentrations. No phosphorous would be added to any water by
the construction activities. Because phosphorous is bound in the sediments, temporary
resuspension of sediments could increase phosphorous levels within the water. Any increase in
phosphorous would be minor and temporary. Eutrophication occurs when a waterbody becomes
over-enriched with nutrients, causing excessive growth of plants and algae. The Project may
cause small, temporary, and short-lived increases in phosphorus, which is a nutrient that can
lead to eutrophication. Due to the temporary nature of any potential increase in phosphorous,
river eutrophication is not anticipated. If construction results in increased TSS, the
resuspension of sediments has the potential for temporary effects on water-column Dissolved
Oxygen concentrations. Any temporary effect to DO as a result resuspension of sediments
would be short lived, lasting minutes to hours.

The Corps has considered the information submitted by the applicant and determined that
effects to TSS, phosphorous, river eutrophication, dissolved oxygen, and mercury, are
anticipated to be temporary and minor in the short term.



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6.3.4 CURRENT PATTERNS AND WATER CIRCULATION
The vast majority of the Project includes excavation of the trench, installation of the pipe, and
backfill and restoration of the trench and construction area. This temporary impact to wetlands
and waterbodies has the potential to impact water circulation, especially in waterbodies where a
dry-crossing method has been chosen, but only for a brief period of time. Most waterbodies
being crossed by a trenched method would be impacted for approximately 24 to 48 hours.
These sites would then be restored resulting in no long-term permanent impacts to circulation of
water. Where permanent wetland loss is proposed, all wetland functions would be lost. Even
so, impacts to water circulation are anticipated to be minor throughout the entire Project.

A cross-sectional model was developed to evaluate the effects of the pipe and trench on
groundwater flow across the pipeline route at wetland crossings using the U.S. Geological
Survey’s groundwater flow code, MODFLOW. Modeling assessed hydrogeologic conditions
and range of hydrologic parameter values encountered to evaluate the possible range in
groundwater levels and groundwater flows across the pipeline. The entire range of permeability
values calculated from the pump-down/slug tests that were performed in the borings at LaSalle
Creek, the values were extended to encompass a range typical of peatlands along the pipeline
route. The results indicated a maximum change (increase or decrease) in groundwater levels
on either side of the pipeline (upgradient or downgradient) was 0.00005 to 0.003 inch (smaller
than the width of three human hairs). These results are entirely consistent with the
hydrogeologic settings that are encountered in peatlands along the pipeline route and
demonstrate that the pipeline and trench backfill are unlikely to cause measurable changes in
groundwater levels and groundwater flow rates across the pipeline and backfilled trench.

Any adverse effects are anticipated to be temporary and minor in the short-term.

6.3.5 NORMAL WATER FLUCTUATIONS
As identified in the Section 6.2 above, the Project is dominated by temporary impacts
associated with the installation of the pipeline. These impacts have the potential to affect
normal water fluctuation in wetlands and waterbodies during the installation.

Hydrotechnical hazard impact could affect the hydrology which could result in reduction in depth
of cover or exposure of the pipe. Enbridge considered the following routing design criteria, when
possible, in order to avoid and minimize hydrotechnical hazard impacts on the pipe:

               • Avoid paralleling the pipeline to watercourses to avoid the potential for
               encroachment;
               • Align the centerline perpendicular to the watercourse and at the shortest
               crossing location;
               • Avoid placement over meander cutoffs and avoid crossing multiple meander
               belts;
               • Appropriate placement of buoyancy control; and
               • Use of concrete coated pipe as an extra protection of the pipe against
               scouring.

Section 2.7 of the Summary of Construction Methods and Procedures (Appendix A of the EPP)
describes the minimum federal requirements for the depth of cover between the top of the pipe



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and the ground level, road bed, or river bottom. 49 CFR 195.248 requires a minimum depth of
cover of 48 inches (4 feet) where crossing any inland bodies of water with a width of at least 100
feet from high water mark to high water mark, and 36 inches at drainage ditches at public roads
and railroads. Any other area, including inland bodies of water less than 100 feet from high
water mark to high water mark requires a minimum of 30 inches (2.5 feet). The federal depth of
cover requirement, administered by the U.S. Department of Transportation, Pipeline Hazardous
Materials and Safety Administration, is to provide protection to the pipeline itself by ensuring
sufficient cover between the top of the pipe and ground surface to avoid the risk of pipe
exposure resulting from stream scour. To further avoid and minimize effects to water fluctuation
and potential subsequent hazard impacts on the pipe, Enbridge also committed to a minimum
depth of cover of 48 inches at all surface water crossings (i.e., waterbodies and wetlands). In
saturated conditions where there is a floating mat or vegetation over a water layer, the depth of
cover would be measured starting at the bottom of the water resource substrate as illustrated in
Figure 18 of the EPP. This exceeds the federal mandated depth at inland bodies of water less
than 100 feet wide by 18 inches (1.5 feet). Enbridge has also agreed to additional depth of
cover greater than its 48-inch standard at some public waters to address MDNR concerns. All
waterbodies that are wider than 100 feet would be crossed utilizing the HDD technique which
would not result in an alteration of the bed or bank of the waterbody, and would result in the
installation of the pipe an average of 30 to 40 feet below the bed of the watercourse, eliminating
the potential for impacts to water levels and fluctuation. In waterbodies where a dry-crossing
method has been chosen, water levels may fluctuate from normal levels as a result of the in-
channel construction. However, dry-crossings include methods to reduce fluctuations and
continue to move water through the waterbody, such as pumps or culverts routing flow either
around the crossing or through the crossing. Most waterbodies being crossed by a trenched
method would be impacted for approximately 24 to 48 hours, therefore any water level
fluctuations in waterbodies would be short-lived.

Sufficient depth of cover would reduce potential impacts to water levels and fluctuations.
Enbridge installed monitoring wells at locations identified by the Agencies (MPCA, MDNR, and
Corps) (Table 2.4-1 of the PCMP) in summer 2020 prior to construction. Monitoring wells were
installed in nests to allow for the determination of groundwater flow direction and to assess if
there are changes in groundwater conditions upgradient and downgradient of the pipeline.
Enbridge would continue to collect data on an annual basis during construction and post-
construction during the frost-free period or until the performance standards have been met and
reviewed by the applicable agencies. In addition to direct hydrology monitoring, the applicant
would conduct long-term vegetative sampling in select wetlands that were determined by the
MDNR. The long-term vegetation sampling is intended to assess any potential hydrologic
effects, up and down-gradient of the pipeline, through an assessment of changes in vegetation
over time. Protocols for the long-term monitoring are outlined in Section 2.5.3 of the PCMP.
The PCMP also identifies potential corrective actions that may be required due to unexpected
ponding from peat compaction and alterations to groundwater flow that could result in
unexpected drainage or damming.

See Section 6.3.4 for discussion on hydrologic modeling to assess trench and pipe effects to
groundwater levels and flow.

Water fluctuation along the Project would be impacted during construction in wetlands and
waterbodies; however, the water fluctuations would only occur during the installation of the pipe.
Any adverse effects are anticipated to be minor in the short-term.




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6.3.6 SALINITY GRADIENTS
The Project is not expected to have an appreciable effect on salinity gradients as there are no
tidal influenced waters in the Project area.

6.4    POTENTIAL IMPACTS ON THE BIOLOGICAL
       CHARACTERISTICS OF THE AQUATIC ECOSYSTEM (40 CFR
       230.30-230.32)

6.4.1 THREATENED AND ENDANGERED SPECIES
The Corps of Engineers is the lead federal agency and is therefore responsible for Endangered
Species Act Section 7 compliance. In addition to Regulatory permits, other federal actions
include permission from the Corps to alter a federal Project (Lost River Flood Control Project)
under Section 408 of the Rivers and Harbors Act and issuance of a Right of Way (ROW) Grant
by Bureau of Indian Affairs (BIA) to cross tracts of land within the interior boundaries of the Fond
du Lac Reservation.

A Biological Assessment (BA) has been prepared for the overall Project (dated February 2019).
The BA included a description of the actions to be considered and the specific areas that may
be affected by the actions. It also included a description of listed species and critical habitat that
may be affected by authorized activities specifically within the Corps’ permit areas. Refer to
Section 2.2 of this document for a description of the Corps action area. The Corps determined
that no indirect effects outside of the jurisdictional permit areas would occur and that broadening
the action area, within and outside of the Project corridor, would be beyond the limits of the
Corps’ regulatory authority.

On March 25, 2019, the Corps initiated informal consultation and submitted the BA to the U.S.
Fish and Wildlife Service (USFWS). The consultation requested concurrence with the effect
determinations as summarized in the table below. The informal consultation also provided
notification of “No Effect” determinations for the Whooping crane (Grus Americana), Rufa red
knot (Calidris canutus), Piping plover (Charadrius melodus), Dakota Skipper (Hesperia
dacotae), Rusty patched bumble bee (Bombus affinis), and the Western prairie fringed orchid
(Platanthera praeclara). Specific information and details on the effects determinations is
provided in the referenced BA. The BA and documentation of the consultation is hereby
incorporated by reference.




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Table 3.




In letters dated July 2 and August 6, 2019, the USFWS concurred with the Corps’ designated
action areas and effect determinations, concluding the consultation under Section 7 of the
Endangered Species Act.

Based on a review of the above information, the Corps has determined that it has fulfilled its
responsibilities under Section 7(a)(2) of the ESA. The Project would comply with this factor of
the Guidelines.

6.4.2 FISH, CRUSTACEANS, MOLLUSK, AND OTHER AQUATIC
       ORGANISMS

Potential effects on fish and aquatic macroinvertebrate communities includes changes in
physical habitat (including flow), riparian and aquatic connectivity, and water quality. There is no
permanent loss of aquatic habitat proposed as part of this Project.

Of the 227 waterbodies that would be crossed by the Project, 95 of the waterbodies are ditches,
many of which are roadside ditches. 74 of the ditches would be crossed via a trench method
and 21 would be crossed via bore method. The Project would cross 132 streams ranging from
perennial to ephemeral flow regimes, of which 21 would be crossed via HDD or bore method,
and 111 would be crossed via a trench method. No impact is anticipated to organisms where
the pipe would cross a waterbody via an HDD or bore method. Impacts to aquatic organisms
could occur in these areas if a frac-out (loss of drilling mud) occurs during the drilling process.
Enbridge would be required to remove any drilling mud that has reached the surface and restore
the area to pre-construction conditions as identified in Enbridge’s HDD Inadvertent Release




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Response Plan. The MPCA has also prohibited certain compounds from being used in the
drilling mud to reduce potential for toxicity.

Waterbodies being crossed by a trench method would impact aquatic organisms temporarily.
Temporary impacts to waterbodies would occur during the duration of trenching, pipe
installation, backfilling, and initial restoration. Based on information included in Enbridge’s EPP,
the anticipated duration for pipe installation through water bodies would typically range from 24
to 48 hours. Enbridge would restore the streams banks that had been disturbed by
construction to as near as possible to pre-construction conditions utilizing civil survey data
collected pre-Project. Unstable banks may require bio-engineering which would be
accomplished in consultation with the appropriate agencies. Restoration of the area impacted
by the stream crossing should return any functions lost during the relatively short construction
period. Site specific restoration plans, completed in consultation with the appropriate agencies,
as well as post construction monitoring would reduce the potential for any long term effects at
waterbody crossing sites and to aquatic organisms at the crossing sites.

Enbridge would undertake additional minimization efforts through excluding construction during
certain times when aquatic organisms, mainly fish, could be most susceptible to impacts. The
MDNR has identified waters that would be subject to work exclusion dates for in-channel work.
The Project would cross five public waters that are MDNR-designated trout streams. No in-
channel work would be allowed in the Straight River, Spring Brook, and Little Otter Creek from
November 1 – March 31. The MDNR granted an exemption to allow for in-channel work during
the exclusion dates for two additional trout streams. In addition, MDNR is applying the trout
stream timing restrictions at three public water crossings that are not formally designated as
trout streams. Trout streams are considered Special Waters as defined by the MPCA
NPDES/SDS Construction Stormwater General Permit (MNR100001). Enbridge would be
required to install and maintain redundant erosion and sediment control measures immediately
after clearing and prior to initial disturbance at special waters located within 100 feet of the
Project as described in Section 2.2.2 of the EPP. The MDNR also has in-channel work
exclusion dates for cool/warm water fisheries. Enbridge would not be allowed to work in-
channel from March 15 – June 30 in cool/warm water fisheries unless the MDNR provides a
site-specific exemption.

Other efforts taken to reduce temporary impacts to aquatic organisms include clear span
bridges where feasible and site-specific restoration plans for certain waterbodies that have been
approve by State agencies. Aquatic organisms, especially invertebrates, will be impacted during
the installation of the pipe. Installation will generally take less than 24 hours, so any impacts to
aquatic organisms would be temporary. Any loading of TSS and associated effects on mercury,
phosphorus, and DO will be temporary, limited to the duration of in-stream construction, and
therefore are not anticipated to result in long-term effects to streambed composition or benthic
invertebrate and fish communities.

Effects to aquatic organisms are anticipated but they would be minor in the short term

6.4.3 OTHER WILDLIFE
The discharge of dredged and fill material would result in the loss or change of breeding and
nesting areas, escape cover, travel corridors, and preferred food sources for resident and
transient wildlife species associated with the aquatic ecosystem. Wildlife habitats include a
variety of vegetation communities that provide foraging opportunities, shelter, overwintering,




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migration stopover, and breeding habitats for a wide variety of wildlife. The State EIS identified
10 broad-scale vegetation cover classes that would be crossed by the Project: evergreen
forest, deciduous forest, mixed forest, shrub/scrub, grassland/herbaceous, hay/pasture,
cultivated crops, woody wetlands, emergent herbaceous wetlands, and barren land. Impacts to
wetlands would predominantly be temporary, resulting in a temporary loss of wildlife habitat
during construction. However, some wetland vegetation would be temporarily or permanently
lost as a result of the construction. The full 95 foot workspace would include the removal of
vegetation during construction and a 10-foot wide swath would be maintained free of trees and
woody shrubs. Outside of the 10-foot wide swath, 20 additional feet (a total of 30 feet wide over
the centerline) would be maintained for trees but other woody vegetation such as shrubs would
be allowed to grow. The 20 additional feet outside of the 10-foot wide swath over the centerline
includes 107.09 acres of scrub-shrub wetland and 194.81 acres of forested wetland temporarily
impacted through the clearing required for mainline workspace and access roads. This
temporarily impacted area would be allowed to revegetate after construction and would be
monitored to ensure the wetland restoration is progressing towards forested wetland. It is
recognized that these wetland types have longer development time than an emergent type
wetland. Therefore, impacts to wildlife would be longer in duration for wooded type wetlands.
This is also recognized in compensatory mitigation requirements discussed in Section 8.0. The
Project also includes 81.36 acres of scrub-shrub wetland and 148.85 acres of forested wetland
that would be permanently converted to an emergent type wetland as a result of maintaining an
area over the pipeline to facilitate inspection. The Project would result in a loss of 4.39 acres of
wetland for the construction of pump stations and 5.58 acres of wetland for installation of valves
and access to the valves. See table 4.0-1 of the L3R Compensatory Wetland Mitigation Plan for
impacts by wetland type. The changing composition of vegetation could affect resident wildlife
unable to adapt to changing conditions. This could be magnified by the permanent loss of trees
and shrubs, habitat fragmentation, and changes in vegetation cover in large tracts of forest
habitats within the pipeline right-of-way.

The State EIS identified potential fragmentation effects on wildlife habitat which could include a
decrease in total habitat area, amount of interior habitat, biodiversity (richness), and
connectivity. Fragmentation may also cause an increase in amount of edge habitat, increase the
risk of invasive species spread, and isolate some habitat types. The reduction in habitat
connectivity can disrupt behavior and movement of species, alter population dynamics, reduce
the chance of recolonization in extirpated island habitats, and decrease genetic diversity.
Forest-nesting birds are particularly vulnerable to habitat fragmentation effects resulting from
linear construction projects. Habitat fragmentation leads to increased predation, increased
competition by generalist species, and changes in microclimate and vegetation which may result
in extirpation and reduced reproductive success for area-sensitive species. The majority of the
Project is co-located with other pipelines, utilities, or road; however, approximately 38 miles of
the Project (11% of the total Project length) would not be co-located with other infrastructure.
Habitat crossed in this area includes primarily forested and woody wetland habitats. Impacts to
wildlife from habitat fragmentation, particularly as a result of wetland type conversion, could
result in displacement of wildlife that rely on those wetland types. These impacts would be most
pronounced in large undisturbed areas.

For terrestrial wildlife adverse impacts upon wildlife habitat will result from changes in habitat
alteration, behavioral disturbance from noise, vehicles and human presence, barriers to
movement from Project activities, fluctuations in water levels, water flow and circulation, salinity,
chemical content, and substrate characteristics. Most of these activities and impacts would be
short-lived, occurring only during construction. Aside from areas permanently converted, wildlife
habitat should be similar to pre-construction conditions.



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For birds, effects during construction and operations include habitat alteration or fragmentation
from vegetation removal and permanent conversion of some habitat, including potential nest site
loss or disturbance, behavioral disturbance from noise, and from vehicles and human presence.

In some locations, changes in behavior as a result of the Project may not be noticeable because
some animals would be expected to remain in the vicinity. However, the Project may disrupt
specific movement habits that could result in noticeable changes to movement patterns. While
injury or mortality may occur, population level effects are not expected to be detectable given
the surrounding landscape and other suitable habitat in close proximity to the Project. Effects to
wildlife may be more pronounced in Greenfield routes as a result of habitat fragmentation;
however, wildlife is expected to shift habitat and movement locations as a result of the Project.
As indicated above, much of the Project would follow existing infrastructure that may have
previously impacted wildlife.

Effects to wildlife are anticipated but they would be minor in the long-term.


6.5     POTENTIAL IMPACTS ON SPECIAL AQUATIC SITES (40 CFR
        SECTION 230 SUBPART E)
The technical evaluation factors discussed in this section address potential impacts on the
special aquatic sites (Guidelines Subpart E). The effects described in this subpart were
considered in making the factual determinations and the findings of compliance or
noncompliance in Subpart B.

6.5.1 SANCTUARIES AND REFUGES
Sanctuaries and refuges are designated under state and federal laws to be managed principally
for the preservation and use of wildlife and fish. There are no sanctuaries or refuges in the
Project area.

6.5.2 WETLANDS
Section 6.2 of this document discloses the wetland impacts associated with the Project. The
majority of the impacts associated with the Project would be temporary, lasting only during the
installation of the pipeline, duration of the temporary access roads, and until initial restoration
after the pipeline is installed or access roads are removed. As result of the construction
activities, some wetland types would be converted either temporarily or permanently to a
different wetland type. Temporary conversion would occur to 107.09 acres of scrub-shrub
wetland and 194.81 acres of forested wetland temporarily impacted through the clearing
required for mainline workspace and access roads. These areas would be allowed to
revegetate after construction and would be monitored to ensure the wetland restoration is
progressing towards forested wetland. The Project also includes 81.36 acres of scrub-shrub
wetland and 148.85 acres of forested wetland that would be permanently converted to and
emergent type wetland as a result of maintaining an area over the pipeline to facilitate
inspection.

The agencies recognized some wetlands along the corridor were higher functioning or higher
value wetland. During the Project review, the Corps, MPCA and MDNR developed 10 “special”




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wetland categories recognizing the higher functioning or higher value wetlands which may result
in more or higher functions being temporarily lost or even restored. These categories of
wetlands warrant higher compensatory mitigation ratios to better reflect the temporal loss of
functions and services provided by these wetlands. See Compensatory Mitigation Section below
for details on compensatory mitigation. The identification of the Special Wetland Categories
ensures that both temporary losses to the functions provided by these aquatic resources, and
the additional functions and services are appropriately mitigated after all practicable measures
have been taken to avoid and minimize adverse impacts. The Project would impact
approximately 410.10 acres of wetland within the special wetland categories (see table 4.1-1
and 5.2-1 of the L3R Compensatory Wetland Mitigation Plan for impacts by special wetland
category and impact duration). The following special wetland categories are also described in
further detail in Section 3.1 of the L3R Compensatory Wetland Mitigation Plan:

   •   Cedar Swamps
   •   Wetlands with State designated S1, S2, or S3 Native Plant Communities
   •   Forested Vernal Pools/Seasonal Ponds
   •   Wetlands Hydrologically Connected to Trout Streams or Tributaries to Trout Streams
   •   State designated Old Growth Forested Wetlands (both Existing and Candidates)
   •   State designated High Conservation Value Forested Wetlands
   •   Wetlands with State designated High or Outstanding Biodiversity Sites Special
   •   Wetlands Hydrologically Connected to Lakes of State designated High or Outstanding
       Biological Significance a Special
   •   Wetlands with Known Occurrences of MDNR State-Listed Species, including Important
       Habitat for Four-toed Salamanders
   •   Wetlands Hydrologically Connected to Wild Rice Waters

In addition to the special wetland categories, the Project crosses the Gully 30 calcareous fen in
Polk County, Minnesota (Gully 30 Fen) which is afforded additional protections by the State of
Minnesota. Projects impacting Calcareous fens, as identified by a MDNR commissioner’s
written order, may not be filled, drained, or otherwise degraded, wholly or partially, by any
activity, unless the MDNR commissioner, under an approved management plan, decides some
alteration is necessary (Minn. Stat. §103G.223). Minn. R. part 8420.0935 provides minimum
standards and criteria for identifying, protecting, and managing calcareous fens. A calcareous
fen is a peat-accumulating wetland dominated by distinct groundwater inflows. The water is
circumneutral to alkaline, with high concentrations of calcium and low dissolved oxygen content.
The chemistry provides an environment for specific and often rare hydrophytic plants. The
portion of Project that crosses the Gully 30 Fen is co-located with Enbridge’s LSr and Alberta
Clipper pipelines (Lines 65 and 67 respectively). This minimizes potential additional disturbance
to listed plants and environmentally sensitive features that would be associated with a
Greenfield crossing location. On October 19, 2020, the MDNR approved the October 2020
Gully 30 Calcareous Fen Management Plan which details construction, avoidance and
minimization, restoration, and mitigation.

Along with standard post construction monitoring for all wetlands, Enbridge would conduct
MPCA Rapid Floristic Quality Assessment monitoring at wetlands with State-designated S1, S2,
or S3 Native Plant Communities, wetlands with High or Outstanding biodiversity, wetlands with
known occurrences of MDNR State listed plant species, and sensitive waters as identified by
the State agencies.




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Discharges in wetlands would have a minor long-term effect in HUC 8 watersheds. See Section
9.0 for assessment of cumulative effects.

6.5.3 MUD FLATS
Mud flats are broad flat areas along the sea coast and in coastal rivers to the head of tidal
influence and in inland lakes, ponds, and riverine systems. While the Project area includes
shallow and deep marsh habitat, these features do not generally develop mud flats. Therefore,
there are no mud flats in the Project area.

6.5.4 VEGETATED SHALLOWS
Vegetated shallows are permanently inundated areas that under normal circumstances support
communities of rooted aquatic vegetation in freshwater rivers and lakes. The Project does cross
perennial streams that contain vegetated shallows. Impacts to vegetated shallows would be
temporary, lasting only during installation of the pipe and initial restoration.

6.5.5 CORAL REEFS
There are no coral reefs in the Project area.

6.5.6 RIFFLE AND POOL COMPLEXES
A total of 132 streams ranging from perennial to ephemeral flow regimes would be crossed by
the Project. See section 6.2 for additional breakdown of streams types. Of the 132 streams
crossed, 21 would be crossed with a HDD or bore method which does not include a disturbance
to the stream bed. The remaining streams would be crossed with a trench method which would
temporarily impact the stream bed for the duration of the pipe installation. The applicant would
be required to restore the stream banks and streams bed to preconstruction conditions. Each
waterbody crossing was reviewed during interagency coordination. The EPP describes general
measures that would be taken to restore the stream crossing. In addition, the MDNR and
MPCA have required the applicant to submit site specific restoration plans for 46 streams
crossings. Effects to riffle and pool complexes would be minor in the short-term.

6.6     POTENTIAL EFFECTS ON HUMAN USE CHARACTERISTICS (40
        CFR SECTION 230, SUBPART F)

6.6.1 MUNICIPAL AND PRIVATE WATER SUPPLIES

The State EIS completed by the Department of Commerce identified 98 unverified and 205
verified domestic well locations in Minnesota and 1 in North Dakota.

The applicant’s proposed Project crosses the City of Oklee, Sundruds Court, and the City of
Wrenshall’s Wellhead Protection areas. The applicant has proposed measures such as water
appropriation BMPs, erosion/sedimentation controls, spill prevention and control measures, and
HDD monitoring and clean-up procedures. With adherence to these measures, construction
impacts on groundwater in these sensitive areas and wells would be temporary and minor.




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6.6.2 RECREATIONAL AND COMMERCIAL FISHERIES
A portion of the waterbodies and wetlands could support water-related recreation such as
hunting, canoeing/kayaking, as well as other activities. Impacts to water related recreation
would be temporary and would be reduced as a result the winter construction procedures that
have been proposed. Any impacts would be minor and short-lived during construction at the
crossing of the wetland or waterbody.

6.6.3 WATER-RELATED RECREATION
A portion of the waterbodies and wetlands could support water-related recreation such as
hunting, canoeing/kayaking, as well as other activities. Impacts to water related recreation
should be reduced as a result the winter construction procedures that have been proposed.
Any impacts would be minor and short-lived during the duration of the crossing of the wetland or
waterbody.

6.6.4 AESTHETICS
The majority of the Project is co-located with other pipelines, utilities, or roads; however,
approximately 38 miles of the Project (11% of the total Project length) would not be co-located
with other infrastructure. Habitat crossed in this area includes primarily forested and woody
wetland habitats.

The duration of potential Project impacts on visual resources along the pipeline rights-of way
could range from a couple of days during active construction to permanent (e.g., aboveground
facilities or a new cleared corridor through forested areas). During construction, the greatest
impacts would be caused by clearing of vegetation, as well as the presence of workers and
construction equipment. HDD and bores would reduce any potential impacts to aesthesis in the
area after the construction is complete.

The effects to aesthetics are expected to be negligible and the Project would comply with this
factor of the Guidelines.

6.6.5 PARKS, NATIONAL AND HISTORICAL MONUMENTS, NATIONAL
      SEASHORES, WILDERNESS AREAS, RESEARCH SITES, AND
      SIMILAR PRESERVES
There are no parks, national and historical monuments, national seashores, wilderness areas or
research sites in the Project area. The Project would comply with this factor of the Guidelines.

6.7     EVALUATION AND TESTING
The following evaluation was conducted to assess the biological availability of possible
contaminants in the dredged and fill material.

Material to be discharged into waters of the U.S. at the Project site would either be material that
was excavated from the trench and back-filled, or clean fill material discharged for the
construction of the pump stations and mainline valves. Discharges associated with the



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installation of the pipe would be adjacent to the extraction site (side-casting), and is subject to
the same contaminants as the extractions site. Levels of contamination are substantially similar
at the extraction site and disposal site and the discharge is not likely to result in degradation of
the disposal site and pollutants will not be transported to less contaminated areas. The material
would then be returned to the original extraction site of the pipe is installed. Construction mats
would also be placed in waters of the U.S. temporarily to facilitate construction which would be
free of any contaminants. This evaluation indicates that the proposed discharge material meets
the testing exclusion criteria for reasons describe above.

6.8    ACTIONS TO MINIMIZE ADVERSE EFFECTS (40 CFR 230.70-
       230.77, SUBPART H)
Total avoidance of all water and wetlands is not a practicable alternative consistent with the
Project’s purpose. The corridor includes numerous interspersed waters and wetlands. This
makes total aquatic ecosystem avoidance impractical as described in Section 5.0 above.

The Applicant has identified numerous measures to minimize adverse impacts. These
measures are outlined throughout this EA. Additionally, the Applicant has developed a
Compensatory Mitigation Plan that identifies proposed compensatory mitigation for unavoidable
wetland and stream impacts. Minimization measures described below are the key measures
that relate to the discharge of fill material.

The Corps, as well as State agencies, have reviewed the minimization measures proposed by
the Applicant and additional minimizations measures identified by the agencies and accepted by
the Applicant. In addition to the Applicant’s proposed mitigation measures, and BMPs, the
Corps would require additional conditions and stipulations to further minimize impacts. These
conditions are described in Section 10 of this EA.

       Wetland boundaries and environmental avoidance areas

       Enbridge would post signs or flag the following environmental features along the
       construction workspace and improved access roads. Not all of these are within the
       Corps’ regulatory authority:

           •   Wetland boundaries and waterbody crossing locations.
           •   Drainage/drain tiles identified by the counties and the landowners.
           •   Various trails, canoe routes and water access sites and other recreational areas
               as required by permit conditions.
           •   Buffer zones for environmentally sensitive features, including archaeological and
               historic sites, bald eagle nests, rare plant or ecological communities, and other
               sensitive wildlife species and/or habitat per agency consultations.
           •   Areas where typical construction sequence may be delayed due to
               permit/certification restriction, such as timing or clearing restrictions. See
               seasonality minimization measures below.
           •   Invasive and noxious species locations, including infested waters as identified in
               Enbridge’s Invasive and Noxious Species (“INS”) Management Plan.




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Duration of impacts

   •   To minimize the duration of temporary impacts as a result of trenching and pipe
       installation, possibility of significant erosion, and potential discharges to
       waterbodies caused by weather events, Enbridge would perform the authorized
       work in segments, referred to as spreads. Enbridge would limit the cumulative
       amount of excavated open trench within each spread to no more than three days
       of anticipated welding production, which must not exceed more than 14,000
       linear feet. The trailing end of each trench must not be back filled and best
       management practices (BMPs) must be in place as the leading edge of the
       trench is opened. Each open spread would be fully staffed and equipped to
       operate independently of any other open spread. Within each spread, site-
       specific activities, such as HDDs, bores, road bores, alive work and pumping
       station construction activities may be performed independent of open trench work

Seasonality

MDNR identified six (6) public water crossings where winter construction (“MDNR
Priority Crossings”) would be particularly important to prevent environmental impacts to
sensitive environmental resources, such as sites of biodiversity, high conservation value
forests, native plant communities and large wetland/peatland complexes. In its October
2020 Application for a License to Cross Public Waters Enbridge committed to complete
the following MDNR Priority Crossings in winter to the extent feasible:

   •   Water ID No. 41 MP 100.5 Big Swamp Creek – part of a large riparian
       wetland/peatland complex that flows into a site of high biodiversity.

   •   Water ID No. 50 MP 1053.4 Unnamed Stream – part of a large riparian
       wetland/peatland complex that contains a site of moderate biodiversity and State-
       listed threatened or endangered species.

   •   Water ID No. 51 MP 1056.6 Moose Lake/Moose Lake Tributary – part of a large
       riparian wetland/peatland complex that flows into a lake of outstanding
       biodiversity and is adjacent to a wildlife management area.

   •   Water ID No. 54 MP 1070.9 Unnamed Stream – trout stream that flows through a
       large riparian wetland/peatland complex and into a site of high biodiversity.

   •   Water ID No. 55 MP 1075.5 Unnamed Stream – part of a large riparian
       wetland/peatland complex that is a site of high biodiversity, connects lakes of
       high and outstanding biodiversity and has the potential for wild rice.

   •   Water ID No. 56 MP 1076.9 West Savanna River – part of a large riparian
       wetland/peatland that is a site of high biodiversity, connects lakes of high and
       outstanding biodiversity and has wild rice at the crossing.

In those areas where the construction start date allows for winter/frozen conditions
construction, Enbridge would adjust typical restoration and stabilization procedures to
minimize impacts on the aquatic ecosystem. Examples of these mitigation measures
taken form the Winter Construction Plan and the EPP include:




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   •   Where final grading and/or seeding of stream banks is not feasible during winter
       conditions, Enbridge would temporarily stabilize all exposed areas, including
       spoil piles, as described in Section 1.9.1 of the EPP. Additional final grading may
       be performed once soils have thawed and conditions allow. Permanent seeding
       would proceed after final grading as described in Section 7.0 of the EPP.

   •   Enbridge has prepared site-specific restoration plans in coordination with MDNR
       and MPCA for riparian areas that may require specialized seed mixes, plantings
       of woody vegetation, or other specialized restoration techniques. Some of those
       measures may not be easily implemented during winter conditions. In these
       cases, Enbridge would temporarily stabilize these areas, including spoil piles, as
       described in Section 1.9.1 of the EPP until site conditions permit restoration in
       accordance with these specialized restoration plans (Winter Construction Plan,
       Sect. 2.6.2).

   •   To minimize the potential for introduction and/or spread of invasive and noxious
       species due to hydrostatic testing activities during frozen conditions, Enbridge
       would follow the procedures outlined in the INS Management Plan (Appendix B
       of the EPP).

   •   As outlined in Sections 7.1.2.1 and 7.3 of the Winter Construction Plan,
       temporary vegetation should be established at any time between April 1 and
       October 15 or frozen soil. Enbridge would delay seeding during frozen ground
       conditions until the applicable spring seeding period or would complete dormant
       seeding where conditions allow as described in Section 7.3.1 of the Winter
       Construction Plan.

Enbridge would adhere to the following work-exclusion dates for Minnesota Public Water
Inventory cool- and warm-water fisheries that require in-channel work, or would seek a
waiver with the MDNR:

   •   Region 1 (Northwest) Non-Trout Streams: March 15 – June 30;
   •   Region 1 Lakes: March 15 – June 30; and
   •   Region 2 (Northeast) Non-Trout Stream and Lakes: March 15 – June 30.

In addition, Enbridge would adhere to the following work-exclusion dates in designated
Minnesota trout streams and their designated tributaries that require in-channel work to
allow for spawning and migration, or would seek a waiver with the MDNR:

   •   Region 1 (Northwest): September 1 – June 30;
   •   Region 2 (Northeast): September 15 – June 30; and
   •   Region 2 within the Lake Superior watershed: September 15 – June 30.

In addition, Enbridge would not execute the HDD crossing method at waterbodies during
frozen conditions (i.e., ice-covered waterbody), unless otherwise approved by the MPCA
and MDNR on a case-by-case basis.




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In-stream construction activities (specifically trenching, pipeline installation, backfill, and
restoration of the streambed contours) for open cut (non-isolated) crossing methods
would occur within the following timeframes:

    •   Minor Waterbodies (all waterbodies less than or equal to 10 feet wide at the
        water’s edge at the time of crossing): 24 hours.
    •   Intermediate Waterbodies (all waterbodies greater than 10 feet wide but less
        than 100 feet wide at the water’s edge at the time of crossing): 48 hours.
    •   Major Waterbodies (all waterbodies greater than 100 feet wide at the time of
        crossing): As specified by Enbridge or in the applicable permits.

In order to protect aquatic life use during sensitive periods, Enbridge would not conduct
construction activities in any wetland not permitted for permanent fill from April 11
through June 1 for non-sensitive waters and from April 1 through June 15 for sensitive
waters.

Due to the risk of an undetected inadvertent release of drilling mud into a stream that is
covered with ice, Enbridge would not conduct HDD stream crossing construction
activities during frozen conditions unless otherwise approved by the MPCA and MDNR
on a case-by-case basis.

Actions affecting Wild Rice

    •   The MPCA Individual Section 401 Water Quality Certification prohibits Enbridge
        from conducting in-channel work in waters in close proximity to known wild rice
        waters, identified in Table 5.4-1 in Enbridge’s Antidegredation Assessment for
        Section 401 Water Quality Certification, from April 1 through July 15.

Actions to reduce area of impact

    •   Enbridge would reduce (i.e. neck down) the construction workspace from the
        standard 120-foot width in upland areas to 95 feet in wetlands, waterbodies, and
        in selected locations near sensitive features. Further reduction of the construction
        workspace below a minimum width of 95 feet is not a practicable alternative due
        to equipment and storage logistical requirements to safely install the pipeline and
        site-specific conditions. See table 2.3-1 below from the November 2020
        Environmental Protection Plan.




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           •   To minimize impacts to aquatic resources associated with removal of vegetation,
               Enbridge would clear no more than 30 feet of vegetation within the 50-foot
               permanent right-of-way along the HDD drill path. No grading or trenching would
               occur along the drill path except where free-span engineered bridges would be
               installed. In addition, to aid in stabilizing soils and reducing erosion potential,
               Enbridge would minimize removal of vegetation along stream banks and maintain
               roots of vegetation removed.

6.9    FACTUAL DETERMINATIONS (40 CFR 230.11)
The determinations of potential short or long-term effects of proposed discharges of dredged or
fill material on the physical, chemical and biological components of the aquatic environment are
discussed below. Determinations are based on the information above, including actions to
minimize and consideration for contaminants. These “factual determinations” are used to
evaluate compliance with Restrictions on Discharges – see Section 6.10 below.

PHYSICAL SUBSTRATE DETERMINATION
Based on consideration of the information above in Section 6.3.1 of this document,
incorporation of actions to minimize effects and the applicant’s compliance with special
conditions in Section 12 of this document, the Project would have a minor long-term effect on
physical substrate.

WATER CIRCULATION, FLUCTUATION AND SALINITY DETERMINATIONS
Based on consideration of the information above in Sections 6.3.3, 6.3.4, 6.3.5, and 6.3.6.of this
document, incorporation of actions to minimize effects and the applicant’s compliance with
special conditions in Section 10 of this document, the Project would have a minor long-term
effect on water circulation, fluctuation and salinity.

SUSPENDED PARTICULATES/TURBIDITY DETERMINATIONS
 Based on consideration of the information above in Section 6.3.2 of this document,
incorporation of the actions to minimize effects and the Applicant’s compliance with special
conditions in Section 10 of this document, and the Applicant’s compliance with the NPDES/SDS
permit, the Project would have minor short term effects on suspended particulates and turbidity.

CONTAMINANT DETERMINATION
Based on consideration of the information above in Section 6.7 of this document, incorporation
of actions to minimize effects and the applicant’s compliance with special conditions in Section
10 of this document, and the Applicant’s compliance with the Section 401 and Section 402
(National Pollutant Discharge Elimination System) CWA permits, contaminants would not have
more than a minor adverse impact. The levels of contamination at the Project would be similar
to what is already occurring along the corridor since the majority of the Project would discharge
dredged material that has been excavated from the trench.

AQUATIC ECOSYSTEM AND ORGANISM DETERMINATIONS
Based on consideration of the information above in Sections 6.4 and 6.5 of this document,
incorporation of actions to minimize effects and the applicant’s compliance with special
conditions in Section 10 of this document, the Project would have a minor short-term effect on
the aquatic ecosystem and organisms.




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PROPOSED DISPOSAL SITE DETERMINATION
Based on consideration of the information above in Section 6.2 of this document, incorporation
of actions to minimize effects and the applicant’s compliance with special conditions in Section
10 of this document, the Project would have a minor long-term effect on the disposal sites.

DETERMINATION OF CUMULATIVE EFFECTS ON THE AQUATIC ECOSYSTEM
Cumulative effects are discussed in Section 9 of this document.
DETERMINATION OF SECONDARY EFFECTS ON THE AQUATIC ECOSYSTEM
Secondary effects are discussed in Section 9 of this document.

6.10 DETERMINATION OF COMPLIANCE WITH THE SECTION
404(b)(1) GUIDELINES (40 CFR 230.10(a-d) AND 40 CFR 230.12)
This determination of compliance is based on the conclusions of factual determinations and
technical evaluation factors of this analysis and takes into account the detailed analysis of
impacts on specific physical, chemical, biological and human characteristics of the aquatic
ecosystem conducted as part of the EA. Additionally, Subpart H of the Section 404(b)(1)
Guidelines (see Section 6.8 above) summarizes key measures that relate to the discharge of fill
material into waters of the U.S. to minimize adverse effects.

Based on consideration of the above, it has been determined that the proposed discharge of
dredged and fill material would not:

   (1) Violate any applicable State water quality standard. The State water quality agency,
       MPCA, issued its conditioned Section 401 Water Quality Certification for the discharge
       of fill material into waters in association with the Applicant's proposed Project as
       described in Section 1.2.

   (2) Cause or contribute to violations of any applicable water quality standards and would not
       violate any toxic effluent standards under section 307 of the CWA.

   (3) Jeopardize the continued existence of any species listed as endangered or threatened
       species under the Endangered Species Act of 1973 (ESA) or their critical habitat. See
       Section 6.4.1 for species effects determinations. The USFWS concurred with the Corps’
       determinations and the Project will have no effect on listed species.

   (4) Violate any requirement imposed by the Department of Commerce to protect marine
       sanctuaries under Title III of the Marine Protection, Research, and Sanctuaries Act of
       1972. This is not applicable as there are no marine sanctuaries in the Project area.

Except as provided under section 404(b)(2), no discharge of dredged or fill material shall be
permitted which will cause or contribute to significant degradation of waters of the U.S. [40 CFR
230.10(c)]

Findings of significant degradation related to the proposed discharge shall be based upon
appropriate factual determinations, evaluations, and tests are required by the Section 404(b)(1)
Guidelines under subparts B and C, after consideration of subparts C through F. The discharge
shall not be permitted if it:




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   (1) Causes significant adverse effects through pollutants on human health or welfare,
       municipal water supplies, plankton, fish, shellfish, wildlife, and special aquatic sites.
       These factors for the proposed Project have been thoroughly evaluated above.

   (2) Causes significant adverse effects through pollutants on life stages of aquatic life and
       other wildlife dependent on aquatic ecosystems. These factors for the proposed Project
       have been thoroughly evaluated above.

   (3) Causes significant adverse effects through pollutants on aquatic ecosystem diversity,
       productivity, and stability to the loss of fish and wildlife habitat or loss of the capacity of a
       wetland to assimilate nutrients, purify water, or reduce wave energy. These factors for
       the proposed Project have been thoroughly evaluated above.

   (4) Causes significant adverse effects through pollutants on recreational, aesthetic, and
       economic values. These factors for the proposed Project have been thoroughly
       evaluated above.

No significant adverse effects from pollutants would occur on the resources described in (1)-(4)
above provided the Applicant complies with all approved permits including general and special
conditions of those permits. The Project is compliant with the Section 404(b)(1) Guidelines.

7.0 PUBLIC INTEREST REVIEW

7.1 EVALUATION OF GENERAL CRITERIA
The Project includes all practicable measures to minimize impacts to important resources of
concern including air, water, fish and wildlife, historic properties and cultural resources. The
Corps has determined, after evaluation of the following general criteria (i – iii below) and the
factors listed below, that the proposed Project will not be contrary to the public interests long as
all measures identified in Section 6.8 of this EA are implemented, and permit special conditions
(Section 10.0), are complied with.

       i.   The relative extent of the public and private need for the proposed work:

            The Applicant’s stated need for the proposed Project is to replace an existing crude
            oil pipeline to meet current and forecasted demands from producers and shippers,
            and to ensure continued reliable crude oil transportation to refiners.

             This need is driven by domestic and global demand for this product as well as the
            need to replace the existing line 3 which continues to develop anomalies that require
            maintenance (integrity digs) due to construction practices and pipe specifications at
            the time of the installation of line 3.

       ii. The practicability of using reasonable alternative locations and/or methods to
           accomplish the objective of the proposed structure or work:

            Overall, the Corps finds that practicable alternatives that do not impact waters of the
            U.S. and/or special aquatic sites do not exist as a result of geographical and
            technological constraints of the Project. An analysis of practicable alternatives and the
            Corps’ LEDPA determination is presented in Section 5 of this document.




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       iii. The extent and permanence of the beneficial and/or detrimental effects that the
            proposed structures or work may have on the public and private uses which the area
            is suited:

          The majority of the Project is co-located with other pipelines, utilities, or roads;
          however, approximately 38 miles of the Project (11% of the total Project length) would
          not be co-located with other infrastructure and would cross numerous land types and
          land-ownerships, generally including public and private land. As identified below, the
          Project would have temporary impacts on many factors due to the pipeline installation
          process. Once the pipeline is installed, disturbed areas would be restored to
          preconstruction conditions except where woody vegetation would need to be
          maintained to facilitate inspection of the pipe. Negative effects of the Project would
          include conversion of wetlands types, habitat fragmentation in Greenfield routes, loss
          of wetland functions temporarily during construction, and permanent loss of wetland
          functions for installation of mainline valves and pump stations. Temporary and
          permanent impacts, including wetland type conversion, are discussed throughout this
          EA. Loss of wetland functions associated with the Project would be compensated for
          through the purchase of wetland mitigation bank credits. See Section 8.0 below for
          detailed discussion of compensatory mitigation. Many impacts would be minimized
          through measures to be implemented by the Applicant, through compliance with
          required state and federal regulations, and by specific permit conditions imposed by
          the respective permits.

          The beneficial effects would be to employment opportunities and tax revenue as a
          result of the Project. As described in Section 7.3 below, the Project is expected to
          require 4,200 workers which would also have a beneficial effect through taxable
          income. This Project will also benefit the communities (from continuing to employ
          local residents), services provided not related to the Project, and others in the U.S.
          who would use the products of crude oil.

          The Corps has determined that the Project proposed by the Applicant adequately
          compensates for the aquatic resource functions that would be lost as a result of the
          Project. Furthermore, the Corps concludes the Project would not have detrimental
          effects on the public and private uses for which the area is suited.

7.2 CONSERVATION (33 CFR 320.4(m) and 320.4(p))
Federal laws, executive orders, and agency regulations and policy guidance frequently address
the need for conservation of natural resources. The Corps Regulatory Program, by authority, is
focused on conservation of waters of the U.S., including wetlands. As described throughout the
other subsections in Section 7, this evaluation discloses that conservation of natural resources
would be accomplished by the proposed action. The proposed action would impact land,
streams and wetlands, wildlife, aquatic species, vegetation, soils, and air. The effects on these
resources are discussed throughout this EA.

Conservation measures have been considered and incorporated into the Project to minimize
impacts, including, minimizing construction and additional work space, minimizing vegetative
clearing, constructing during frozen conditions, and not constructing in streams during certain
periods of the year. Following existing infrastructure for the majority of the Project would limit the
amount of new corridor which would reduce habitat fragmentation. For those areas that would



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be impacted, either temporarily or permanently, the applicant would be required to provide
compensatory mitigation as is outlined in Section 8.0 of this document.

The Corps has determined the Project would have no adverse impacts on conservation
because the compensatory mitigation replaces the lost functions and values of the wetland
impacts.



7.3 ECONOMICS (33 CFR 320.4(q))
Corps regulations specify that when the applicant is a private enterprise, it is generally assumed
that appropriate economic evaluations have been completed, and that the proposal is
economically viable, and needed in the marketplace (33 CFR 320.4(q)).

As identified in the State EIS, the Project is anticipated to have positive effects on employment,
income, and tax revenue. Direct impacts on employment would be driven by the large number of
construction personnel. Although it is not expected that all workers would live in the counties
where construction would occur, some would be expected to temporarily relocate to these
counties during construction or spend money locally which could result in temporary county-
level income changes in supporting industries. Enbridge has indicated that labor agreements in
Minnesota require that at least 50% of workers would be expected to be employed from local
union halls. Construction of the Applicant’s proposed Project is expected to require 4,200
workers across 6 different construction spreads over a 12-month period. Construction workers
who relocate to the Project area would spend a portion of their income on local goods and
services such as food, gas, and lodging. These expenditures would increase revenues for those
types of services for the duration of the construction period in the area of the construction
spread. In addition to direct Project-related employment, a large portion of the construction-
related expenses would be for construction materials, supplies, equipment, parts, and other
goods and services such as fuel, hardware, and parts. The State EIS indicated the Applicant
estimated the material costs for construction of its proposed Project in Minnesota to be $438.9
million.

Tax revenues would increase due to the increase in labor income (i.e., taxable income), sales
tax on the purchase of goods locally, and property taxes. Construction would also have a
temporary indirect influence on economic conditions due to employment and income for service
industries supporting construction activities (e.g., the hotel industry, fueling services, and the
food service industry).

The State EIS indicates State and county tax revenues would increase due to increased
employment payrolls directly associated with construction. Income taxes are generated at the
state level and reapportioned to county governments as determined by the state. Table 5.3.4-11
of the State EIS presents the estimated increase in the state income tax that would be
appropriated to each county crossed by the Project based on the portion of total length of the
pipeline through each county. The State of Minnesota would receive approximately $98 million
in income tax receipts, which is less than 1 percent of the amount that Minnesota currently
receives in income tax revenue. This positive impact on income tax revenues would be limited
to the duration of the construction timeframe.

The Corps has determined that the Project is expected to have a beneficial effect on the local
and regional economies.



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7.4 AESTHETICS (33 CFR 320.4(a))
The majority of the Project is co-located with other pipelines, utilities, or roads; however,
approximately 38 miles of the Project (11% of the total Project length) would not be co-located
with other infrastructure. Habitat crossed in this area includes primarily forested and woody
wetland habitats.

The duration of potential Project impacts on visual resources along the pipeline right-of-way
could range from a couple of days during active construction to permanent (e.g., aboveground
facilities or a new cleared corridor through forested areas). During construction, the greatest
impacts would be caused by clearing of vegetation, as well as the presence of workers and
construction equipment. HDD and bores would reduce any potential impacts to aesthetics in
the area after the construction is complete. Most of the view shed along the Applicant’s
preferred route contains existing pipelines and transmission lines and the changes in viewshed
would decrease over time from revegetation of temporary construction work areas and to a
lesser degree the permanent right-of-way.

The Corps has determined the Project would have minor impacts on aesthetics.

7.5 GENERAL ENVIRONMENTAL CONCERNS (33 CFR 320.4(a))
General environmental concerns that were identified and are not standard public interest topics
include noise and vibration, air quality, hazardous materials and greenhouse gas emissions
including contribution to climate change.

The Project would have short term increases in noise and vibration levels above ambient levels
as a result of construction activities and equipment required for the initial clearing or the work
space, installation of the pipe, access roads, construction of pump stations and mainline valves,
and initial restoration. The Applicant is also expected to comply with the noise standards set
forth in Minnesota R. 7030.0010 to 7030.0080 at all times during the operation of any emission
units. This is a state only requirement.

The State EIS assessed air quality impacts as a result of the construction. The pipe would be
constructed in six separate spreads or sections so emissions would not be concentrated in one
location. Dust would be minimized from construction activities by wetting soils on the ROW
during dry conditions. The majority of the construction would occur during winter conditions
which should reduce the potential for dust impacts to air quality. The Applicant has developed a
Fugitive Dust Control Plan which outlines the procedures that would be utilized for dust
suppression on the construction ROW and access roads.

The main impacts associated with the Project include wetland conversion. The permanent and
temporary ROW would be returned to pre-Project contours after the Project is completed. The
permanent ROW would be maintained free of trees and woody scrub-shrub species and the
temporary ROW would be allowed to re-vegetate or would be replanted. See sections 6.5.2 and
7.6 of this document for additional details regarding conversion of wetland types.

Enbridge has also prepared an Environmental Monitor Control Plan (October 2020) to ensure
that appropriate systems are in place to achieve compliance with the various L3R plans
(including the PCMP and the related Mitigation Plan), permits and authorizations that have been



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developed for, or must be issued prior to, Project construction. Independent Third-Party
Environmental Monitors (IEMs) involved in Project compliance include agency monitors, Tribal
monitors (TMs), and Agricultural Monitors. Enbridge would fund the IEMs, but they would report
directly to and be under the control of agencies (i.e. the Minnesota Department of Commerce,
Energy Review and Analysis, MDNR, MPCA, the Minnesota Department of Agriculture) or
participating Tribes. The IEMs would focus on compliance with requirements of permits,
licenses, and certifications issued by the agencies and would communicate through daily
reports submitted to the applicable agencies and/or participating Tribes and Enbridge via the
electronic reporting system, as well as through daily communication with Enbridge’s
Environmental Inspection Team. The IEMs would communicate directly with their respective
agency or Tribal Point of Contacts and with Enbridge’s EIs.

With respect to hazardous materials, accidental release of these materials during transportation,
storage, handling, and/or use at the Project could impact air, water, soil and ecological
resources. Section 10.0 of the EPP outlines spill prevention and response for storing, handling,
and cleanup of spills of regulated substances. Their handling, storage, and disposal are
regulated by a number of state and federal laws. Adherence to these would limit the potential for
hazardous material effects on the general environment. Given overall Project design there
would be no significant adverse effects from the proposed use or generation of hazardous
wastes by the Project.

Climate Change. The proposed activities within the Corps’ federal control and responsibility
likely would result in a negligible release of greenhouse gases into the atmosphere when
compared to global greenhouse gas emissions. Greenhouse gas emissions have been shown
to contribute to climate change. Aquatic resources can be sources and/or sinks of greenhouse
gases. For instance, some aquatic resources sequester carbon dioxide whereas others release
methane; therefore, authorized impacts to aquatic resources can result in either an increase or
decrease in atmospheric greenhouse gas. These impacts are considered de minimis and are
negated through compensatory mitigation. Greenhouse gas emissions associated with the
Corps’ federal action may also occur from the combustion of fossil fuels associated with the
operation of construction equipment. The Corps has no authority to regulate emissions that
result from the combustion of fossil fuels. These are subject to federal regulations under the
Clean Air Act and/or the Corporate Average Fuel Economy (CAFE) Program. Greenhouse gas
emissions from the Corps’ action have been weighed against national goals of energy
independence, national security, and economic development and determined not contrary to the
public interest. An analysis of greenhouse gas emissions was conducted by the Minnesota
Department of State and included in the State EIS.

In summary, the Corps has determined noise, air, greenhouse gas emissions, and hazardous
materials associated with the Project would have negligible to minor impacts on general
environmental concerns.

7.6 WETLANDS (33 CFR 320.4(b))
Enbridge conducted wetland delineation surveys along 100 percent of the Project between 2013
and 2020 to identify the wetlands that would be affected during Project construction. Wetlands
were identified and mapped in accordance with the Great Plains, Midwest, and Northcentral and
Northeast Regional Supplements of the 1987 Corps of Engineers Wetland Delineation Manual.
As described in earlier sections of this document, 1,049.58 acres of wetland would be
temporarily impacted as a result of pipe installation and installation of temporary access roads,




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and 9.97 acres of wetland would be permanently loss as a result of construction of mainline
valves and pump stations. Of the total temporary impacts, the Project includes 107.09 acres of
scrub-shrub wetland and 194.81 acres of forested wetland temporarily impacted through the
clearing required for mainline workspace and access roads. This area would be allowed to
revegetate after construction and would be monitored to ensure the wetland restoration is
progressing towards forested wetland. In addition, 81.36 acres of scrub-shrub wetland and
148.85 acres of forested wetland will be permanently converted to an emergent type wetland as
a result of maintaining an area over the pipeline to facilitate inspection. No permanent
conversion of emergent type wetlands is proposed. Section 6.5.2 further describes the effects
of the wetland impacts associated with the Project, and Section 9 includes a discussion of these
impacts based on 8-digit HUC watersheds.

Monitoring of impacts and restoration sites would be required as outlined in the Post
Construction Monitoring Plan, and would generally be conducted for a period of 5 years after
construction. Monitoring would no longer be required once restoration sites have met
performance standards outlined in the plan and permit. Financial assurances would also be
required and included in the plan to allow for remediation or mitigation of any unanticipated
impacts identified during the monitoring period. See November 2020 Post Construction
Monitoring Plan for details regarding post construction monitoring, performance standards, and
financial assurances.

To offset unavoidable loss of wetland functions associated with the Project, the Applicant would
purchase a total of 310.12 wetland bank credits. The vast majority of these credits will be
purchased from banks in Bank Service Areas (BSAs) in which the impacts occur. See Table
5.2-1 and Appendix A of the October 2020 L3R Compensatory Wetland Mitigation Plan for a
summary of required mitigation bank credits by BSA. More information on the amount of
compensatory mitigation and other details are provided in Section 8.0 of this document.

Enbridge would provide no less than $27,377,298 in financial assurances in a manner
acceptable to the Corps, MPCA, and MDNR to ensure a high level of confidence that the
restoration of wetlands and waters to pre-construction conditions would be successfully
completed in accordance with the performance standards specified in the PCMP. The financial
assurances approved by the Agencies would be in place before Enbridge commences any
activity permitted by the Corps Section 404 Clean Water Act (“CWA”) and Section 10 Rivers and
Harbors Act Permit, and the Section 401 CWA water quality certification and applicable MDNR
license and leases. The permits, certifications and authorizations or the approved financial
assurances instrument would clearly specify the conditions under which the financial
assurances would be released to Enbridge and/or other financial assurance provider, including,
as appropriate, linkage to achievement of performance standards, adaptive management, or
compliance with Corps permit special conditions.

Based on avoidance, minimization and compensation measures to offset impacts to wetland in
association with the Project, impacts to wetlands would be minor.

7.7 HISTORIC PROPERTIES (33 CFR 320.4(e))
The Project is considered an undertaking as defined in 36 CFR Part 800, the regulation
implementing Section 106 of the National Historic Preservation Act (NHPA). The intent of
Section 106 is for federal agencies to take into account the effects of a proposed undertaking on
historic properties and to consult with the Advisory Council on Historic Preservation (ACHP),




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State Historic Preservation Offices (SHPOs), federally recognized tribes, other federal agencies
with concurrent undertakings in connection with the Project, local governments, and any other
parties with a demonstrated interest in the proposed undertaking and its potential effects on
historic properties.

As the lead federal agency, the Corps consulted with numerous tribes and Minnesota SHPO on
determinations of National Register of Historic Places (NRHP) eligibility of identified cultural
resources in the APE, and on the effects of the Project on historic properties.

The October 2020 Avoidance, Mitigation, and Implementation Plan for Construction (AMIP) was
developed to implement the avoidance, minimization, and protection measures for resources
identified by Tribes, and tribal monitoring during construction will occur along the entire line. A
special condition included in the DA permit will require compliance with the October 2020 AMIP.

The Corps has determined the Project would have minor adverse impacts on historic properties.
See Section 11.3 for details of compliance with Section 106 of NHPA, and Tribal coordination
and consultation.

7.8 CULTURAL VALUES (33 CFR 320.4(e))
The Project traverses territory ceded as part of the 1854 Treaty between the U.S. Government
and the Chippewa of the Mississippi and Lake Superior, the 1855 Treaty between the U.S.
Government and the Chippewa of the Mississippi, and the 1863 Treaty between the U.S.
Government and the Chippewa.

The Chippewa of Lake Superior (Anishinaabe) who reside in the 1854 Ceded Territory are the
Fond du Lac, Grand Portage, and Bois Forte Bands of the Minnesota Chippewa Tribe (MCT).
The Chippewa who reside in the 1855 Ceded Territory include the Leech Lake Band and the
White Earth Band of the Minnesota Chippewa Tribe. The Chippewa who reside in the 1863
Ceded Territory includes the Red Lake Nation/Red Lake Band of Chippewa Indians.

The rights to hunt and fish (gather or take) subsistence resources within Ceded Territories were
retained by the Bands on a usufruct basis.

Natural resources and the lands on which they are gathered are important to the Bands for a
number of reasons, including cultural, spiritual, and/or historical meanings. The Project would
result in direct and indirect environmental effects due to ground-disturbing activities.
Construction across waterbodies could result in increased turbidity and sedimentation,
stormwater runoff and erosion from cleared vegetation, changes to stream flow due to HDD
testing water, or degradation of aquatic habitat from in-stream construction which has the
potential to affect wild rice. With implementation of mitigation measures, impacts would be minor
and temporary. See Section 6.3 for details regarding substrate, TSS, and other potential
temporary impacts to water and Section 6.8 for actions taken to reduce potential impacts to wild
rice.

The Corps consulted with the Bands to understand how the proposed federal actions may
impinge on or abrogate treaty rights. See Section 10 for detailed discussion on Tribal
coordination and consultation. A Tribal Cultural Resources Survey (TCRS) of the Project
corridor and elder interviews were conducted for the Project, led by the Fond du Lac Band of the
Minnesota Chippewa Tribe. The TCRS allowed tribal members, with representation from



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numerous tribes including resident Bands and ancestral Tribes, to walk the entire proposed
corridor and to connect, or reconnect, with the land and resources. Trygg maps identified
historic trails that the Project would traverse, and those locations were given additional
investigation by tribal survey crews, and were identified as potential Cultural Corridors. Elder
interviews were conducted in a number of tribal communities which added additional information
of tribal use of the general area, although little to no specific information concerning the use of
natural resources by Bands along the proposed Project corridor. A small number of resources
were identified as significant to tribes during the TCRS; all resources have been avoided
through Project re-design (e.g., alignment shifts or alternative route), or potential impacts
minimized through proposed minimization and protection measures (e.g., reduce work space,
use of HDD). The Avoidance, Mitigation, and Implementation Plan for Construction (AMIP) was
developed to implement the avoidance, minimization, and protection measures for resources
identified by Tribes, and tribal monitoring during construction would occur along the entire line.
The AMIP supports our effect finding, which was supported by consulting Tribes’ tribal historic
preservation staff, that the undertaking would have no adverse effect on historic properties and
properties significant to Tribes. A good faith effort was made by the Corps to identify use areas
in or adjacent to the Project corridor.

Construction of the Project is not likely to significantly reduce overall availability of 1854 Treaty
resources that are typically part of subsistence activities in the 1854 Ceded Territory, 1855
Treaty resources that are typically part of subsistence activities in the 1855 Ceded Territory, or
1863 Treaty resources that are typically part of subsistence activities in the 1863 Ceded
Territory. Some individuals and localized populations may be affected during construction
activities, but overall species populations are expected to remain available.

The Project is not anticipated to have long-term effects on 1854, 1855, or 1863 Treaty
resources as a result of installation of the pipeline and initial restoration of the ROW occurring
quickly.

The Corps has determined the Project would have minor adverse impacts on cultural values.

7.9 SCENIC/RECREATIONAL VALUES (33 CFR 320.4(e))
Impacts to scenic values includes aesthetic (visual resources) which are described above in
Section 6.6.4. The majority of the Project is co-located with other pipelines, utilities, or road;
however, approximately 38 miles of the Project (11% of the total Project length) would not be
co-located with other infrastructure (Greenfield route). This Greenfield route has the potential to
impact scenic values for some as a result of opening a new corridor. Enbridge has minimized
the ROW and works space to the maximum amount practicable to reduce environmental
impacts, including scenic values in this area.

Under the National Scenic Byways Program, the Secretary of Transportation designates scenic
byways, recognized as “roadways having outstanding qualities of scenic, historic, cultural,
natural, recreational, and archeological qualities”. The State EIS identified scenic byways that
would be crossed by the Project. The Project would cross one national byway in Minnesota
(Great River Road) twice, once in Clearwater County and again in Aitkin County, and three state
designated byways in Minnesota (Lake Country in Hubbard County, Veterans Memorial in
Carlton County, and King of Trails). The Project would cross scenic byways using a bore or
HDD, which would avoid road closures and any direct impacts on the roads. Therefore, there
would be no impacts to scenic byways or recreational values of the scenic byways.



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Recreational opportunities are discussed in Sections 6.6.2, 6.6.3, and 6.6.5 above.

The Corps has determined effects of the proposal on scenic and recreational values are
negligible.



7.10 FISH AND WILDLIFE (33 CFR 320.4(c))

There are no federal or state-listed threatened or endangered fish or macroinvertebrate species
known to occur in the Project area. There are other common fish and macroinvertebrate species
found in the majority of the waterbodies crossed by the Project, especially natural streams. See
sections 6.4.2 and 6.4.3 for discussion of impacts to fish and wildlife.

The following federally listed species are present in portions of the Project corridor: Gray wolf
(Canis lupus), Canada lynx (Lynx canadensis), piping plover (Charadrius melodus), Dakota
skipper (Hesperia dacotae), , Poweshiek skipperling (Oarisma poweshiek), Whooping crane
(Grus Americana}, Rufa red knot (Calidris canutus), Rusty patched bumble bee (Bombus
affinis), Western prairie fringed orchid (Platanthera praeclara), and Northern long-eared bat
(Myotis septentrionalis).

Critical habitats are present in portions of the Project corridor for the following species: Gray
wolf (Canis lupus), Canada lynx (Lynx canadensis), piping plover (Charadrius melodus), Dakota
skipper (Hesperia dacotae), and Poweshiek skipperling (Oarisma poweshiek)

The impacts and effects determinations for federally listed species are discussed in detail in
Section 6.4.1.

Based on the above discussion the Project would have minor adverse effects on fish and
wildlife. There is unlikely to be a noticeable change in animal population character or quantity
as a result of the Project since the majority of the impacts are temporary.

The Corps has determined the Project would have minor adverse impacts on fish and wildlife.

7.11 FLOOD HAZARDS (33 CFR 320.4(l))
The State EIS included identified FEMA-designated floodplains that would be crossed by the
Project. Approximately 31 miles (432 acres) of the construction work area along the Applicant’s
proposed Project would be located within FEMA-mapped 100-year floodplains in the counties
for which FEMA mapping has been conducted. One construction access road (totaling
approximately 4 acres) would be located in the 100-year floodplain. No pump stations would be
located in a 100-year floodplain, but portions of three mainline valves, including an associated
access road, would be located in a designated 100-year floodplain. These activities would
temporarily alter floodplain topography, which could result in minor changes to water flows if a
flood event were to occur. These temporary activities are unlikely to block or restrict flows or
reduce the area of the floodplain that carries flood waters. All impacts, including temporary
access roads, would be restored to preconstruction conditions as identified in the EPP. This
would restore all floodplain flow paths and functions.




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The Project would also cross numerous floodplains that are not mapped by FEMA. However,
because the activities described above are temporary, no major long term impacts to floodplains
or hazards as a result of construction in the floodplains are anticipated.

The Project would have negligible effects on flooding hazards.

7.12 FLOODPLAIN VALUES (33 CFR 320.4(l))
As identified in the State EIS, periodically, rivers, streams, and lakes will overflow their banks
and inundate adjacent low-lying floodplains. Functioning of a floodplain can affect stormwater
runoff, water quality, vegetative diversity, wildlife habitat, and aesthetic qualities of waterbodies.
Because of their proximity to waterbodies, intermittent flooding, rich soils, and wetland
complexes, floodplains form diverse and high-quality habitats under natural conditions. In
addition, their naturally flat topography has resulted in historical development within these
areas. Construction of facilities in a floodplain may affect the ability of the floodplain to store
excess water or may raise flood elevations upstream. Flood damage can occur when natural
flooding processes are disturbed by altering a watercourse or building inappropriately in the
floodplain itself.

Temporary impacts to waterbodies, including their floodplains, would occur during the duration
of trenching, pipe installation, backfilling, and initial restoration. Based on information included in
Enbridge’s EPP, the anticipated duration for pipe installation through waterbodies would
typically range from 24 to 48 hours. Enbridge would restore the waterbodies and floodplains
that had been disturbed by construction to as near as possible to pre-construction conditions
utilizing civil survey data collected pre-Project. The Project would not alter floodplain
topography, change flow patterns of flood waters, block or restrict flows, reduce areas within a
floodplain that carries floodwaters, or increase flood elevations upstream.

The Project would have negligible impacts on floodplain values.

7.13 LAND USE (33 CFR 320.4(a)(1))
The proposed pipeline ROW would cross land owned by multiple landowners along the route. It
is expected that the ROW across all lands would be cleared, pipe trench excavated, fill
temporarily side-cast, pipeline constructed, pipeline installed in the trench, and backfill placed
over the pipeline. The permanent and temporary ROW would be returned to pre-Project
contours after the Project is completed. The permanent ROW would be maintained free of trees
and woody scrub-shrub species and the temporary ROW would be allowed to re-vegetate or
would be replanted. The pipeline ROW would maintain its wetland functions, however, wooded
habitat would be lost in some areas of the permanent ROW.

The effects of this proposal on land use are negligible.

7.14 NAVIGATION (33 CFR 320.4(o))
The Project crosses three Section 10 waters or traditionally navigable waters (Red River of the
North (Mile Post 801.8), Red Lake River (Mile Post 864.3), and the Mississippi River (Mile Post
1069.7)). All of these waters will be crossed via the HDD method; therefore, there will be no
effects to navigation as a result of the Project.




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7.15 SHORELINE EROSION AND ACCRETION (33 CFR 320.4(a)(1))
As described above, the Project would have minor changes on the flow and dynamics of
streams during installation of the pipeline. The Applicant will use BMPs to reduce potential for
erosion during the installation. After installation is complete, streambanks would be restored to
preconstruction conditions and additional BMPs, such as coir logs or erosion control blankets
would be used to ensure stabilization of the streambanks and reduce the potential for erosion.
No hard armoring (i.e., rock riprap) will be allowed. However, other bank stabilization
techniques may be used on a case specific basis and in consultation with the regulatory
agencies. Enbridge is required to monitor all water crossings after construction to ensure
adequate restoration and stabilization.

The Project is not expected to have appreciable impacts on bank erosion or sediment and
would have negligible impact on shoreline erosion and accretion.

7.16 WATER 11.AND CONSERVATION (33 CFR 320.4(m))
Consistent with Corps policy at 33 CFR 320.4(m), water conservation requires the efficient use
of water resources in all actions which involve the significant use of water or that significantly
affect the availability of water for alternative uses including opportunities to reduce demand and
improve efficiency in order to minimize new supply requirements.

Enbridge would appropriate from surface water features for construction activities such as
fugitive dust control, HDD drilling mud, buoyancy control and hydrostatic testing. Enbridge has
applied for water appropriation permits for these activities from the MDNR, which included
evaluating potential sources based on the sensitivity of the resource and adequate waterbody
flow rates and volumes to protect aquatic life and allow for downstream uses. Enbridge would
comply with the conditions of those permits and would only use MDNR-approved sources.
During appropriation activities, Enbridge would manage the intake hose to minimize sediment
intake from the waterbody and to prevent disturbance of the waterbody bed as described in
Section 6.1 of the EPP.

The Corps has determined the Project would have negligible impacts on water supplies.

7.17 WATER QUALITY (33 CFR 320.4(d))
The Project includes disturbance to wetlands and streams that has the potential for affect water
quality during construction. See Section 6.3.2 and Section 6.3.3 of this document for discussion
regarding water quality impacts during construction.

With respect to the discharge of dredged and fill material into waters of the U.S., measures to
minimize effects from activities regulated by the Corps are described in earlier sections of this
document. These measures would ensure that discharges of dredged and fill material do not
adversely impact water quality. On April 15, 2020 the Fond du Lac reservation issued the
Section 401 Water Quality Certification for the portion of the Project that crosses the Fond du
Lac reservation and on January 31, 2019 the North Dakota Department of Health issued the
individual Section 401 Water Quality Certification for the portion of the project within the state of
North Dakota that is being reviewed by St. Paul District. On November 13, 2020, the MPCA




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issued a Section 401 Water Quality Certification for the discharge of dredged and fill material
into waters. Individual water quality certifications are included in Appendix B of this document.
Overall, impacts to water quality are not expected to exceed regulatory limits. Discharges from
construction and appropriation are subject to the MPCA NPDES permit.

Effects to water quality are expected during construction; however, these effects are anticipated
to be minor and temporary. Water quality would return to normal after construction and
restoration of the impacted areas. The Corps has determined that the Project would have minor
adverse effects on water quality

7.18 ENERGY NEEDS (33 CFR 320.4(n))
The Project would improve overall safety to the public and environment by providing a safe and
efficient means of transporting crude oil. The Project would support United States consumers'
energy demands. Enbridge has provided detailed information and testimony to the MPUC
regarding the need for the Project, demand for petroleum, and benefits of the Project.

Line 3 delivers crude oil to Minnesota refineries through Enbridge’s Clearbrook Terminal, as well
as deliveries to various Midwest and Gulf Coast refineries through the Enbridge Superior
Terminal. The Project would serve the same markets and transport the same products as the
existing Line 3 has done throughout its operating history.

The Project would help to ensure the continued delivery of North American crude oil to refineries
in Minnesota, other Midwestern states, Eastern Canada, and the Gulf Coast. These refineries
convert the crude oil into a variety of products for use in Minnesota and the surrounding regions,
including gasoline, diesel, jet fuel, asphalt, and many other petroleum products. Refineries in
Minnesota and neighboring states do not produce all of the petroleum products consumed
within their borders; demand for refined products in Minnesota’s immediate region significantly
exceeds refinery production within the region. Refineries located in other Midwestern states act
as key suppliers to the region, and the security, adequacy, and reliability of crude oil supplies to
these refineries has a direct bearing on meeting the overall energy needs of Minnesota and
neighboring states. Nearly all crude oil refined in Minnesota and its neighboring states is from
either the U.S. or Canada. The Project would reduce on-going and forecasted apportionment to
the refining industry in the Petroleum Administration for Defense District II (PADD II), including
Flint Hills and Northern Tier Energy in Minnesota, Eastern Canada, and the Gulf Coast, by
restoring the capacity of the pipeline to its original operating capacity of 760,000 bpd. By
providing access to North American crude oil supply, the Project would provide benefits to the
Midwest, including Minnesota, by ensuring that the region continues to have access to
affordable energy and other refined products.

Extensive maintenance required to keep existing Line 3 in operation would require temporary
shutdowns, decreasing the reliability and efficiency of crude oil supply to Minnesota refiners.
Continuing to operate existing Line 3 also increases the risk of an accidental release and
disruptions in crude oil supply.

The Corps has determined that the Project would have long term beneficial effects on the
Midwest region’s energy needs.

7.19 SAFETY OF IMPOUNDMENT STRUCTURES (33 CFR 320.4(k))



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No permanent impoundment structures would be constructed as part of the Project. Small
dams would be constructed at some stream crossing locations to facilitate a dry crossing.
These temporary dams do not require a dam safety permit pursuant to Minnesota Rules. There
are no anticipated safety issues with the temporary dams.

The Corps has determined that the Project would have no effects on safety of impoundment
structures.

7.20 FOOD AND FIBER PRODUCTION (33 CFR 320.4(a)(1))
The Project is not one that would increase or decrease the production of agricultural crops,
forest products, or livestock. The Project would cross private lands that are in agricultural use
that may be temporarily impacted due to installation of the pipeline or access roads. Impacts to
agricultural crops would be minimized as construction is proposed for predominantly outside of
the growing season. The use of private property and effects to the private property from the
pipeline would be accounted for in easement negotiations between Enbridge and the
landowners. Enbridge has developed an Agricultural Protection Plan that identifies measures
that Enbridge would implement to avoid, mitigate, or provide compensation for negative
agricultural impacts that may result from pipeline construction.

The Corps has determined that the Project would have negligible effects on food and fiber
production.

7.21 MINERAL NEEDS (33 CFR 320.4(a)(1))

The Project is not one that would provide minerals or affect the availability of minerals. This
factor is not applicable.


7.22 CONSIDERATION OF PROPERTY OWNERSHIP (33 CFR 320.4(g))
Authorization of work in waters of the U.S. under a Corps permit does not convey a property
right, nor authorize any injury to property or invasion or infringement of other rights. The
Applicant's signature on an application is an affirmation that the Applicant possesses or will
possess the requisite property interest to undertake the activity proposed in the application.
Lands along the Project corridor are in public and private ownership. The use of private property
and effects to the private property for a pipeline would be accounted for in easement
negotiations between Enbridge and the landowners. Several aspects of the Project have the
potential to impact adjacent or nearby property ownership as described throughout the public
interest evaluation, however, many of these impacts should be temporary and occur only during
construction and restoration.

As described throughout this section, the Applicant has incorporated measures into the Project
to reduce effects on resources of concern including wetlands, streams, water quality, air quality,
fish and wildlife resources, and cultural resources. The Project’s compliance with all state and
federal permits would ensure that there are no appreciable impacts on adjacent properties.

The Corps has determined the Project would have negligible impacts on property ownership.




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7.23 NEEDS AND WELFARE OF THE PEOPLE (33 CFR 320.4(a)(1))
By providing access to North American crude oil supply, the Project would provide benefits to
the Midwest, including Minnesota, by ensuring that the region continues to have access to
affordable energy and other refined products. Agency requirements would ensure
environmental impacts would be minimized and temporary.

8.0 MITIGATION (33 CFR 320.4(r), 33 CFR Part 332, 40 CFR 230.70-77,
40 CFR 1508.20 and 40 CFR 1502.14)
Wetland Compensatory Mitigation

Table 3.0-1 of the L3R Compensatory Mitigation Plan identifies baseline ratios, special wetland
category ratios, and replacement multipliers for compensatory mitigation outside of the BSA
where the impact occurs, or compensatory mitigation with a different type of wetland (out-of-
kind).

As discussed above, in addition to developing initial compensatory mitigation ratios for all
wetlands, the agencies recognized some wetlands along the corridor were higher functioning or
higher value wetland. During the Project review, the Corps, MPCA and MDNR developed 10
“special” wetland categories recognizing the higher functioning or higher value wetlands which
may result in more or higher functions being temporarily lost or even restored. These
categories of wetlands warrant higher compensatory mitigation ratios to better reflect the
temporal loss of functions and services provided by these wetlands. These ratios, based on
wetland type are shown in Table 3.0-1 of the L3R Compensatory Mitigation Plan. The
identification of the Special Wetland Categories ensures that both temporary losses to the
functions provided by these aquatic resources, and the additional functions and services are
appropriately mitigated after all practicable measures have been taken to avoid and minimize
adverse impacts. The Project would impact approximately 410.10 acres of wetland within the
special wetland categories (see table 4.1-1 and 5.2-1 of the L3R Compensatory Wetland
Mitigation Plan for impacts by special wetland category and impact duration)

All impacts occur in a service area of an approved mitigation bank. There are no approved in-
lieu fee Projects in the BSAs crossed by the Project. All BSAs contain approved mitigation
banks that have the appropriate number of credit with the exception of BSA 1. See below for
description of compensatory mitigation for impacts in BSA 1. Of the four BSAs being crossed,
no banks entirely have the appropriate resource type of credits. This is generally due to a lack
of scrub-shrub and forested wetlands type credits. See below for discussion of out-of-kind
compensatory mitigation.

Compensatory mitigation option(s):

           mitigation bank credits

Consistent with the watershed approach and as directed by the Corps, MPCA and MDNR,
Enbridge has purchased approved mitigation bank credits within each of the four BSAs the
Project crosses: BSA 1 - Great Lakes Basin; BSA 3 - Lower Red River of the North; BSA 5 –
Mississippi Headwaters; and BSA 6 - St. Croix River Basin. Table 5.1-1 of the Mitigation Plan
provides details for each bank and credit type that Enbridge proposes for Project compensatory
wetland mitigation.



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The majority of the credits would be purchased from mitigation banks within the BSA in which
the impact occurs. However, due to limited credit availability, 24.66 credits of the 144.66 total
credits required for impacts in BSA 1 would come from outside of the BSA. Enbridge has
purchased additional wetland bank credits in two BSAs (BSA 5 and BSA 6) adjacent to BSA 1 to
cover the deficiency in BSA 1. In addition, not all banks in the BSAs crossed by the Project
contain a sufficient amount of the same wetland type credits as the wetland type being
impacted. Of the 310.12 total credits being purchased, 26.32 credits would be out-of-kind.
Table 5.2-1 of the L3R Compensatory Mitigation Plan provides an overview of the total number
of wetland mitigation bank credits required for the Project based on the special wetland
categories, differentiated baseline compensatory wetland mitigation ratios, and mitigation ratio
multipliers.

In addition to purchasing wetland mitigation bank credits, Enbridge would provide financial
assurances as discussed in Section 7.6 of this document to ensure adequate restoration of
wetlands crossed by the Project or to compensate for any unforeseen direct or indirect impacts
as a result of the Project through purchase of mitigation bank credits.

Purchasing wetland mitigation bank credits complies with the order of options presented in 33
CFR 332.3(b)(2)-(6).

           in-lieu fee program credits
There are no available in-lieu fee programs in the St. Paul District.

            permittee-responsible mitigation under a watershed approach
The applicant evaluated mitigation options within the same bank service area identified
in the preference hierarchy of purchasing wetlands mitigation bank credits outlined in the
Federal Mitigation Rule.

           permittee-responsible mitigation, on-site and in-kind

The applicant did not evaluate on-site mitigation options. The Project crosses numerous
watersheds and different landownership. Replacing impacts at each site where the
impact occurs would not be practicable for due to landownership and logistical reasons
related to having numerous permittee-responsible mitigation sites scattered throughout a
long linear project. Mitigation banks typically involve larger tracts of
wetlands/uplands/riparian areas that are more ecologically diverse and resilient than
multiple smaller permittee responsible mitigation Projects.

           permittee-responsible mitigation, off-site and in-kind

           permittee-responsible mitigation, off-site and out-of-kind


Streams Compensatory Mitigation
The Project includes temporary impacts to waterbodies during the duration of trenching, pipe
installation, backfilling, and initial restoration. Based on information included in Enbridge’s EPP,
the anticipated duration for pipe installation through water bodies would typically range from 24
to 48 hours which is substantially less time than some of the temporal loss of functions to some
wetlands, especially where access roads (matting) need to be left in-place for a longer period of




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time to facilitate final restoration. As identified in Section 2.1 of the EPP, Enbridge would
contact the MDNR if any crossings of a public water would take longer than 24 hours.
As identified in the EPP, Enbridge would restore the stream bed and banks that had been
disturbed by construction to as near as possible to pre-construction conditions utilizing civil
survey data collected pre-Project. Unstable banks may require bio-engineering which would be
accomplished in consultation with the appropriate agencies. Restoration of the area impacted
by the stream crossing should return any functions lost during the relatively short construction
period. Site specific restoration plans, completed in consultation with the appropriate agencies,
as well as post construction monitoring (see Section 7.6 for discussion on post construction
monitoring) would reduce the potential for any long-term effects at waterbody crossing sites.
Financial assurances would be required, as outlined in Section 3.3 of the PCMP, to ensure
adequate restoration of the waterbody crossings and prevent impacts that would warrant
compensatory mitigation.

9.0 CONSIDERATION OF CUMULATIVE AND SECONDARY IMPACTS
(40 CFR 230.11(g) and 40 CFR 1508.7, RGL 84-9) Cumulative impact is the impact on the
environment which results from the incremental impact of the action when added to other past,
present, and reasonably foreseeable future actions regardless of what agency (Federal or non-
Federal) or person undertakes such other actions. Cumulative impacts can result from
individually minor direct and indirect but collectively significant actions taking place over a period
of time. A cumulative effects assessment should consider how the direct and indirect
environmental effects caused by the proposed activity requiring DA authorization (i.e., the
incremental impact of the action) contribute to cumulative effects, and whether that incremental
contribution is significant or not.

9.1    Identify/describe the direct and indirect effects caused by the
       proposed activity
The purpose of this analysis is to consider the aquatic and forest resources available in the
past compared to those present currently, and the effects of reasonably foreseeable future
actions. The results of this analysis will provide a context for assessing the cumulative effects
on wetlands and waterbodies. Information on the direct and indirect wetland and stream
impacts associated with the Project can be found in Section 6 of this document.

Direct effects

The direct effects to aquatic waters of the U.S. as a result of the Project include temporary
impacts to a total of 1,049.58 acres of wetland, and permanent loss of 9.97 acres of wetland.
The project will also cross 227 water bodies which will result in temporary impacts to a total of
0.64 acres of streambed for the installation of the pipe and 0.49 acre of streambed for the
installation of bridges.

        Temporary impacts, as a result of trench excavation and backfill, and temporary access
roads would result in temporal loss of wetland functions during construction and initial
restoration. Some of these temporary impacts would result in a temporary conversion of
forested and scrub-shrub wetlands. These areas would be allowed to revert back to their
preconstruction wetland type after construction. However, some areas within the ROW would
not be allowed to revert back to their preconstruction wetland type due to required maintenance
of the ROW to facilitate inspection and access. This includes 81.36 acres of scrub-shrub



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wetland and 148.85 acres of forested wetland that would be permanently converted to emergent
type wetland as a result of the ROW maintenance.

        Streams banks and beds that would be disturbed by construction would be restored as
near as possible to pre-construction conditions utilizing civil survey data collected pre-Project.
Restoration of areas impacted by stream crossings should return any functions lost during the
relatively short construction period. Site specific restoration plans, completed in consultation
with the appropriate agencies, as well as post construction monitoring would reduce the
potential for any long-term effects at waterbody crossing sites and to aquatic organisms at the
crossing sites.

Reasonably foreseeable future actions

Enbridge is proposing to relocate and replace approximately 10 miles of the existing 48-inch
diameter Line 4 pipeline with approximately 10 miles of 36-inch diameter pipeline in the right-
of-way adjacent to the existing Enbridge Mainline Corridor, containing Line 3. The Project
would be located in portions of St. Louis and Carlton Counties within the boundaries of the
Fond du Lac Reservation.

The Project addresses specific concerns raised by the Fond du Lac Band related to an above-
grade segment of existing Line 4 pipe installed through the Reservation in the 1970s. Fond du
Lac Band has raised concerns that the above-grade Line 4 segment creates a barrier to the
natural water flow across the Reservation and, in some areas, impedes land access for the
Band members to gather medicinal plants and other culturally important resources.

Enbridge and Fond du Lac Band agreed to relocate and bury the new proposed Line 4
segment within the Reservation adjacent to the current Enbridge Mainline Corridor, containing
Line 3. Once the Project is complete and the new relocated Line 4 segment is in service, the
existing above-grade Line 4 segment would be deactivated and removed. Beneficial effects of
the Project include removing the physical barrier and enhancing access to Band members
who traverse this area and removing the hydrologic barriers to surface flow, allowing future
environmental remediation of Fond du Lac Band lands.

The proposal would temporarily impact a total of 94.24 acres of wetland. Enbridge has
designed the proposed Project workspace to overlap with Enbridge’s Line 3 Replacement
Project workspace to the extent practicable to minimize new disturbance. The proposed
Project would only disturb an additional 20 feet of temporary workspace outside of the area
disturbed by the Line 3 Replacement Project construction activities. Enbridge is also
proposing to use access roads that have been authorized for the Line 3 Project.

Proposed impacts of the Line 4 relocation are discussed in the respective 8-digt HUC
(04010201 and 07030003) watersheds below.

9.2    The geographic scope for the cumulative effects assessment
The geographic scope for assessing the proposed action includes 13 8-digit HUC watersheds
crossed by the Project. Summary information for each of the watersheds is provided in the next
two tables.
Information in the first table includes total watershed area (acres), percent of total watershed
area that is wetland, total stream miles, and breakdown of perennial, intermittent and ephemeral



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streams (information generated from the Corps’ OMBIL Regulatory Module). Impacts
authorized by Section 404 or Section 10 permits from 2010 to 2020 are summarized (obtained
from the Corps’ OMBIL Regulatory Module).




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Table 4. 8-Digit HUC watershed baseline information and Corps authorized fill from period November 1, 2010 to October 31, 2020,
and proposed impacts for current pending requests.



                                                                                                                                                                                                                    Pending requests for Section
                                                                                                                                                                                                                       404/10 Authorization
                                                                                                                                                                                Required           Required
                                                                                                                                                             Fill (linear   Mitigation (acres) Mitigation (linear   Proposed         Proposed
                                                                                                                                      Fill (acres)Period    feet)Period          Period          feet) Period       Temporary        Permanent
 Geographic                        Wetland as % of Total Watershed Area   Stream Miles                                                 11/01/2010 to       11/01/2010 to     11/01/2010 to      11/01/2010 to       Impacts          Impacts
Scope (HUC 8)        Name          Watershed Area         (acres)            (Total)     % Perennial   % Intermittent   % Ephemeral      10/31/2020         10/31/2020         10/31/2020        10/31/2020         (acres)          (acres)

  9020311          Lower Red             10              800391              1421            5              44              51              69.66              14814              61.55                0                        0            0.00

  9020309            Snake               5               498128              1179            15             38              47              39.79              1425               34.45                0                        0            0.00

  9020306       Red-Grand Marais         2               406283               496            4              20              76              70.42              4401               37.70                0                        0            0.00

  9020303           Red Lake             22              856995              1639            6              24              70              20.39              62611              17.95                0                    0.34             2.13

  9020305         Clearwater             16              869288              1882            19             44              37              9.59               3711               13.21              13650                      0            0.00
                   Mississippi
  7010101         Headwaters             23              1229439             1363            49             23              29             268 22              6384              478.29                0                    1.79             0.00

  7010106          Crow Wing             18              1269326             1828            43             20              38              71.72              7332               72.55                0                        0            0.00

  7010105             Pine               20              501180               558            66              7              27              14.60               733               12.15                0                        0            0.00

  7010102          Leech Lake            23              858412               729            45             19              36              23.39              5850               16.27                0                        0            0.05

  7010103        Prairie Willow          36              1333830             1881            48             18              34             590.40              3461              672.31               122                       0            0.07

  4010201          Saint Louis           41              1882043             7002            54             12              35            1731.00             369204            3408.27               1146                  4.73             2.20

  7030003            Kettle              33              673462              1167            36             38              26              57.36              1297              423.20                0                        24           0.35

  4010301       Beartrap-Nemadji         25              176978              7888            40             52               8             120 21              45432             132.51                0                        0            0.00




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Table 5. L3R impacts by 8-digit Hydrologic Unit Code (HUC) watershed.


                                                                                                               Mainline Permanent Conversion          Access Roads (Temporary Impacts)    Waterbody Crossings (Temporary
                                                                                  Mainline Impacts                                                                                                  Impacts)
                                                                                                                          Watershed
                                 Pipeline Length   PFO Wetland   PSS Wetland                                                         Watershed PSS
8-Digit                                                                        Permanent   Temporary   PFO         PSS    PFO Impact                 PFO      PEM        PUB       PSS    Dredge/Fill     Bridge Fill
                                  in HUC (feet)       Acres         Acres                                                              Impact %
HUC       Watershed Name                                                                                                       %

9020311        Lower Red            223781                                                             0.35        0.05      0.009        0.000      0 00     0.77      0.00       0.00      0.09            0.06
                                                      3822         10923         0.18        17.88

9020309          Snake               92026                                                             0.19        0.29      0.007        0.003      0.00      0.13      0 00      0.07      0.03            0 04
                                                      2638          8932         0.02        17 51

9020306     Red-Grand Marais         14849                                                             0.00        0.00      0.000        0.000      0.00      0.00     0.00       0.00      0.01            0 01
                                                       787          235          0.00         2.66

9020303         Red Lake            115626                                                             0.64        0.16      0.001        0.000      0.00      0.08      0 00      0.02      0.07            0 07
                                                     47486         33840         0.00        28.15

9020305        Clearwater           286738                                                             6.72        4.55      0.038        0.012      0.01      0.27      0 00      0.10      0.18            0.15
                                                     17781         38755         3.11        118.17

7010101 Mississippi Headwaters      140247                                                             7.96        4.85      0.006        0.006      0.02      0.21      0 00      0.00      0.02            0 01
                                                     128873        87470         0.06        35.67

7010106        Crow Wing            261179                                                             9.86       12.48      0.030        0.012      0.06      0.73      0 00      0.34      0.05            0 03
                                                     33256         102789        0.00        75 25

7010105           Pine              213033                                                             11.23       9.08      0.036        0.021      0.30      0.78      0 00      1.37      0.03            0 02
                                                     30815         43182         0.00        71.73

7010102        Leech Lake             2782                                                             0.45        0.00      0.001        0.000      0.00      0.00      0 00      0.00      0.00            0 00
                                                     70579         60656         0.00         0.44

7010103      Prairie Willow         166160                                                             54.27      14.27      0.021        0.008      6.71      5.83      0 01      3.81      0.04            0 02
                                                     256393        174192        1.42        123.66

4010201        Saint Louis          233664                                                             57.11      35.20      0.011        0.017      18 37     6.30      0 00      6.98      0.12            0 09
                                                     539005        208191        5.16        260.66

7030003          Kettle               8237                                                             0.00        0.20      0.000        0.000      0.00      0.07      0 02      0.00      0.00            0 00
                                                     98719         87272         0.00        10 34

4010301     Beartrap-Nemadji         34111                                                             0.06        0.23      0.000        0.001      0.00      0.00      0 00      0.01      0.01            0 00
                                                     41006         21669         0.00         3.88




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9.3    Affected Environment
The following described the watershed conditions and impacts to wetlands resources as a
result of the Line 3 Project in each 8-digit HUC watershed. Due to the nature of the
construction, most direct impacts to wetlands would be temporary. However, wetland type
conversion, mainly forested and scrub-shrub wetland to an emergent type wetland would
occur. The table below includes the compensatory mitigation being provided within each 8-
digit HUC. Details on overall wetland impacts and conversion impacts are included in Section
6 of this document.

Lower Red (09020311)

The Project would cross approximately 42.38 miles of the Middle River Watershed. The
watershed is 800,391 acres in size, located in Northwest Minnesota and Northeast North
Dakota. This watershed is located within the Red River Basin Watershed (HUC 0902) and
within the Lower Red River of the North Bank Service Area (BSA 3). The watershed occurs in
the Glacial Lake Agassiz Plain Level III Ecoregion and has a poorly defined floodplain and low
gradient that combine with extensive drainage, widespread conversion of tallgrass prairie to
farmland, and urban/suburban development to leave the basin subject to frequent floods that
affect urban and rural infrastructure and agricultural production. Predominant land use or land
cover, as identified in the NRCS Rapid Watershed Assessment, in this watershed includes:
Row Crops (80.6%), Wetlands (5.5%), Forest (5.2%), Residential/ Commercial Development
(5.1%) and Grass/Pasture/Hay (2.4%). Land use within the watershed is largely agricultural,
accounting for nearly 83% of the overall watershed acres.

Corps permits for the calendar years 2010 through 2020 authorized 69.66 acres of fill and
14,814 linear feet of fill in tributaries.

The projection is that waters of the U.S. will continue to be lost at the current rate.

The Project would result in 0.18 acres of permanent loss of wetland and temporarily impact a
total of 17.88 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 0.77 acres of wetland. Permanent and temporary impacts
would represent substantially less than 1% of the total wetland in the watershed. All
temporary impacts to all wetland types would be restored to preconstruction elevations and
allowed to naturally revegetate to the preconstruction wetland type.

Maintenance of the ROW of Line 3 through this watershed would convert 0.35 acres of
forested wetland and 0.05 acres for scrub-shrub wetland, which represents less than 1% of
the forested and scrub shrub wetland combined within the watershed, to an emergent wetland
type. Maintenance of the ROW would be required for aerial inspection of Line 3 and to
provide access to the line if needed. Permanent conversion of the wetland types within this
watershed would be very low compared to the amount woody type wetlands.




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Snake Watershed (09020309)

The Project would cross approximately 17.42 miles of the Snake Watershed. The watershed
is 498,128 acres in size, located in Northwest Minnesota. This watershed is located within the
Red River Basin Watershed (HUC 0902) and within the Lower Red River of the North Bank
Service Area (BSA 3). The watershed occurs in the Glacial Lake Agassiz Plains ecoregion.
Soils at the mouth of the watershed are clayey soils of the lake plain and the watershed has a
poorly defined floodplain and low gradient that combine with extensive drainage, widespread
conversion of tallgrass prairie to farmland, and urban/suburban development to leave the
basin subject to frequent floods that affect urban and rural infrastructure and agricultural
production.




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Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Row Crops (81%), Wetlands (6%), Forest (5%),
Residential/Commercial Development (5%), and Grass/Pasture/Hay (3%). Agricultural land
use in the basin accounts for approximately eighty four percent of the overall watershed acres.

Corps permits for the calendar years 2010 through 2020 authorized 39.72 acres of fill and
1,425 linear feet of fill in tributaries.

The Project would result in 0.02 acres of permanent loss of wetland and temporarily impact a
total 17.51 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 0.20 acres of wetlands. Permanent and temporary impacts
would represent substantially less than 1% of the total wetland in the watershed. All
temporary impacts to all wetland types would be restored to preconstruction elevations and
allowed to naturally revegetate to the preconstruction wetland type.

Maintenance of the ROW of Line 3 through this watershed would convert 0.19 acres of
forested wetland and 0.29 acres for scrub-shrub wetland, which represents 1% of the forested
and scrub shrub wetland combined within the watershed, to an emergent wetland type.
Maintenance of the ROW would be required for aerial inspection of Line 3 and to provide
access to the line if needed. Permanent conversion of the wetland types within this watershed
would be very low compared to the amount woody (forested and scrub-shrub) type wetlands.

To compensate for the temporary loss of wetland functions and the permanent conversion,
Enbridge would purchase a total of 141.64 wetlands credits in BSA 3 which includes the Lower
Red Watershed. See Section 8.0 of this document for additional discussion on compensatory
mitigation.




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Grand Marais – Red Watershed (09020306)

Approximately 2.81 miles of the Middle River Watershed would be crossed by the Project.
The watershed is 406,283 acres in size, located in Northwest Minnesota and Eastern North
Dakota. This watershed is located within the Red River Basin Watershed (HUC 0902) and
within the Upper Red River of the North Bank Service Area (BSA 4). The watershed occurs in
the Glacial Lake Agassiz Plain Level III Ecoregion and has a poorly defined floodplain and low
gradient that combine with extensive drainage, widespread conversion of tallgrass prairie to
farmland, and urban/suburban development to leave the basin subject to frequent floods that
affect urban and rural infrastructure and agricultural production.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Row Crops (90.6%), Residential/Commercial Development (5.1%),
Open Water (1.8%), Wetlands (1.6%), and Forest (0.8%). Land use within the watershed is
largely agricultural, accounting for nearly 92% of the overall watershed acres.

Corps permits for the calendar years 2010 through 2020 authorized 70.49 acres of fill and
4,401 linear feet of fill in tributaries.

Neither construction, maintenance of the ROW, or installation of access roads would
permanently or temporarily impacts wetlands in this watershed. Impacts within this watershed
are limited to waterbody crossings and would temporarily impact 0.02 acres of stream bed for
installation of the pipe and a temporary bridge.




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Red Lake Watershed (09020303)

Approximately 21.89 miles of the Middle River Watershed would be crossed by the Project.
The watershed is 856,994 acres in size, located in Northwest Minnesota. This watershed is
located within the Red River Basin Watershed (HUC 0902) and within the Lower Red River of
the North Bank Service Area (BSA 3). The watershed occurs in the Glacial Lake Agassiz
Plain and Northern Minnesota Wetlands Level III Ecoregions, and has a poorly defined
floodplain and low gradient that combine with extensive drainage, widespread conversion of
tallgrass prairie to farmland, and urban/suburban development to leave the basin subject to
frequent floods that affect urban and rural infrastructure and agricultural production.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Row Crops (61%), Wetlands (17%), Forest (10%),
Grass/Pasture/Hay (6%), and Residential/Commercial Development (5%). Agricultural land
use in the basin accounts for approximately 67 percent of the overall watershed acres.



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Corps permits for the calendar years 2010 through 2020 authorized 20.39 acres of fill and
62,611 linear feet of fill in tributaries.

The Project would result in 28.15 acres of temporary wetland impact along the mainline in this
watershed. Construction of access roads would temporarily affect 0.10 acres wetlands.
Permanent and temporary impacts would represent substantially less than 1% of the total
wetland in the watershed. All temporary impacts to all wetland types would be restored to
preconstruction elevations and allowed to naturally revegetate to the preconstruction wetland
type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
0.64 acres of forested wetland and 0.16 acres for scrub-shrub wetland, which represents less
than 1% of the forested and scrub shrub wetland combined within the watershed, to an
emergent wetland type. Maintenance of the ROW would be required for aerial inspection of
Line 3 and to provide access to the line if needed. Permanent conversion of the wetland types
within this watershed would be very low compared to the amount woody type wetlands.




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Clearwater Watershed (09020305)

The Project would cross approximately 54.31 miles of the Clearwater Watershed. The
watershed is 869,288 acres in size, located in Northwest Minnesota. This watershed is
located within the Red River Basin Watershed (HUC 0902) and within the Lower Red River of
the North Bank Service Area (BSA 3). The watershed occurs in the Glacial Lake Agassiz
Plain, North Central Hardwoods, Northern Lakes and Forests, and Northern Minnesota
Wetlands Level III Ecoregions and has a poorly defined floodplain and low gradient that
combine with extensive drainage, widespread conversion of tallgrass prairie to farmland, and
urban/suburban development to leave the basin subject to frequent floods that affect urban
and rural infrastructure and agricultural production.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Row Crops (33%), Forest (24%), Grass/Pasture/Hay (21%),
Wetlands (14%), and Residential/Commercial Development (4%). Agricultural land use in the
basin accounts for approximately 54% of the overall watershed acres.

Corps permits for the calendar years 2010 through 2020 authorized 8.59 acres of fill and 3,711
linear feet of fill in tributaries.

The Project would result in 3.11 acres of permanent loss of wetland and temporarily impact a
total 118.17 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 0.39 acres of wetlands. Permanent and temporary impacts
would represent substantially less than 1% of the total wetland in the watershed. All
temporary impacts to all wetland types would be restored to preconstruction elevations and
allowed to naturally revegetate to the preconstruction wetland type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
6.72 acres of forested wetland and 4.55 acres for scrub-shrub wetland, which represents
approximately 5.20% of the forested and scrub shrub wetland combined within the watershed,
to an emergent wetland type. Maintenance of the ROW would be required for aerial
inspection of Line 3 and to provide access to the line if needed.

Permanent conversion of the wetland types within this watershed would still be relatively low
compared to the high amount of woody type wetlands.




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Mississippi Headwaters Watershed (07010101)

The Project crosses through approximately 26.56 miles of the Mississippi Headwaters
Watershed. The watershed is 1,229,438 acres in size, located in Northcentral Minnesota.
This watershed is located within the Mississippi River Headwaters Basin Watershed (HUC
0701) and within the Mississippi River Headwaters Service Area (BSA 5).

This watershed is located in the Northern Lakes and Forest ecoregion of Minnesota and is
largely forested. Approximately 44% of the land in this HUC is privately owned, and the
remainder is tribal, state, county or federally owned public land.
Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Forest (58%), Wetlands (15%), Open Water (14.3%)
Grass/Pasture/Hay (6.4%), and Residential / Commercial development (2.9%).
Agricultural land use within the watershed is moderate, accounting for approximately 10% of
the available acres.

Corps permits for the calendar years 2010 through 2020 authorized 268.22 acres of fill and
6,374 linear feet of fill in tributaries.




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The Project would result in 0.06 acres of permanent loss of wetland and temporarily impact a
total 35.67 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 0.23 acres of wetlands. Permanent and temporary impacts
would represent less than 1% of the total wetland in the watershed. All temporary impacts for
all wetland types would be restored to preconstruction elevations and allowed to naturally
revegetate to the preconstruction wetland type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
7.96 acres of forested wetland and 4.85 acres for scrub-shrub wetland, which represents
substantially less than 1% of the forested and scrub shrub wetland combined within the
watershed, to an emergent wetland type. Maintenance of the ROW would be required for
aerial inspection of Line 3 and to provide access to the line if needed.

Permanent conversion of the wetland types within this watershed would still be relatively low
compared to the high amount of woody type wetlands. Construction of access roads would
temporarily affect 0.21 acres of emergent wetlands and 0.02 acres of forested wetlands.




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Crow Wing Watershed (07010106)

The Project would cross approximately 49.47 miles of the Crow Wing Watershed. The
watershed is 1,269,326 acres in size, located in Northcentral Minnesota. This watershed is
located within the Mississippi River Headwaters Basin Watershed (HUC 0701) and within the
Mississippi River Headwaters Service Area (BSA 5). The Crow Wing watershed is located in
the Northern Lakes and Forest and North Central Hardwoods Forest ecoregions of Minnesota.
Approximately seventy two percent of the land in this HUC is privately owned. Predominant
land use or land cover, as identified in the NRCS Rapid Watershed Assessment, in this
watershed includes: Forest (51%), Grass Pasture/Hay (14%), Wetlands (11%), Row Crops
(10%), and Open Water (6.6%). Land use within the watershed is moderately agricultural,
accounting for approximately 25% of the available acres.

Corps permits for the calendar years 2010 through 2020 authorized 71.72 acres of fill and
7,332 linear feet of fill in tributaries.

The Project would result in 75.25 acres of temporary wetland impact along the mainline in this
watershed. Construction of access roads would temporarily impact 1.13 acres of wetlands.
Permanent and temporary impacts would represent substantially less than 1% of the total
wetland in the watershed. All temporary impacts for all wetland types would be restored to
preconstruction elevations and allowed to naturally revegetate to the preconstruction wetland
type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
9.86 acres of forested wetland and 12.48 acres for scrub-shrub wetland, which represents
approximately 4% of the forested and scrub shrub wetland combined within the watershed, to
an emergent wetland type. Maintenance of the ROW would be required for aerial inspection
of Line 3 and to provide access to the line if needed.

Permanent conversion of the wetland types within this watershed would be relatively low
compared to the high amount of woody type wetlands.




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Pine Watershed (07010105)

The Project would cross approximately 40.34 miles of the Pine Watershed. The watershed is
501,180 acres in size, located in Northcentral Minnesota. This watershed is located within the
Mississippi River Headwaters Basin Watershed (HUC 0701) and within the Mississippi River
Headwaters Service Area (BSA 5). This largely forested watershed is located in the Northern
Lakes and Forest ecoregion of Minnesota. Approximately fifty six percent of the land in this
HUC is privately owned, and the remainder is state, county, or federally owned public land.
Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Forest (51%), Wetlands (21%), Open Water (13%), and Grass
Pasture/Hay (7.5%). Land use within the watershed is moderately agricultural, accounting for
approximately 9% of the available acres.

Corps permits for the calendar years 2010 through 2020 authorized 14.60 acres of fill and 733
linear feet of fill in tributaries.

The Project would result in 71.73 acres of temporary wetland impact along the mainline in this
watershed. Construction of access roads would temporarily impact 2.45 acres of wetlands.
Permanent and temporary impacts would represent less than 1% of the total wetland in the
watershed. All temporary impacts for all wetland types would be restored to preconstruction
elevations and allowed to naturally revegetate to the preconstruction wetland type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
11.24 acres of forested wetland and 9.08 acres for scrub-shrub wetland, which represents
substantially less than 1% of the forested and scrub shrub wetland combined within the
watershed, to an emergent wetland type. Maintenance of the ROW would be required for
aerial inspection of Line 3 and to provide access to the line if needed. Permanent conversion
of the wetland types within this watershed would be relatively low compared to the high
amount of woody type wetlands.




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Leech Lake Watershed (07010102)

The Project would cross approximately 0.52 miles of the Leech Lake Watershed. The
watershed is 858,412 acres in size, located in Northcentral Minnesota. This watershed is
located within the Mississippi River Headwaters Basin Watershed (HUC 0701) and within the
Mississippi River Headwaters Service Area (BSA 5). This watershed is located in the Northern
Lakes and Forest ecoregion of Minnesota and is predominantly forested. Predominant land
use or land cover, as identified in the NRCS Rapid Watershed Assessment, in this watershed
includes: Forest (44%), Wetlands (24%), Open Water (20%), and Grass Pasture/Hay (7%),
and is moderately agricultural, accounting for approximately 8% of the available acres.

Corps permits for the calendar years 2010 through 2020 authorized 33.39 acres of fill and
5850 linear feet of fill in tributaries.

The Project would result in 0.44 acres of temporary wetland impact along the mainline in this
watershed. No wetlands would be impacted as a result of construction of temporary access
roads. Permanent and temporary impacts would represent less than 1% of the total wetland in
the watershed. All temporary impacts for all wetland types would be restored to
preconstruction elevations and allowed to naturally revegetate to the preconstruction wetland
type

Construction and maintenance of the ROW of Line 3 through this watershed would convert
0.46 acres of forested wetland and 0.01 acres for scrub-shrub wetland, which represents
substantially less than 1% of the forested and scrub shrub wetland combined within the
watershed, to an emergent wetland type. Maintenance of the ROW would be required for
aerial inspection of Line 3 and to provide access to the line if needed. Permanent conversion
of the wetland types within this watershed would be low compared to the high amount of
woody type wetlands.




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Prairie Willow Watershed (07010103)

The Project would cross approximately 31.47 miles of the Prairie-Willow Watershed. The
watershed is 1,333,830 acres in size, located in Northcentral Minnesota. This watershed is
located within the Mississippi River Headwaters Basin Watershed (HUC 0701) and within the
Mississippi River Headwaters Service Area (BSA 5). The Prairie-Willow watershed is located
in the Northern Lakes and Forest ecoregion of Minnesota and is predominantly forested.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Forest (42.6%), Wetlands (37%), Open Water (6.4%), and Grass
Pasture/Hay (5.9%). Land use within the watershed is modestly agricultural, accounting for
approximately 10% of the available acres.




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Corps permits for the calendar years 2010 through 2020 authorized 590 acres of fill and 3461
linear feet of fill in tributaries.

The Project would result in 1.42 acres of permanent loss of wetland and temporarily impact a
total 123.66 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 16.36 acres of wetland. Permanent and temporary impacts
represent less than 1% of the total wetland in the watershed. All temporary impacts for all
wetland types would be restored to preconstruction elevations and allowed to naturally
revegetate to the preconstruction wetland type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
54.27 acres of forested wetland and 14.28 acres for scrub-shrub wetland, which represents
substantially less than 1% of the forested and scrub shrub wetland combined within the
watershed, to an emergent wetland type. Maintenance of the ROW would be required for
aerial inspection of Line 3 and to provide access to the line if needed. Permanent conversion
of the wetland types within this watershed would still be relatively low compared to the high
amount of woody type wetlands.




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Saint Louis Watershed (04010201)

The Project would cross approximately 44.25 miles of the St. Louis Watershed. The
watershed is 1,882,043 acres in size, located in Northeast Minnesota. This watershed is
located within the Western Great Lakes Watershed (HUC 0401) and within the Great Lakes
Bank Service Area (BSA 1). The St. Louis watershed is located in the Northern Lakes and
Forest ecoregion of Minnesota and is predominantly forested.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Forest (57.0%), Wetlands (23.5%), Grass Pasture/Hay (6.7%), and
Shrubland (5.6%), and is modestly agricultural with 7% of available acres.




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Corps permits for the calendar years 2010 through 2020 authorized 4701 acres of fill and
369,204 linear feet of fill in tributaries.

The Project would result in 5.16 acres of permanent loss of wetland and temporarily impact a
total 260.66 acres of wetland along the mainline in this watershed. Construction of access
roads would temporarily affect 31.65 acres of wetland. Permanent and temporary impacts
would represent less than 1% of the total wetland in the watershed. All temporary impacts for
all wetland types would be restored to preconstruction elevations and allowed to naturally
revegetate to the preconstruction wetland type.

Construction and maintenance of the ROW of Line 3 through this watershed would convert
57.11 acres of forested wetland and 35.20 acres for scrub-shrub wetland, which represents
substantially less than 1% of the forested and scrub shrub wetland combined within the
watershed, to an emergent wetland type. Maintenance of the ROW would be required for
aerial inspection of Line 3 and to provide access to the line if needed. Permanent conversion
of the wetland types within this watershed would be low compared to the high amount of
woody type wetlands.

Construction of access roads would temporarily affect 6.30 acres of emergent wetlands, 6.98
acres of scrub-shrub wetlands, and 18.37 acres of forested wetlands. All temporary impacts
for all wetland types would be restored to preconstruction elevations and allowed to naturally
revegetate to the preconstruction wetland type.

In addition to impacts described above for Line 3, the Line 4 relocation Project would
temporarily impact a total of 80.94 acres of wetland in this watershed (PEM: 33.87 ac, PSS:
22.52 ac, PFO: 23.36 ac, and PUB: 1.19 ac). Of the temporary impacts, 7.51 acres of forested
(PFO) wetland and 5.83 acres of scrub-shrub (PSS) wetland would be permanently converted
to an emergent wetland type.




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Kettle Watershed (07030003)

The Project would cross approximately 1.56 miles of the Kettle Watershed. The watershed is
673,462 acres in size, located in Northeast Minnesota. This watershed is located within the
St. Croix Watershed (HUC 0703) and within the St. Croix Bank Service Area (BSA 6). The
predominantly forested watershed is in the Minnesota/Wisconsin Upland till plain portion of the
Northern Lakes and Forest ecoregion of Minnesota.

Predominant land use or land cover, as identified in the NRCS Rapid Watershed Assessment,
in this watershed includes: Forest (55%), Wetlands (19%), Grass Pasture/Hay (18%), and
Residential/Commercial Development (3.4%). Agricultural land use within the Kettle River
watershed accounts for approximately 20% of the available acres.

Corps permits for the calendar years 2010 through 2020 authorized 57.36 acres of fill and
1297 linear feet of fill in tributaries.

The Project would result in 10.34 acres of temporary wetland impact along the mainline in this
watershed. Construction of access roads would temporarily affect 0.09 acres of wetland.
Permanent and temporary impacts would represent less than 1% of the total wetland in the
watershed. All temporary impacts for all wetland types would be restored to preconstruction
elevations and allowed to naturally revegetate to the preconstruction wetland type.




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Construction and maintenance of the ROW of Line 3 through this watershed would convert no
forested wetland and 0.21 acres of scrub-shrub wetland, which represents almost less than
1% of the forested and scrub shrub wetland combined within the watershed, to an emergent
wetland type. Maintenance of the ROW would be required for aerial inspection of Line 3 and
to provide access to the line if needed.

Permanent conversion of the wetland types within this watershed would be low compared to
the high amount of woody type wetlands.

In addition to impacts described above for Line 3, the Line 4 relocation Project would
temporarily impact a total of 13.30 acres of wetland in this watershed (PEM: 9.64 ac, PSS:
1.46 ac, PFO: 0.92 ac, and PUB: 1.28 ac). Of the temporary impacts, 0.01 acres of forested
(PFO) wetland and 0.42 acres of scrub-shrub (PSS) wetland would be permanently converted
to an emergent wetland type.




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Beartrap-Nemadji Watershed (04010301)

The Project would cross approximately 6.46 miles of the 1,234,211 acre Beartrap-Nemadji
Watershed in Northeast Minnesota and Northwest Wisconsin, of which 176,978 acres are in
Minnesota. This watershed is located within the St. Croix Watershed (HUC 0703) and within
the St. Croix Bank Service Area (BSA 6).

Corps permits for the calendar years 2010 through 2020 authorized 120.21 acres of fill and
19870 linear feet of fill in tributaries.

The Project would result in 3.88 acres of temporary wetland impact along the mainline in this
watershed. Construction of temporary access roads would impact 0.01 acres of wetland.
Permanent and temporary impacts would represent less than 1% of the total wetland in the
watershed. All temporary impacts for all wetland types would be restored to preconstruction
elevations and allowed to naturally revegetate to the preconstruction wetland type

Construction and maintenance of the ROW of Line 3 through this watershed would convert
0.06 acres of forested wetland and 0.23 acres of scrub-shrub wetland, which represents less
than 1% of the forested and scrub shrub wetland combined within the watershed, to an



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emergent wetland type. Maintenance of the ROW would be required for aerial inspection of
Line 3 and to provide access to the line if needed. Permanent conversion of the wetland types
within this watershed would be low compared to the high amount of woody type wetlands.




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9.4    DETERMINE ENVIRONEMTAL CONSEQUENCES
Wetlands along the Project corridor provide several functions and benefits. The wetlands
within the Project area provide benefits to the hydrologic regime, flood storage capacity,
wildlife habitat, and protection of downstream water quality. The vast majority of the impacts
would be temporary and those functions and benefits would return after construction and
restoration. As a result of ROW maintenance, some woody wetlands would be converted to
an herbaceous/emergent wetland type. As described in the watershed assessment above,
conversion of woody wetlands would range from less than 1% to 5% of the total woody
wetland types in a watershed. The greatest function affected as a result of conversion is
wildlife habitat. Additional detail regarding wildlife habitat are included in Section 6.4. While
wildlife habitat would be impacted, the loss for each individual 8-digit HUC watershed would
still be small within the watershed.

9.5    Discuss any mitigation to avoid, minimize or compensate for cumulative effects:

Measures that would be taken to minimize wetland and waterbody impacts are included in
Section 6.8. Compensatory mitigation would be required for the loss of wetland functions.
The mitigation would ensure that the cumulative effects are mitigated and the environmental
consequences of the loss of those resources is offset and is discussed in Section 8.0 of this
document.




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Table 6. Compensatory mitigation required by 8-digit HUC
                                                           Normal Wetlands                    Special Wetlands

                                                                         Mitigation                         Mitigation
                                                  Impact                  Credits     Impact                 Credits
                                                  Acres         Ratio    Subtotal     Acres        Ratio    Subtotal
Bank Service Area 1
04010201 - St. Louis
                   Temporary Impact               64.79         0.03         1.94     64.32         0.06         3.86
Emergent           Permanent Conversion           0.00                       0.00     0.00                       0.00
                   Permanent Fill                 0.32          1.00         0.32     0.00          1.50         0.00
                   Temporary Impact               31.14         0.06         1.87     21.18         0.09         1.91
Scrub-Shrub        Permanent Conversion           20.85         0.50         10.42    14.35         0.75         10.76
                   Permanent Fill                 3.56          1.50         5.34     0.51          1.75         0.89
                   Temporary Impact               51.27         0.10         5.13     27.02         0.25         6.75
Forested           Permanent Conversion           24.86         0.75         18.65    8.45          1.00         8.45
                   Permanent Fill                 0.72          2.00         1.44     0.04          2.50         0.11
                  04010201 - St. Louis SUBTOTAL   197.50                     45.11    135.88                     32.74

04010301 - Beartrap-Nemadji
                  Temporary Impact                 0.27         0.03         0.01      2.86         0.06         0.17
Emergent          Permanent Conversion             0.00                      0.00      0.00                      0.00
                  Permanent Fill                   0.00         1.00         0.00      0.00         1.50         0.00
                  Temporary Impact                 0.18         0.06         0.01      0.48         0.09         0.04
Scrub-Shrub       Permanent Conversion             0.16         0.50         0.08      0.07         0.75         0.05
                  Permanent Fill                   0.00         1.50         0.00      0.00         1.75         0.00
                  Temporary Impact                 0.00         0.10         0.00      0.10         0.25         0.03
Forested          Permanent Conversion             0.00         0.75         0.00      0.06         1.00         0.06
                  Permanent Fill                   0.00         2.00         0.00      0.00         2.50         0.00
           04010301 - Beartrap-Nemadji SUBTOTAL    0.61                      0.10      3.57                      0.36
                                BSA 1 SUBTOTAL    198.11                     45.21    139.45                     33.10

Bank Service Area 3
09020303 - Red Lake
                  Temporary Impact                22.37         0.03         0.67      3.74         0.06         0.22
Emergent          Permanent Conversion            0.00                       0.00      0.00                      0.00
                  Permanent Fill                  0.00          1.00         0.00      0.00         1.50         0.00
                  Temporary Impact                0.33          0.06         0.02      0.07         0.09         0.01
Scrub-Shrub       Permanent Conversion            0.16          0.50         0.08      0.00         0.75         0.00
                  Permanent Fill                  0.00          1.50         0.00      0.00         1.75         0.00
                   Temporary Impact                1.30         0.10         0.13      0.43         0.25         0.11
Forested           Permanent Conversion            0.40         0.75         0.30      0.23         1.00         0.23
                   Permanent Fill                  0.00         2.00         0.00      0.00         2.50         0.00
                  09020303 - Red Lake SUBTOTAL    24.56                      1.20      4.48                      0.57

09020305 - Clearwater
                  Temporary Impact                72.97         0.03         2.19     26.34         0.06         1.58
Emergent          Permanent Conversion            0.00                       0.00     0.00                       0.00
                  Permanent Fill                  3.08          1.00         3.08     0.00          1.50         0.00
                  Temporary Impact                8.32          0.06         0.50     0.61          0.09         0.05
Scrub-Shrub       Permanent Conversion            4.38          0.50         2.19     0.17          0.75         0.12
                  Permanent Fill                  0.00          1.50         0.00     0.00          1.75         0.00
                  Temporary Impact                7.33          0.10         0.73     2.98          0.25         0.74
Forested          Permanent Conversion            5.73          0.75         4.30     0.98          1.00         0.98
                  Permanent Fill                  0.03          2.00         0.06     0.00          2.50         0.00
                 09020305 - Clearwater SUBTOTAL   101.86                     13.05    31.08                      3.49

09020306 - Grand Marais-Red
                  Temporary Impact                 2.66         0.03         0.08      0.00         0.06         0.00
Emergent          Permanent Conversion             0.00                      0.00      0.00                      0.00



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                   Permanent Fill                  0.00       1.00     0.00    0.00    1.50   0.00
                   Temporary Impact                0.00       0.06     0.00    0.00    0.09   0.00
Scrub-Shrub        Permanent Conversion            0.00       0.50     0.00    0.00    0.75   0.00
                   Permanent Fill                  0.00       1.50     0.00    0.00    1.75   0.00
                   Temporary Impact                0.00       0.10     0.00    0.00    0.25   0.00
Forested           Permanent Conversion            0.00       0.75     0.00    0.00    1.00   0.00
                   Permanent Fill                  0.00       2.00     0.00    0.00    2.50   0.00
           09020306 - Grand Marais-Red SUBTOTAL   2.66                 0.08    0.00           0.00

09020309 - Snake
                   Temporary Impact               14.99       0.03     0.45    1.67    0.06   0.10
Emergent           Permanent Conversion           0.00                 0.00    0.00           0.00
                   Permanent Fill                 0.02        1.00     0.02    0.00    1.50   0.00
                   Temporary Impact               0.56        0.06     0.03    0.34    0.09   0.03
Scrub-Shrub        Permanent Conversion           0.29        0.50     0.14    0.00    0.75   0.00
                   Permanent Fill                 0.00        1.50     0.00    0.00    1.75   0.00
                   Temporary Impact               0.12        0.10     0.01    0.04    0.25   0.01
Forested           Permanent Conversion           0.14        0.75     0.10    0.05    1.00   0.05
                   Permanent Fill                 0.00        2.00     0.00    0.00    2.50   0.00
                     09020309 - Snake SUBTOTAL    16.11                0.76    2.09           0.19

09020311 - Middle Red
                  Temporary Impact                18.51       0.03     0.56    0.00    0.06   0.00
Emergent          Permanent Conversion            0.00                 0.00    0.00           0.00
                  Permanent Fill                  0.18        1.00     0.18    0.00    1.50   0.00
                  Temporary Impact                 0.00       0.06     0.00    0.00    0.09   0.00
Scrub-Shrub       Permanent Conversion             0.05       0.50     0.03    0.00    0.75   0.00
                  Permanent Fill                   0.00       1.50     0.00    0.00    1.75   0.00
                  Temporary Impact                0.09        0.10     0.01    0.06    0.25   0.01
Forested          Permanent Conversion            0.35        0.75     0.26    0.00    1.00   0.00
                  Permanent Fill                  0.00        2.00     0.00    0.00    2.50   0.00
                 09020311 - Middle Red SUBTOTAL   19.19                1.04    0.06           0.01

09020312 - Two Rivers
                  Temporary Impact                 0.02       0.03     0.00    0.00    0.06   0.00
Emergent          Permanent Conversion             0.00                0.00    0.00           0.00
                  Permanent Fill                   0.00       1.00     0.00    0.00    1.50   0.00
                  Temporary Impact                 0.00       0.06     0.00    0.00    0.09   0.00
Scrub-Shrub       Permanent Conversion             0.00       0.50     0.00    0.00    0.75   0.00
                  Permanent Fill                   0.00       1.50     0.00    0.00    1.75   0.00
                  Temporary Impact                 0.00       0.10     0.00    0.00    0.25   0.00
Forested          Permanent Conversion             0.00       0.75     0.00    0.00    1.00   0.00
                  Permanent Fill                   0.00       2.00     0.00    0.00    2.50   0.00
                09020312 - Two Rivers SUBTOTAL     0.02                0.00    0.00           0.00
                               BSA 3 SUBTOTAL     164.40               16.14   37.70          4.26

Bank Service Area 5
07010101 - Mississippi Headwaters
                  Temporary Impact                16.90       0.03     0.51    1.67    0.06   0.10
Emergent          Permanent Conversion            0.00                 0.00    0.00           0.00
                  Permanent Fill                   0.06       1.00     0.06    0.00    1.50   0.00
                  Temporary Impact                 5.29       0.06     0.32    1.03    0.09   0.09
Scrub-Shrub       Permanent Conversion             3.40       0.50     1.70    1.45    0.75   1.09
                  Permanent Fill                   0.00       1.50     0.00    0.00    1.75   0.00
                  Temporary Impact                 5.43       0.10     0.54    5.58    0.25   1.40
Forested          Permanent Conversion             3.94       0.75     2.95    4.02    1.00   4.02
                  Permanent Fill                  0.00        2.00     0.00    0.00    2.50   0.00
   07010101 - Mississippi Headwaters SUBTOTAL     35.01                6.08    13.75          6.69



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07010102 - Leech Lake
                  Temporary Impact                  0.01       0.03     0.00     0.00    0.06   0.00
Emergent          Permanent Conversion              0.00                0.00     0.00           0.00
                  Permanent Fill                    0.00       1.00     0.00     0.00    1.50   0.00
                  Temporary Impact                  0.09       0.06     0.01     0.00    0.09   0.00
Scrub-Shrub       Permanent Conversion              0.00       0.50     0.00     0.00    0.75   0.00
                  Permanent Fill                    0.00       1.50     0.00     0.00    1.75   0.00
                  Temporary Impact                  0.21       0.10     0.02     0.13    0.25   0.03
Forested          Permanent Conversion              0.26       0.75     0.19     0.20    1.00   0.20
                  Permanent Fill                    0.00       2.00     0.00     0.00    2.50   0.00
                 07010102 - Leech Lake SUBTOTAL    0.57                 0.22     0.33           0.23

07010103 - Prairie Willow
                   Temporary Impact                22.72       0.03     0.68    38.71    0.06   2.32
Emergent           Permanent Conversion            0.00                 0.00    0.00            0.00
                   Permanent Fill                  0.11        1.00     0.11    0.00     1.50   0.00
                   Temporary Impact                9.92        0.06     0.60    8.23     0.09   0.74
Scrub-Shrub        Permanent Conversion            6.86        0.50     3.43    7.41     0.75   5.56
                   Permanent Fill                  0.17        1.50     0.26    0.00     1.75   0.00
                   Temporary Impact                27.23       0.10     2.72    32.88    0.25   8.22
Forested           Permanent Conversion            23.53       0.75     17.65   30.52    1.00   30.52
                   Permanent Fill                  0.89        2.00     1.77    0.25     2.50   0.64
              07010103 - Prairie Willow SUBTOTAL   91.44                27.22   118.01          48.00

7010105 - Pine
                   Temporary Impact                40.06       0.03     1.20     9.73    0.06   0.58
Emergent           Permanent Conversion            0.00                 0.00     0.00           0.00
                   Permanent Fill                  0.00        1.00     0.00     0.00    1.50   0.00
                   Temporary Impact                7.12        0.06     0.43     2.54    0.09   0.23
Scrub-Shrub        Permanent Conversion            6.70        0.50     3.35     2.38    0.75   1.79
                   Permanent Fill                  0.00        1.50     0.00     0.00    1.75   0.00
                   Temporary Impact                9.07        0.10     0.91     5.65    0.25   1.41
Forested           Permanent Conversion            7.37        0.75     5.53     3.86    1.00   3.86
                   Permanent Fill                  0.00        2.00     0.00     0.00    2.50   0.00
                        7010105 - Pine SUBTOTAL    70.32                11.41   24.16           7.87

07010106 - Crow Wing
                 Temporary Impact                  45.43       0.03     1.36     7.28    0.06   0.44
Emergent         Permanent Conversion              0.00                 0.00     0.00           0.00
                 Permanent Fill                    0.00        1.00     0.00     0.00    1.50   0.00
                 Temporary Impact                  12.45       0.06     0.75     0.96    0.09   0.09
Scrub-Shrub      Permanent Conversion              9.82        0.50     4.91     2.66    0.75   1.99
                 Permanent Fill                    0.02        1.50     0.03     0.00    1.75   0.00
                 Temporary Impact                  6.47        0.10     0.65     3.78    0.25   0.95
Forested         Permanent Conversion              6.45        0.75     4.84     3.41    1.00   3.41
                 Permanent Fill                    0.00        2.00     0.00     0.00    2.50   0.00
                 07010106 - Crow Wing SUBTOTAL     80.64                12.53   18.09           6.87
                                BSA 5 SUBTOTAL     277.98               57.47   174.35          69.67

Bank Service Area 6

                   Temporary Impact                 8.19       0.03     0.25     1.11    0.06   0.07
Emergent           Permanent Conversion             0.00                0.00     0.00           0.00
                   Permanent Fill                   0.00       1.00     0.00     0.00    1.50   0.00
                   Temporary Impact                 0.56       0.06     0.03     0.27    0.09   0.02
Scrub-Shrub        Permanent Conversion             0.17       0.50     0.09     0.03    0.75   0.02
                   Permanent Fill                   0.00       1.50     0.00     0.00    1.75   0.00
                   Temporary Impact                 0.03       0.10     0.00     0.27    0.25   0.07



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Forested    Permanent Conversion          0.00       0.75      0.00     0.00    1.00    0.00
            Permanent Fill                0.00       2.00      0.00     0.00    2.50    0.00
                              SUBTOTAL    8.96                 0.37     1.67            0.18
                        BSA 6 SUBTOTAL    8.96                 0.37     1.67            0.18
                     PROJECT TOTALS      649.45               119.19   353.18          107.21




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         HCVF Wetlands

                     Mitigation    Total   Mitigation     Out of Kind   Enbridge Bank   Out of BSA
Impact                Credits     Impact    Credits        Subtotal        Credits       Subtotal   Total Required
Acres        Ratio   Subtotal      Acres   Subtotal        (+0.25)       Purchased       (+0.25)   Mitigation Credits



0.00         0.00        0.00     129.11     5.80            1.45                                          7.25
0.00                     0.00      0.00      0.00            0.00                                          0.00
0.00         0.00        0.00      0.32      0.32            0.08                                          0.40
0.00         0.00        0.00      52.32     3.77            0.94                                          4.72
0.00         0.00        0.00      35.20    21.19            5.30                                         26.48
0.00         0.00        0.00      4.07      6.24            1.56                                          7.79
32.60        0.50        16.30    110.89    28.18                                                         28.18
23.80        1.50        35.70     57.11    62.79                          120.00          4.93           67.72
0.00         3.00        0.00      0.77      1.55                                                          1.55
56.40                    52.00    389.78   129.85            9.33          120.00          4.93          144.11


0.00         0.00        0.00      3.12      0.18            0.04                                         0.22
0.00                     0.00      0.00      0.00            0.00                                         0.00
0.00         0.00        0.00      0.00      0.00            0.00                                         0.00
0.00         0.00        0.00      0.66      0.05            0.01                                         0.07
0.00         0.00        0.00      0.23      0.13            0.03                                         0.17
0.00         0.00        0.00      0.00      0.00            0.00                                         0.00
0.00         0.50        0.00      0.10      0.03                                                         0.03
0.00         1.50        0.00      0.06      0.06                                                         0.06
0.00         3.00        0.00      0.00      0.00                                                         0.00
0.00                     0.00      4.18      0.46            0.09           0.00           0.00           0.55
56.40                    52.00    393.96    130.30           9.42          120.00          4.93          144.66




0.00         0.00        0.00     26.11      0.90                                                         0.90
0.00                     0.00     0.00       0.00                                                         0.00
0.00         0.00        0.00     0.00       0.00                                                         0.00
0.00         0.00        0.00     0.40       0.03            0.01                                         0.03
0.00         0.00        0.00     0.16       0.08            0.02                                         0.10
0.00         0.00        0.00     0.00       0.00            0.00                                         0.00
0.00         0.50        0.00      1.73      0.24            0.06                                         0.30
0.00         1.50        0.00      0.64      0.54            0.13                                         0.67
0.00         3.00        0.00      0.00      0.00            0.00                                         0.00
0.00                     0.00     29.04      1.78            0.22           0.00           0.00           2.00


0.00         0.00        0.00     99.31      3.77                                                         3.77
0.00                     0.00     0.00       0.00                          39.00                          0.00
0.00         0.00        0.00     3.08       3.08                                                         3.08
0.00         0.00        0.00     8.93       0.55            0.14                                         0.69
0.00         0.00        0.00     4.55       2.31            0.58                                         2.89
0.00         0.00        0.00     0.00       0.00            0.00                                         0.00
0.00         0.50        0.00     10.31      1.48            0.37                                         1.85
0.00         1.50        0.00     6.72       5.28            1.32                                         6.61
0.00         3.00        0.00     0.03       0.06            0.02                                         0.08
0.00                     0.00     132.93    16.54            2.42          39.00           0.00           18.97


0.00         0.00        0.00      2.66      0.08                                                         0.08
0.00                     0.00      0.00      0.00                                                         0.00



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0.00   0.00   0.00    0.00    0.00                                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.50   0.00    0.00    0.00            0.00                     0.00
0.00   1.50   0.00    0.00    0.00            0.00                     0.00
0.00   3.00   0.00    0.00    0.00            0.00                     0.00
0.00          0.00   2.66     0.08            0.00      0.00    0.00   0.08


0.00   0.00   0.00   16.66    0.55                                     0.55
0.00          0.00   0.00     0.00                                     0.00
0.00   0.00   0.00   0.02     0.02                                     0.02
0.00   0.00   0.00   0.89     0.06            0.02                     0.08
0.00   0.00   0.00   0.29     0.14            0.04                     0.18
0.00   0.00   0.00   0.00     0.00            0.00                     0.00
0.00   0.50   0.00   0.16     0.02            0.01                     0.03
0.00   1.50   0.00   0.19     0.15            0.04                     0.19
0.00   3.00   0.00   0.00     0.00            0.00                     0.00
0.00          0.00   18.20    0.95            0.09      0.00    0.00   1.04


0.00   0.00   0.00   18.51    0.56                                     0.56
0.00          0.00   0.00     0.00                                     0.00
0.00   0.00   0.00   0.18     0.18                                     0.18
0.00   0.00   0.00   0.00     0.00            0.00                     0.00
0.00   0.00   0.00   0.05     0.03            0.01                     0.03
0.00   0.00   0.00   0.00     0.00            0.00                     0.00
0.00   0.50   0.00   0.15     0.02            0.01                     0.03
0.00   1.50   0.00   0.35     0.26            0.07                     0.33
0.00   3.00   0.00   0.00     0.00            0.00                     0.00
0.00          0.00   19.24    1.05            0.08      0.00    0.00   1.13


0.00   0.00   0.00    0.02    0.00                                     0.00
0.00          0.00    0.00    0.00                                     0.00
0.00   0.00   0.00    0.00    0.00                                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.00   0.00    0.00    0.00            0.00                     0.00
0.00   0.50   0.00    0.00    0.00            0.00                     0.00
0.00   1.50   0.00    0.00    0.00            0.00                     0.00
0.00   3.00   0.00    0.00    0.00            0.00                     0.00
0.00          0.00    0.02    0.00            0.00     0.00     0.00   0.00
0.00          0.00   202.11   20.40           2.82     39.00    0.00   23.22




0.00   0.00   0.00   18.57    0.61                                     0.61
0.00          0.00   0.00     0.00                     294.97          0.00
0.00   0.00   0.00   0.06     0.06                                     0.06
0.00   0.00   0.00   6.32     0.41            0.10                     0.51
0.00   0.00   0.00   4.85     2.79            0.30      1.57           3.09
0.00   0.00   0.00   0.00     0.00            0.00                     0.00
0.00   0.50   0.00   11.01    1.94                                     1.94
0.00   1.50   0.00   7.96     6.97                      9.10           6.97
0.00   3.00   0.00   0.00     0.00                                     0.00
0.00          0.00   48.76    12.77           0.41     305.64   0.00   13.18



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0.00   0.00   0.00    0.01     0.00                                      0.00
0.00          0.00    0.00     0.00                                      0.00
0.00   0.00   0.00    0.00     0.00                                      0.00
0.00   0.00   0.00    0.09     0.01            0.00                      0.01
0.00   0.00   0.00    0.00     0.00            0.00                      0.00
0.00   0.00   0.00    0.00     0.00            0.00                      0.00
0.00   0.50   0.00    0.34     0.05            0.01                      0.07
0.00   1.50   0.00    0.45     0.39            0.10                      0.49
0.00   3.00   0.00    0.00     0.00            0.00                      0.00
0.00          0.00    0.90    0.45             0.11     0.00     0.00   0.57


0.00   0.00   0.00   61.43     3.00                                      3.00
0.00          0.00   0.00      0.00                                      0.00
0.00   0.00   0.00   0.11      0.11                                      0.11
0.00   0.00   0.00   18.15     1.34            0.33                      1.67
0.00   0.00   0.00   14.27     8.99            2.25                     11.24
0.00   0.00   0.00   0.17      0.26            0.07                      0.33
0.31   0.50   0.16   60.43    11.10            1.48                     12.58
0.21   1.50   0.32   54.27    48.49                     53.50           48.49
0.00   3.00   0.00   1.14      2.41            0.60                      3.01
0.53          0.48   209.98   75.70            4.72     53.50    0.00   80.43


0.00   0.00   0.00   49.79     1.79                                      1.79
0.00          0.00   0.00      0.00                                      0.00
0.00   0.00   0.00   0.00      0.00                                      0.00
0.00   0.00   0.00   9.66      0.66            0.16                      0.82
0.00   0.00   0.00   9.08      5.14            1.28                      6.42
0.00   0.00   0.00   0.00      0.00            0.00                      0.00
0.00   0.50   0.00   14.72     2.32            0.58                      2.90
0.00   1.50   0.00   11.23     9.39            2.35                     11.74
0.00   3.00   0.00   0.00      0.00            0.00                      0.00
0.00          0.00   94.49    19.29            4.38     0.00     0.00   23.66


0.00   0.00   0.00   52.71     1.80                                      1.80
0.00          0.00   0.00      0.00                                      0.00
0.00   0.00   0.00   0.00      0.00                                      0.00
0.00   0.00   0.00   13.42     0.83            0.21                      1.04
0.00   0.00   0.00   12.48     6.90            1.73                      8.63
0.00   0.00   0.00   0.02      0.03            0.01                      0.03
0.00   0.50   0.00   10.25     1.59            0.40                      1.99
0.00   1.50   0.00   9.86      8.25            2.06                     10.31
0.00   3.00   0.00   0.00      0.00            0.00                      0.00
0.00          0.00   98.73    19.40           4.40       0.00    0.00   23.80
0.53          0.48   452.86   127.62          14.02     359.14   0.00   141.64




0.00   0.00   0.00    9.30     0.31                                      0.31
0.00          0.00    0.00     0.00                     17.74            0.00
0.00   0.00   0.00    0.00     0.00                                      0.00
0.00   0.00   0.00    0.83     0.06            0.01                      0.07
0.00   0.00   0.00    0.20     0.11            0.03                      0.13
0.00   0.00   0.00    0.00     0.00            0.00                      0.00
0.00   0.50   0.00    0.30     0.07            0.02                      0.09



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0.00    1.50   0.00     0.00      0.00            0.00                      0.00
0.00    3.00   0.00     0.00      0.00            0.00                      0.00
0.00           0.00     10.63     0.55            0.06     17.74    0.00    0.61
0.00           0.00     10.63     0.55            0.06     17.74    0.00    0.61
56.93          52.48   1059.55   278.87          26.32     535.88   4.93   310.12




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9.6    CONCLUSIONS REGARDING CUMULATIVE IMPACTS
When considering the overall impacts that would result from the proposed activity, in relation
to the overall impacts from past, present, and reasonably foreseeable future activities, the
incremental contribution of the proposed activity to cumulative impacts in the area described in
Section 9.3, are not considered to be significant.

10.0 SPECIAL CONDITIONS
WORK REQUIRING SECTION 10 AUTHORIZATION

1. The following special condition is a part of all Corps of Engineers permits that provide
authorization under Section 10 of the Rivers and Harbors Act, regardless whether the permit
provides such authorization under Section 10 alone, or in combination with authorization under
other laws. This condition applies to the installation of the Line 3 Replacement Pipeline below
the bed of the Red River of the North (Mile Post 801.8), Red Lake River (Mile Post 864.3), and
the Mississippi River (Mile Post 1069.7).

         a. Enbridge understands and agrees that, if future operations by the United States
require the removal, relocation, or other alteration, of the structure or work herein authorized,
or if, in the opinion of the Secretary of the Army or his authorized representative, said structure
or work shall cause unreasonable obstruction to the free navigation of the navigable waters,
the permittee will be required, upon due notice from the Corps of Engineers, to remove,
relocate, or alter the structural work or obstructions caused thereby, without expense to the
United States. No claim shall be made against the United States on account of any such
removal or alteration.

AUTHORIZED WORK

2.      Enbridge is responsible for ensuring that whoever performs, supervises or oversees
any portion of the physical work associated with the construction of the project has a copy of,
is familiar with, and complies with all the terms and conditions of this permit.

RATIONALE: This condition is required to ensure that whoever performs the work is familiar
with and complies with the permit requirements.

401 WATER QUALITY CERTIFICATIONS

3.     All terms and conditions of the 401 Water Quality Certifications issued by the
Minnesota Pollution Control Agency, Fond du Lac Reservation, and North Dakota Department
of Health are hereby incorporated as terms and conditions of this permit (Attachment B).

RATIONALE: This condition is required to ensure the permitted activities in wetlands comply
with Section 401 of the Clean Water Act.

AVOIDANCE AND MINIMIZATION OF IMPACTS

4.     Prior to commencing any of the Project’s construction activities, Enbridge must flag or
stake the boundaries of the authorized construction area limits in a manner that ensures all
individuals can readily identify the boundaries of the authorized construction area limits and



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ensures the construction activities will only occur in areas authorized by the permitting
agencies. Enbridge must also ensure that all aquatic resources (wetlands, ditches, lakes, or
streams) in the vicinity of the construction area that are not authorized to be impacted by the
project are clearly identified.

5.       Prior to commencing the Project’s construction activities in any wetland, Enbridge must
install in-wetland BMPs that will prevent, during construction activities, impacts to aquatic
resources outside of the area in which wetland impacts are authorized as described in the
Environmental Protection Plan, dated November 2020, incorporated into this authorization.
Enbridge must immediately repair, replace, or supplement all non-functional in-wetland BMPs
with functional BMPs as needed to prevent any unauthorized impacts to waters of the U.S.

6.   Topsoil segregation shall occur in accordance with the procedures identified in the
November 2020 Environmental Protection Plan incorporated into this authorization.

7.     To minimize the possibility of erosion and potential discharges to waterbodies caused
by weather events, and to reduce temporal impacts, Enbridge must perform the authorized
work in segments, referred to as spreads, as shown on the attached drawing 2014-01071-CLJ
1 of 525. Enbridge must limit the cumulative amount of excavated open trench within each
spread to no more than three days of anticipated welding production, which must not exceed
more than 14,000 linear feet. The trailing end of each trench must be backfilled and BMPs
must be in place as the leading edge of the trench is opened. Each open spread must be fully
equipped and staffed to operate independently of any other open spread. Within each spread,
site-specific activities, such as HDD, bores, road bores, valve work and pumping station
construction activities, may be performed independent of open trench work.

8.     Enbridge must cross all streams and wetlands using the proposed crossing methods
specified in Attachment A of this permit. The use of an alternative crossing method specified
in Attachment A requires prior approval of from the Corps.

9.     Enbridge must not conduct HDD stream crossing construction activities when the
stream is covered with ice, unless otherwise pre-approved by the Corps on a case-by-case
basis. Enbridge must not manually create open water conditions in streams that would
otherwise be ice-covered at the HDD crossing locations, unless otherwise approved by the
Corps and applicable State agencies.

10.    To minimize potential release of drilling mud into wetlands or waterbodies during HDD,
Enbridge shall follow the procedures outlined in the November 2020 Environmental Protection
Plan and November 2020 Site Specific HDD Inadvertent Release Response Plans
incorporated into this authorization.

11.   Enbridge shall perform construction and restoration at the LaSalle Creek crossing (Mile
Post 946.0) and the Spring Book crossing (Mile Post 1041.3) in accordance with the October
2020 LaSalle Creek Construction and Restoration Plan and the October 2020 Spring Brook
Construction and Restoration Plan, respectively.

12.    When constructing under winter conditions, as defined in the November 2020 Winter
Construction Plan, incorporated into this permit, Enbridge shall follow all BMPs and protocols
outlined in the November 2020 Environmental Protection Plan and November 2020 Winter
Construction Plan.




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13.    Enbridge must ensure that all fill placed in wetlands and waterbodies to create
temporary access roads as authorized by this permit, is removed and the wetlands and
waterbodies are restored to their preconstruction conditions as outlined in the November 2020
Environmental Protection Plan. This permit does not authorize permanent impacts associated
with temporary access roads in wetlands and waterbodies.

14.    There shall be no decrease in wetland areas as a result of this authorized work, except
that authorized for the construction of pump stations, mainline valves, and permanent access
roads as identified in Attachment A.

15.     In absence of a specific permit condition, Enbridge shall implement the procedures
identified in the November 2020 Environmental Protection Plan.

16.    Enbridge must inform the Corps of any proposed additional discharge of dredged or fill
material, permanent or temporary, not included in this authorization before the impacts occur.
Enbridge must immediately notify the Corps of unauthorized impacts to waters of the U.S.

RATIONALE: These conditions are required to minimize impacts to adjacent wetlands and
other waters as a result of the permitted activities and ensure no unauthorized impacts occur.

RESTORATION OF TEMPORARY IMPACTS

17.     All wetlands and waterways disturbed within the project corridor shall be restored to
their pre-impact contours and exposed wetland soils must be revegetated as outlined in the
November 2020 Environmental Construction Plan.

18.    All restored wetlands and waterbodies shall meet applicable performance standards
outlined in the November 2020 Post Construction Wetland and Waterbody Monitoring Plan.

19.    All wetlands and waterways in the construction corridor shall be monitored per the
protocols identified in the November 2020 Post Construction Wetland and Waterbody
Monitoring Plan incorporated into this authorization. Reports documenting the findings of post
construction monitoring shall be submitted to the Corps not later than December 31st of the
year monitoring occurs.

RATONALE: These conditions are required to ensure wetlands and waterbodies temporarily
impacted are satisfactorily restored and continue to provide wetland functions provide prior to
the project.

COMPENSATORY MITIGATION FOR IMPACTS

20.     As compensatory mitigation for the authorized activities, a minimum of 310.12 wetland
credits shall be debited from the wetland bank accounts identified in the October 2020 L3R
Compensatory Wetland mitigation Plan. Debit of wetland types from Banks Service Areas
throughout the project shall be completed in accordance with the October 2020 L3R
Compensatory Wetland Mitigation Plan. Prior to undertaking the activities authorized by this
permit, the permittee shall ensure that the Corps receives written notification that BWSR has
initiated the withdraw transaction. All documentation submitted shall include the file number
MVP-2014-01071-CLJ, and be submitted to:

       U.S. Army Corps of Engineers



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       St. Paul District
       ATTN: Craig Jarnot
       4111 Technology Drive, Suite 295
       Bemidji, Minnesota 56601.

21.    Financial assurances, as identified in the November 2020 Post Construction Wetland
and Waterbody Monitoring Plan shall be provided to ensure restoration of temporary impacts
to waters of the U.S. is achieved in accordance with performance standards set forth in the
November 2020 Post Construction Wetland and Waterbody Monitoring Plan. The instrument in
which financial assurances will be provided must be submitted to the Corps prior to
commencement of the activities authorized by this permit.

RATIONALE: These conditions are required to ensure appropriate compensation to offset
known direct impacts to wetlands caused by the permitted activities.

INVASIVE SPECIES MANAGEMENT

22.    To reduce the potential for spread of invasive species, Enbridge shall follow the
protocols outlined in Appendix B (Invasive and Noxious Species Management Plan) of the
November 2020 Environmental Protection Plan.

RATIONALE: This condition is required to reduce the potential for spread of invasive species.



HISTORIC PROPERTIES

23.    Enbridge shall comply with measures identified in the Avoidance, Mitigation, and
Implementation Plan for Construction (AMIP), dated October 2020, for areas subject to Corps’
regulatory authority.

RATIONALE: This condition is required to ensure no historic properties are affected during
construction.

11.0 COMPLIANCE WITH ENVIRONMENTAL LAWS AND POLICIES

11.1 SECTION 401 OF THE CLEAN WATER ACT (33 USC SECTION
1342) WATER QUALITY CERTIFICATION (33 CFR 320.4(d))
The Project is in compliance with Section 401 of the CWA. The Water Quality Certification was
issued by Fond du Lac on April 15, 2019 with conditions. North Dakota Department of Health
issued the individual 401 Water Quality Certification with conditions for the portion of the project
within the state of North Dakota that is being reviewed by St. Paul District. The MPCA issued its
Individual 401 Water Quality Certification with conditions on November 12, 2020. Section 401
Certifications are included in Appendix B. Pursuant to 33 U.S.C. 1341(d). Compliance with the
Section 401 WQC is a special condition of the DA permit.

11.2 ENDANGERED SPECIES ACT OF 1973 (16 USC 1531)



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The proposed Project is in compliance with Section 7 of the ESA. The consultation conducted
for the Project is described in Section 6.4.1.

11.3 SECTION 106 OF THE NATIONAL HISTORIC PRESERVATION
ACT (NHPA) (16 USC 470 et seq.)

11.3.1 SUMMARY OF EFFECT FINDINGS

The Corps’ findings of effect summarized below are based on its review of reports submitted
from 2013 to 2020, and consultation with consulting parties including dozens of consulting tribes
and the Minnesota SHPO. Enclosure 2 of the Corps’ October 11, 2019, letter to Minnesota
SHPO provides titles and dates of information considered by the Corps, including seventeen
archaeological survey reports, two architectural survey reports, and four supplemental reports to
include a consultation map book, results of geomorphic subsurface testing, information on
access road investigations, and report of Phase II archaeological investigations.

The Corps’ March 20, 2020, letter to the Minnesota SHPO further identified the following
documents that it reviewed to make informed eligibility determinations and effect findings:
          • Tribal Cultural Resources Management Survey of the Enbridge Line 3
             Replacement Project, Fond du Lac Band of Lake Superior Chippewa Tribal
             Historic Preservation Office, Cloquet, MN, July 2019;
          • February 19, 2020, Addendum 1 for the Tribal Cultural Resource Management
             Survey of the Enbridge Line 3 Replacement Project;
          • 2020 Phase II Investigations of Three Above-ground Resources
             (Commonwealth, February 2020); and
          • 2019 Line 3 Replacement Pipeline Project Minnesota Archaeological
             Reconnaissance Studies Volume I: Final Report (Merjent, Inc. & AECOM,
             February 2020) and accompanying map books (Volumes 2-5).

Findings of “no effect” were made for the following properties: 21KT0069 and the Bailey
Farmstead (CA-MCT-010, CA-MCT-011, CA-MCT-012, CA-MCT-013, CA-MCT-014, CA-MCT-
015, and CA-MCT-016).

Findings of “No Adverse Effect” to historic properties were made for the following properties:
21MA0039, 21HB0082, 21CE0098, drainage ditches (23 crossings) and railroads (10
crossings). Note that drainage ditches and railroads were treated as eligible rather than further
assessing eligibility.

11.3.2 RATIONALE FOR EFFECT FINDINGS

OVERVIEW
The Corps identified areas of the overall project that are within its APE, as described above in
Section 2, and identified areas where surveys were warranted to identify cultural resources.
The applicant prepared and submitted the results of a multi-disciplinary survey approach to
include archaeological surveys, tribal cultural resource surveys, architectural surveys, select




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Phase II evaluations, viewshed analyses, and geomorphological investigations. Results were
submitted for areas within the Corps’ APE as well as outside of the Corps’ APE.

Archaeological investigations began in 2013 and continued through early 2020. The tribal
cultural resources survey (TCRS) began October 2017 and was conducted for approximately
one month before snowfall. The bulk of the TCRS survey, including elder interviews in several
tribal communities, was conducted during 2018. In 2019, the TCRS team returned to select
locations and also surveyed an additional 91 facility adjustment areas. Areas surveyed by
traditional archaeologists coincided with areas surveyed by tribal cultural specialists. Over
100,000 shovel tests were dug within the approximate 5,600-acre corridor and a total of only
nine acres were not surveyed within the corridor. The Corps believes the level of effort for this
project surpasses the “reasonable and good faith” identification standard per 36 CFR Part 800
Protection of Historic Properties, Implementing Regulations of Section 106 of the NHPA.

As will be further described below, the applicant proposed avoidance of all eligible properties
identified as a result of all surveys, therefore no properties would be adversely affected. The
applicant also proposed avoidance of other resources that were not evaluated for eligibility but
treated as such. The Avoidance, Mitigation, and Implementation Plan for Construction (AMIP)
was developed by the applicant, with input from Fond du Lac Band THPO on the tribal
monitoring component, and identifies tribal, archaeological, and geomorphological monitoring to
occur during construction. This plan is further described below under Additional Information.


DETAILS OF RATIONALE FOR EFFECT FINDINGS
A total of fifty-four (54) archaeological sites were identified in the Corps' APE and summarized in
correspondence to the Minnesota SHPO on October 11, 2019. (See this letter in Attachment C.)
Two sites identified in this report are further described below. All other sites were determined
not eligible or were not further assessed because they are located outside of the limits of
disturbance and would not be impacted.

Site 21-MA-0039, located at the crossing of the Snake River in Marshall County, was evaluated
during traditional archaeological investigation as well as the tribal cultural resource investigation
for this project. This site was previously determined eligible for inclusion in the NRHP during
review of a past pipeline project. It was avoided by HDD during construction of the Lakehead
Pipeline in 1994 and during construction of the Alberta Clipper Pipeline. It will be avoided
during L3R construction activities as well by using HDD construction methods. Information
about avoidance of this site was provided in the Corps’ letter to the SHPO on October 11, 2019.
In the letter to the Minnesota SHPO on March 20, 2020, the Corps provided a finding of no
adverse effect to this site based on avoidance of the site with HDD construction.

Site 21-HB-0082 is considered eligible for purposes of this project. This site was evaluated
during traditional archaeological investigation as well as the tribal cultural resource investigation
for this project. It will be avoided and monitored during construction of the L3R project and the
Corps made a finding of no adverse effect to this site in its letter to the Minnesota SHPO on
October 11, 2019.

The 2019 archaeological investigation surveyed approximately an additional 789 acres not
previously surveyed and described above. A total of 18 new archaeological resources were



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A total of twenty-two farmsteads without associated land parcels were evaluated and are
summarized in Enclosure 6 of the Corps’ October 11, 2019, letter to Minnesota SHPO. Eight
farmsteads are in the direct APE, four of which include properties that will be demolished by the
applicant. Three of the four are less than 50 years old and the fourth, HB-ARG-009, is
comprised of common building types found on most farms in Minnesota. The Corps determined
this site is not eligible for listing. The Corps determined the project has no potential to impact
other sites in the direct APE or sites in the indirect APE given their location on an existing
pipeline corridor and in agricultural settings where there would be little to no alterations to the
character or setting of a property during or after construction.

For three properties, the Minnesota SHPO disagreed with the Corps determinations that either
they are not eligible or did not warrant additional intensive survey and evaluation: the Bailey
Farmstead (CA-MCT-010, CA-MCT-011, CA-MCT-012, CA-MCT-013, CA-MCT-014, CA-MCT-
015, and CA-MCT-016); the Jack Leemola House (SL-FWC-042); and, another potential historic
farmstead (MA-VKC-020, MA-VKC-022-030). The Minnesota SHPO recommended intensive
survey and evaluation of each property and its associated components to determine eligibility of
the property and potential contributing status of associated resources. The applicant voluntarily
prepared the Phase II investigation. The letter report contains the eligibility recommendations as
a result of the Phase II evaluations and the updated Minnesota Multiple Property Inventory
(MPI) Forms.

Based on additional information provided by the applicant, the Corps determined that the Jack
Kleemola House and the other farmstead (MA-VKC-020, MA-VKC-022-030) are not eligible for
listing, and that the Bailey Farmstead is eligible for listing in the NRHP. The Corps considered
potential effects of the undertaking on the Bailey Farmstead as the proposed Project corridor
traverses agricultural lands thought to be associated with the farmstead. The boundary of the
property was “drawn to encompass the greatest number of elements that retain physical
integrity and thereby contribute to the property’s significance” and “to exclude noncontributing
elements like fields that do not retain integrity and areas that were not historically associated
with the studied property.” The Phase II evaluation has provided a defined historic boundary,
and the Bailey Farmstead is no longer within or near the Project APE as it is situated
approximately 2,000 feet north of the nearest APE. In addition, there are no above-ground
structures proposed in this area of the corridor The Corps determined in its letter to the
Minnesota SHPO on March 20, 2020, that the undertaking would have no effect to the Bailey
Farmstead history property.

Drainage ditches

The pipeline would be constructed under a total of 23 drainage ditches. The pipe would be
constructed at nine of these locations via HDD and bore methods, therefore the pipe would be
installed below these ditches and there would be no impact. The pipe would be constructed at
14 of the ditch locations utilizing the dry crossing technique. Ditch banks would be restored to
pre-construction conditions and project archaeological monitors would photograph the crossing
locations before and after construction to demonstrate successful restoration. Rather than
assessing eligibility of these ditches, the sites were presumed to be eligible for purposes of this
project because effects would be avoided. The Corps determined in correspondence to the
Minnesota SHPO on March 20, 2020 that no drainage ditches would be adversely affected by
the proposed undertaking based on avoidance and minimization measures.



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Railroad crossings
The pipeline will be installed under 10 railroad crossings using the bore method. Rather than
assessing eligibility of these ditches, because effects would be avoided, the sites were
presumed to be eligible for purposes of this project. This method does not result in any surface
disturbance or alteration to the feature crossed. There are no above-ground structures or
facilities proposed at these railroad location crossings. The bore locations will be restored to
pre-construction condition. The Corps determined in correspondence to the Minnesota SHPO
on March 20, 2020, that no railroad properties would be adversely affected by the proposed
undertaking.

11.3.3 ADDITIONAL INFORMATION

Correspondence related to the Section 106 review is included in Appendix C. In addition to
correspondence to and from the Minnesota SHPO, representatives of Minnesota SHPO also
attended tribal consultation meetings on December 10-11, 2019, and January 23-24, 2018. The
Corps extended this invitation to the Minnesota SHPO after coordinating this invitation with the
consulting Tribes.

Following submittal of final eligibility determinations and effect findings to the Minnesota SHPO
on March 20, 2020, the Corps hosted a virtual teleconference with Minnesota SHPO staff to
discuss their preliminary review of the March submittal and answer any questions or provide
clarification to assist in their review. Minnesota SHPO stated they would need more time to
review and more information, particularly avoidance and minimization measures and monitoring
plans during construction, e.g., unanticipated discoveries and monitoring, to agree with effect
findings.

On April 16, 2020, Minnesota SHPO requested extension to the 30-day review period.
Following coordination of this request with Corps Division and Headquarter offices, the 15-day
extension was approved, i.e., the Minnesota SHPO had until May 7, 2020, to provide their
comments.

On May 1, 2020, the Corps coordinated the draft Avoidance, Mitigation, and Implementation
Plan for Construction (AMIP) with Minnesota SHPO and consulting Tribes. This responds to the
request Minnesota SHPO shared with the Corps on March 20, 2020 to receive more information
on avoidance, minimization and monitoring. The AMIP provides all the monitoring plans to
include tribal and archaeological monitors, the unanticipated discoveries plan, processes and
procedures to be carried out during construction should discoveries occur that would ensure
proper treatment and evaluation of resources, for the protection of historic properties and
sensitive resources of cultural importance to the Tribes. .

On May 7, 2020 a letter response from the MN SHPO, concurred with the Corps’ No Adverse
Effect finding, contingent on permit conditions to ensure avoidance measures and monitoring.

On July 23, 2020, the Corps provided a revised AMIP to Minnesota SHPO, Minnesota DNR
archaeologist and all consulting tribes. On October 1, 2020, the Corps held a virtual
teleconference with the Minnesota SHPO to ask if the Corps should expect any comments on




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the revised draft AMIP. The SHPO responded that the AMIP is comprehensive and appropriate
and exceeds expectations of any monitoring plan or unanticipated discoveries plan.

On October 20, 2020, the Corps provided the final AMIP and appendices to the Minnesota
SHPO and all consulting parties for their information and records. The Corps clarified the
applicant’s compliance with the AMIP, in those areas subject to the Corps’ control, would be a
required special condition of any permit issued for the regulated activities in waters of the U.S.
The Corps concluded that pursuant to 36 CFR 800.5(d)(1), it has fulfilled its responsibilities for
the protection and preservation of historic and cultural properties and consultation.

11.3.4 TRIBAL TRUST RESPONSIBILITIES
Government-to-government consultation was conducted with Federally recognized Tribes. See
Sections 7.8, 11.13, and Appendix D of this document for details of government to government
consultation with Federally recognized tribes.

11.4 FISH AND WILDLIFE COORDINATION ACT (FWCA) (16 USC 661)
The proposed action is in compliance with the FWCA. Sections 6.4.1, 6.4.2, and 6.4.3 of this
document identify the impacts of the proposed Project on fish and wildlife species. The Corps
coordinated with the USFWS on the proposed action and worked closely with their designated
State counterpart, Minnesota DNR, during interagency coordination.

11.5 NATIONAL ENVIRONMENTAL POLICY ACT of 1969 (42 USC 4321
– 4347)
The proposed action is in compliance with NEPA. The EA was completed to evaluate a
reasonable range of alternatives and the direct, indirect, and cumulative effects associated with
a reasonable range of alternatives. The Corps followed the NEPA process identified in 40 CFR
Part 1500 et seq., 33 CFR Part 230, and 33 CFR Part 325 Appendix B, including noticing and
timeline requirements, to produce an EA that discloses to the public the environmental impact of
the proposed action. The EA is being utilized to make a permit decision on the proposed
Project. Signature of this EA by the authorizing official completes the Corps NEPA requirements
and responsibilities.

11.6 SECTION 176(C) OF THE CLEAN AIR ACT (CAA) GENERAL
CONFORMITY RULE REVIEW (42 USC 7401 – 7671 Section 176(c))
The proposed action has been analyzed for conformity applicability pursuant to regulations
implementing Section 176(c) of the Clean Air Act. The Corps has determined that direct
emissions from the proposed activities that require a DA permit will not exceed de minimis
levels of a criteria pollutant or its precursors and are exempted by 40 CFR 93.153. Any indirect
emissions are generally not within the Corps’ continuing program responsibility and generally
cannot be practicably controlled by the Corps. For these reasons, a conformity determination is
not required for this action.

The MPCA has issued a capped air emissions permit for the Project on November 12, 2020.
The Corps finds the issuance of this permit to be conclusive with respect to air quality issues.
Completion of the process and analysis contained within this document and signature by the
authorizing official completes the Corps’ Clean Air Act requirements.




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11.7 MAGNUSON-STEVENS FISHERY CONSERVATION AND
MANAGEMENT ACT (MAGNUSON-STEVENS ACT), ESSENTIAL FISH
HABITAT (EFH)
Not applicable, there is no essential fish habitat in the St. Paul District’s area of responsibility.

11.8 COASTAL ZONE MANAGEMENT ACT (CZMA)
The Project does not require CZMA review as the Project does not cross a coastal zone.

11.9 WILD AND SCENIC RIVERS ACT
The Project is not located in or associated with a component of a National Wild and Scenic
River System and the Project is not in a river officially designated by Congress as a “study river”
for possible inclusion in the system.

11.10 EFFECTS ON CORPS CIVIL WORKS PROJECTS (33 USC 408)
The Project would cross the Lost River at milepost 885.8 in Red Lake County, Minnesota. The
Flood Control Act of 1958 authorized a flood control project on the Lost River from the
confluence of the Lost and Clearwater Rivers (river mile 0.0) and extending upstream to
approximate river mile 43.3. An environmental assessment for the request to modify a federal
project 33 U.S.C. 408 is included in Appendix E.



11.11 CORPS WETLAND POLICY (33 CFR 320.4(b))
The Project would result in wetland impacts. Based on the public interest review herein, the
beneficial effects of the Project outweigh the detrimental impacts of the Project.

11.13 EXECUTIVE ORDER 13175: CONSULTATION WITH INDIAN
TRIBES, ALASKA NATIVES AND NATIVE HAWAIIANS
On July 16, 2014, the Corps sent a letter to the Chairperson of 43 Tribes, signed by both the
Omaha and St Paul District Engineers. The letter included a map overview of the proposed
Sandpiper pipeline (SPP) route, and explained Omaha’s involvement in North Dakota and St
Paul’s involvement in Minnesota. The proposed L3R was later co-located with SPP through a
majority of Minnesota. While the application for SPP was withdrawn in 2016, the review of the
SPP proposal is relevant to the early L3R review history and is included here. The Corps made
follow-up phone calls in late July 2014, and attempted to talk with the Chairperson, THPO, and
environmental contact at each tribe. A total of 16 Tribes requested to consult. Others
expressed interest in being kept informed, others declined to consult, or did not respond.

On September 2, 2015, the Corps sent a letter to 43 Tribes, addressed to THPO, signed by both
Omaha and St Paul District Regulatory Branch Chiefs. This letter included the SPP overview
map, L3R overview map and a list of 16 Tribes wishing to consult. The letter discussed a
proposed consultation meeting for both pipeline projects. The Corps’ follow-up resulted in 25
Tribes wishing to consult. At least two Tribes expressed they did not want to consult, three
requested to be kept informed, and the rest were no response.




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On October 22, 2015, two letters were sent to 45 Tribes, addressed to THPO, signed by both
Omaha and St Paul District Regulatory Branch Chiefs. One letter was sent to consulting tribes
and tribes potentially interested in consulting, and one was sent to tribes who had declined to
consult or those who did not respond to the above letters. Both letters included a draft meeting
agenda and DVD of archaeological investigations to-date for both pipeline projects. The Corps
asked Tribes for review and comment on the identification of resources, and stated it is seeking
information from Tribes on the identification of historic and cultural properties. Follow-up
resulted in 34 Tribes wishing to consult and attend the meeting.

In Fall 2015, the Corps tried to coordinate field visits with local Bands closest to the proposed
corridor, to include White Earth, Red Lake, Fond du Lac, Mille Lacs and Leech Lake. The
Corps provided map books and shapefiles of the proposed route and followed up with calls to
confirm interest and participation. White Earth identified areas of concern and a field day was
planned for October 27, 2015. Enbridge proposed a route alternative to avoid Wild Rice River
Watershed on September 30, 2015, and this was coordinated with White Earth THPO. Field
visits were canceled due to THPO lack of response or confirmation. Because it was nearing the
end of field season, the Corps communicated the potential to re-schedule for next year.

On December 2-3, 2015, a consultation meeting was held jointly by the Omaha and St. Paul
Districts at White Earth’s Shooting Star Hotel and Casino in Mahnomen. Thirteen Tribes were
represented. Information about the project proposals was shared. On February 18, 2016, a
meeting follow-up letter was sent to 36 Tribes, addressed to THPO, signed by the St. Paul
Regulatory Branch Chief. The letter included a CD of the meeting transcript, sample maps with
additional information as requested for map book revisions, next steps and request for review
and comment.

On June 22, 2016, the Corps sent a letter to 37 Tribes, addressed to THPO and copy furnished
to Chairperson, signed by St. Paul Regulatory Branch Chief. This letter included revised map
books, Corps review of archaeological investigations with summary of archaeological resources
within/adjacent its permit areas, summary of coordination status with SHPO and proposed
timeframes (early to mid-August and September) for tribal field visits to known archaeological
resources and any areas of concern Tribes identify. On July 8, 2016, the Corps emailed
consulting THPOs technical review tables as follow-up to the June 22nd letter. Lac du Flambeau
Band of Lake Superior Chippewa sent a letter to the Corps stating Section 106 responsibilities
were satisfied. Other Tribes expressed they had no concerns right now; and some stated
interest in a later timeframe for field visits.

On August 31, 2016, the Corps sent a schedule to Tribes for September field visits. One Tribe
wished to visit all eligible sites, another all not eligible sites, and a few others specific sites of
concern. One Tribe sent a list of areas they wanted to visit. For several reasons to include
THPO illness and cancellations, the September field visits did not occur.

On September 30, 2016, the Corps sent a letter to 29 Tribes, addressed to THPO with copy
furnished to Chairperson, signed by St. Paul Regulatory Branch Chief, to reschedule field visits
before end of the field season. The information was also emailed with “read receipt” on October
3 and 4, due to the small window of time before end of field season. Follow-up resulted in 10
Tribes planning to participate in the field visits. Week 1 (October 26-27) six sites were visited by
three Tribes; Week 2 (November 2-4) seven sites were visited by three Tribes. In total, four
different Tribes were represented during the field visits.




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On December 21, 2016, the Corps sent a letter to 39 Tribes, addressed to THPO with copy
furnished to Chairperson, signed by St. Paul Regulatory Branch Chief. This letter states the
SPP permit application was withdrawn, and the Corps’ review of the L3R proposal will continue.
The letter introduces the U.S. Institute for Environmental Conflict Resolution (Udall Foundation)
and its contractor the Consensus Building Institute (CBI), which will work to conduct neutral,
third party assessment of consultation and gather suggestions. Notice was provided that the
Corps intends to hold another consultation meeting in late February or early March 2017, to
discuss additional cultural surveys in 2017.

On January 30, 2017, the Corps sent a letter to 39 tribes, addressed to THPO with copy
furnished to Chairperson, inviting Tribes to the March 7-9 meeting at the White Earth Shooting
Star Hotel and Casino in Mahnomen, MN. The Corps conducted extensive follow-up to ensure
letters were received, to coordinate participation in the March meeting, and provide any
information requested.

In January and February 2017, phone interviews were conducted by Lucy Moore of Lucy Moore
Associates, CBI. A list of 20 Tribes was provided to Ms. Moore for those interviews; the list
included those Tribes that have more actively participated and consulted on the L3R Project
(i.e., attended the December 2015 consultation meeting in Mahnomen, participated in site field
visits, provided comments/discussion).

From March 7-9, 2017, a large group consultation meeting was conducted at White Earth to
discuss tribal cultural surveys for historic and cultural property identification during upcoming
2017 field season. A proposal for tribal involvement was drafted and sent to Tribes prior the
meeting, for discussion during the meeting to develop a path forward and to potentially form a
Tribal Work Group to lead and coordinate tribal involvement in the identification of historic and
cultural properties. On March 15, 2017, the daily sign-in sheets from the March meeting were
emailed to all L3R consulting Tribes. On March 27, a list of interviewees that was provided to
Lucy Moore (for the phone interviews in early 2017) was emailed to all consulting Tribes, in
response to a request during the March meeting.

On April 11, 2017, all consulting Tribes were provided with the L3R Project shapefiles
(geodatabase) and the draft detailed meeting notes from the March meeting, via email. The
Corps requested comments, clarifications, or questions within 30 days. Final meeting notes
were sent by the Corps on May 16, 2017. Discussions continued with THPOs concerning their
request during the March meeting for funding from the applicant for tribal survey training. On-
going discussions occurred with Minnesota Chippewa Tribe (MCT) THPOs, to coordinate their
review of the proposed corridor and their proposal(s) for tribal survey of identified areas, elder
interviews and archival research. On April 13, 2017, MCT THPOs met in Fond du Lac to review
the proposal and provide areas identified for tribal survey. Throughout May, the Corps
continued discussions with local Band THPOs concerning their identified areas of concern and
potential training, and with western Tribes concerning their identification efforts and potential
training details.

On May 19, 2017, the Corps sent a letter to 39 Tribes, addressed to THPO, copy furnished to
Chairperson, signed by St. Paul Regulatory Branch Chief. This letter was a follow-up to March
meeting, provided Project consultation history and a brief overview of the proposal, a thank you
for participation in the March meeting, responded to specific requests from the meeting
caucuses, and discussed coordinating tribal survey effort going forward.




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On June 15, 2017, the Corps sent a letter to 39 Tribes, addressed to Chairperson, copy
furnished to THPO, signed by the St. Paul District Commander. This letter was a follow-up to
the March meeting, provided brief Project overview of consultation history and coordination, an
invitation from the District Engineer to the Chairperson for continued consultation and open
communication, and extended thanks for participating in consultation.

During the Spring and Summer of 2017, the scoping of tribal surveys began with review, elder
interviews, archival research, level of effort, methods, and working out logistics with Enbridge for
rights-of-entry to those areas identified by Tribes for additional cultural survey. On June 29,
2017, the Corps began to host recurring conference calls with consulting Tribes to discuss tribal
survey. The calls were established for the purpose of keeping lines of communication open
between Tribes and between Tribes and Corps, coordinating the tribal survey effort (e.g., who
will do what, who has survey personnel), who has reviewed and provided areas to survey, etc.
The Corps takes notes on all calls and provides summary notes to all consulting tribes within a
day or two of the call. In this first call, Tribes were asked if they wished to review the Corps-
identified areas for tribal survey shapefile to assist with their review. Participants on the call
agreed this would be helpful.

On July 5, 2017, the Corps provided Corps-identified areas for tribal survey shapefile and
accompanying narrative. On July 6, 2017, a second conference call was held, which led to
discussion of another face-to-face meeting for THPOs to identify areas along the proposed
corridor for tribal survey, and a 3-day meeting possibly at Fond du Lac Corps drafted an
Expectations and Deliverables document that outlined the minimum information that needs to
result from this multi-day meeting. This document was emailed to all consulting Tribes on July
11, 2017, along with a general invite introduction to the multi-day meeting. The proposed dates
for this meeting are August 1-3. Consultant Bill Latady, former THPO at Bois Forte, reached out
to Tribes to discuss this THPO meeting and to help coordinate the tribal survey effort.

On July 13, 2017, a conference call was held to discuss the upcoming working THPO
consultation meeting to be held Aug 1-3 at Fond du Lac. Information needs were discussed for
the THPO meeting to include printer, projector screen and GIS layers. The Corps stated it
would be present at the meeting whenever needed by Tribes to provide information and answer
questions, especially to run the GIS to help review the corridor. Bill Latady would attend to help
gather identified areas and information and help draft the work plan, working together with
THPOs. Call participants discussed that tribal caucus would occur when Tribes determined they
needed discussion without the Corps, other agencies or the applicant present. On July 14,
2017, the Corps emailed consulting tribes a draft agenda and hotel logistics.

On August 1-3, 2017, THPOs conducted a multi-day working consultation meeting to identify
areas for tribal survey, develop and implement criteria, develop work plan, and provide to Corps
for review. THPO workgroup meetings convened again on August 17-18 and September 5-8,
2017, to continue the effort. On September 18 – 22, a 40-hour Tribal Cultural Resource
Management Training was held at Fond du Lac tribal college (classroom and field training).
Representatives from at least six Tribes participated (Fond du Lac, Mille Lacs, Northern
Arapaho, Rosebud Sioux, Santee Sioux, White Earth).

In October 2017, tribal survey started with management of the survey effort by Fond du Lac.
The survey started in Carlton County with representatives of multiple Tribes on the survey crew
and field managers. Principal Investigator was Sue Mulholland; Co-PI was Bill Latady and
Project Manager was Ben Rhodd (Rosebud Sioux Tribe). The Tribal Cultural Resources Survey




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(TCRS) was conducted for about a month before field season ended, due to arrival of winter
weather.

In December 2017, the Corps received draft Interim Report: Line 3 Corridor Tribal Cultural
Survey from Fond du Lac THPO. On January 23-24, 2018, a consultation meeting was
conducted at Fond du Lac, to discuss initial 2017 tribal cultural survey, elder interviews
component and upcoming 2018 tribal cultural survey; discuss APE and update on-going work,
including architectural surveys; composition of survey crews and management; phased
reporting; and identification and evaluation of cultural properties. The North Dakota portion of
the Project was also reviewed at this meeting.

On February 13, 2018, The Corps received a progress report from Fond du Lac on the tribal
surveys, titled Tribal Cultural Resources Management Survey of the Enbridge/Applicant
Preferred Line 3 Pipeline Route (L3 APR) Fall 2017: Progress Report. The Corps emailed this
report to all consulting tribes on February 22, 2018

On March 30, 2018, the Corps sent a letter to 39 Tribes, addressed to THPO, copy furnished to
Chairperson, with enclosures and DVD of maps of the Project corridor. Enclosure 1 was the
Corps technical review and comments on the progress report; Enclosure 2, the Corps’ most
recent letter to the Minnesota SHPO, dated March 22, 2018. This letter presents the Corps’
review of the progress report and the oral history research plan submitted by Fond du Lac; the
Corps’ determination of the APE for the Project; and the proposed level for identification of
historic properties of traditional and religious significance to Tribes within the APE.

Many consulting tribal historic preservation staff requested the Corps require tribal survey along
the entire proposed pipeline corridor. The Corps recognized the value of tribal survey and based
on the limitations of our authority over only those areas directly and indirectly impacted by
regulated activities, the Corps determined 64 miles of permit areas had higher probability for
containing cultural resources and that tribal survey was warranted in these areas. Discussions
followed between the Corps, applicant, and historic preservation staff of consulting Tribes. A
number of consultation meetings were held. In April 2018, Enbridge opened the entire line to
tribal survey including areas outside of the Corps control and responsibility.

In May 2018, Tribal Cultural Resource Survey (TCRS) resumed. The Corps had discussions
with Fond du Lac for phased reporting/progress reports. During summer through autumn 2018,
Fond du Lac managed field survey along the proposed corridor in North Dakota and Minnesota
and formed an interview team to conduct elder interviews in those tribal communities that
expressed interest. On July 19, 2018, the Corps received the first biweekly report from Fond du
Lac. Fond du Lac tried to provide phased reporting and progress reports, but data were difficult
to generate and present in a meaningful way. To best show the survey progress, shapefiles
(drafted August 8th, 20th, and September 22nd) and maps were generated, and discussions
occurred during the recurring Thursday morning tribal conference calls. On September 25,
2018, Fond du Lac provided shapefiles of TCRS progress along the entire corridor. On October
9, 2018, the Corps provided the progress shapefiles to all consulting Tribes.

On October 12, 2018, the Corps provided an updated geodatabase
(L3R_Project_Data_20180913.zip) to all consulting Tribes, showing the Project corridor in
Minnesota and North Dakota, and the status of tribal survey in Minnesota and the completed
status of tribal survey in North Dakota. The Corps highlighted that the centerline layer
("L3R_Centerline_20180913") shows three changes in alignment in Minnesota and also shows
the ~13 miles in North Dakota. Tribal cultural survey was now completed in North Dakota. In



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Minnesota, the updated centerline layer shows the re-route north and east of the Upper Rice
Lake Watershed near White Earth Reservation in Clearwater County, and then towards the
eastern end of the Project in Aitkin County the centerline continues east into St. Louis County
and then goes southeast traversing Fond du Lac Reservation following the existing pipeline
corridor into Carlton County and then rejoins the previously proposed corridor southeast of the
reservation. At the end of October, the TCRS was essentially complete, with some access
roads, slight alignment changes, and laydown yards that would continue to be investigated into
the future.

The following three paragraphs are specific to the evaluation of properties in North Dakota. The
St. Paul District permit evaluation includes work in North Dakota westward to the pump station
on the west side the Red River of the North. Work west of the pump station was reviewed by
Omaha District. However, for efficiency, St. Paul District conducted tribal consultation for all the
work in North Dakota and coordinated the results with Omaha District. The Corps received the
Line 3 North Dakota Letter Report from Fond du Lac on October 22, 2018 and sent out the Line
3 North Dakota Letter Report to all consulting Tribes, for review and comment. On January 3,
2019, the Corps received the draft North Dakota Cultural and Archaeological Report for Corps
comment from Fond du Lac. On January 11, the Corps provided comments to Fond du Lac, via
email. On January 16, 2019, the Corps received the final North Dakota Tribal Survey CRM
Report v1.0.pdf, from Fond du Lac. On January 17, 2019, the Corps provided all consulting
Tribes the North Dakota tribal survey report, and asked for review and comment. The Corps
provided the opportunity to discuss the North Dakota investigations and findings during the next
several Thursday morning recurring conference calls (e.g., January 31, February 12, February
21, March 7, etc.).

On February 6, 2019, the Corps provided all consulting Tribes, via email, the Corps’ comments
on the tribal survey North Dakota report. On March 14, 2019, the Corps received revised North
Dakota Tribal Survey Report from Fond du Lac, North Dakota Tribal Cultural Survey
Report_1.1.pdf, incorporating most of the Corps’ comments. ON April 9, 2019, the Corps
determined there would be No Adverse Effect to historic properties in North Dakota and sent
this finding to North Dakota SHPO, with copy furnished to all consulting Tribes. Enclosures
included all cultural resources investigations done along the proposed corridor, including 2013,
2014, and 2017 archaeological investigations; the TCRS North Dakota report, proposed
avoidance plan, and unanticipated discoveries plan. Both a hard copy mailing and an email
were sent to consulting Tribes.

On April 30, 2019, the Corps received concurrence with the Corps’ No Adverse Effect finding,
from North Dakota SHPO and emailed this letter to all consulting Tribes on May 6, 2019. On
April 30, 2019, the Corps received concurrence (via email) with the proposed avoidance and No
Adverse Effect finding from Crow Creek Sioux Tribe THPO [Appendix D.] On May 15, 2019, the
Corps received concurrence with the No Adverse Effect finding (via email pdf) from Northern
Cheyenne THPO. [Appendix D]

Throughout Autumn/Winter 2018-Winter 2019, elder interviews in multiple tribal communities
were conducted by the Fond du Lac interview team. On July 24, 2019, the Corps received from
Fond du Lac the Minnesota Tribal Cultural Resources Survey (TCRS) Report. The Corps had
waited for this report to schedule the next large-group consultation meeting, and began
coordinating schedules of THPO meeting participants. On August 16, 2019, the Corps
requested 50 flash drives from Enbridge with all cultural resource investigations completed
along the proposed L3R corridor in Minnesota since 2013, to include the TCRS. On September
27, 2019, the Corps sent a letter to 39 Tribes, sent to THPO and copy furnished to Chairperson,



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with a flash drive of all cultural resource investigations in Minnesota along the proposed L3R
corridor. The Corps requested Tribes review the information and provide comment. The Corps
stated there will be opportunity for discussion of the information at the upcoming consultation
meeting. [Appendix D]

On October 11, 2019, the Corps resumed coordination with Minnesota SHPO, providing its
review of all cultural resource investigations along the proposed route in Minnesota, with the
exception of the TCRS. This coordination provided eligibility determinations for
architectural/historical properties and some archaeological resources (not identified during tribal
survey). [Appendix D]. The Corps provided a copy of this letter to the consulting tribes via email
on October 22, 2019. The email clarified that this letter to Minnesota SHPO does not include
the Corps review of the TCRS submitted in July 2019 and sent to Tribes by the Corps on
September 27, 2019. The Corps stated it wants to ensure Tribes have opportunity to review
and comment on that report, and that the Corps will wait until the upcoming tribal consultation
meeting, discussion, and tribal comments before it makes any final eligibility determinations or
findings of effect.

During October and November 2019, the Corps continued coordinating dates for the December
meeting with participants and requested updated map books from Enbridge/Merjent to provide
to participants. The dates of December 10-12 were chosen. On December 5, 2019, the Corps
sent to all consulting Tribes the Minnesota SHPO response to the Corps’ October 11, 2019
letter. Also, on December 5, 2019, the Corps sent consulting Tribes a final agenda, after
receiving comments on the draft agenda.

The Tribal Consultation Meeting was held December 10-11, 2019 (The group did not need the
potential half-day on December 12, 2019). The TCRS leadership team presented findings from
the TCRS. The team included: Field Director—Mr. Jim Jones (Leech Lake Band of Ojibwe);
Principal Investigator—Mr. Jim Cummings (Consulting Archaeologist); Project Manager—Mr.
Joe McFarlane (Consulting Archaeologist); and, Fond du Lac THPO—Ms. Jill Hoppe.
Participants at the meeting asked questions and requested information requested, and the
TCRS team, the Corps, Minnesota SHPO representatives, the Minnesota DNR archaeologist
and Enbridge provided answers and information. Map books and reports were referenced while
the TCRS team presented and discussed the investigation, findings, and recommendations.
Much discussion occurred about one site, with questions from the group about avoidance.
Enbridge had planned to avoid the site following the TSCRS recommendations, but meeting
discussion led to Enbridge proposing an improved avoidance plan that would completely avoid
any potential resources associated with the site. Participants discussed that an Addendum to
the TCRS report, for work conducted during the 2019 field season in direct response to the
TCRS recommendations and new staging and laydown yards from the applicant, would be
prepared by Fond du Lac and submitted to the Corps, and the Corps would then provide to all
consulting tribes.

On December 17, 2019, the Corps emailed consulting THPOs a summary of the December 10-
11 meeting including sign-in sheets. The Corps asked consulting tribes to review the notes and
provide any edits (no edits were requested). Consulting tribes were reminded that the final 30-
day comment period closes on January 10, 2020 and tribes were encouraged to finish their
review of the TCRS report and Enbridge's proposed plan to avoid all resources and implement a
tribal monitoring plan during construction. The Corps suggested consulting tribes might want to
consider the following as they complete review of the L3R TCRS report and submit comment:
whether methods, investigations, level of effort, fieldwork, reporting was appropriate; and
whether they agree with findings and recommendations (avoidance of identified resources and



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tribal monitoring at sensitive locations). The Corps provided a reminder of recurring Thursday
morning conference calls, which will continue either biweekly or weekly. The Corps included a
reminder as well to expect the addendum to the TCRS report. On December 19, 2019, the
Corps provided all consulting Tribes the tribal consultation history for the L3R Project as
requested during the December 10-11 meeting.

The Corps received comments from five THPOs on behalf of their Tribe and their historic
preservation responsibilities, to include Rosebud Sioux Tribe, Northern Cheyenne, Lower Sioux
Indian Community, Leech Lake Band of Ojibwe, and White Earth Band of the Minnesota
Chippewa Tribe. In general, comments expressed support and agreement with the TCRS and
interview report findings and recommendations. Comments reflected discussion during the
December 2019 consultation meeting, appreciation for the tribal perspective in the field, in the
interviews, and in the report product (“it tells a story”). A couple of questions asked were site-
specific or whether the recommended avoidance would be followed. Agreement was expressed
with the Recommendations from the TCRS report for additional work at specific locations, which
was discussed during the December 2019 consultation meeting (and provided in the
forthcoming Addendum). The Corps’ upcoming coordination with Minnesota SHPO, which will
be provided to all consulting Tribe THPOs for their review and comment, will address those
inquiries. The Corps will make its final determinations of eligibility and findings of effect based
on all the investigations for this Project: TCRS effort and the tribal perspective, including the
pending Addendum; traditional archaeological investigations; architectural investigations;
viewshed analyses; and geomorphological studies.

On January 7, 2020, the Lower Sioux Indian Community (THPO) submitted formal comment via
email. They stated the tribal cultural methods and investigations were appropriate and
concurred with the TCRS avoidance recommendations. They requested the completion of
survey and evaluation on warranted areas, from the TCRS report recommendations. Lastly,
they requested additional information on the upcoming opportunity for tribal monitoring during
construction activities.

Response: The survey and evaluation of the areas warranting additional work as
recommended within the 2018 TCRS report was completed during the 2019 field work season
and discussed during the DEC 2019 consultation meeting. The findings and recommendations
were provided in report form in the Addendum. Additional information was provided to Lower
Sioux THPO, as well as all consulting Tribes tribal historic preservation staff, of the opportunities
for the upcoming tribal monitoring training during the Thursday morning recurring meetings, the
notes of those meetings sent to all consulting Tribes, and also within additional email
communications from the Corps Tribal Liaison. The training was held the first three weeks of
November, by the Fond du Lac Band, with participants representing a number of consulting
Tribes.

On January 9, 2020, the Rosebud Sioux Tribe (THPO) submitted formal comment via email.
They provided formal comment on the TCRS report as written and discussed during the
December consultation meeting. The THPO “has no issues with the content of the report nor
recommendations listed therein. Avoidance of sites recognized and recorded was and is the
key factor of this endeavor as far as the RST-HPO is concerned. The next key step is the
construction monitoring and monitoring of ground disturbance over all of the project corridor.”

Response: The Avoidance, Mitigation, and Implementation Plan for Construction (AMIP) was
drafted in response to consultation with Tribes and the MN SHPO. The draft AMIP would be
provided to consulting Tribes for their review and input. The AMIP implements the TCRS



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recommended avoidance, minimization, and protection measures at identified resources of
concern to Tribes, and the tribal monitoring plan for construction.

On January 10, 2020, the Leech Lake Band of Ojibwe (THPO) and the White Earth Band of the
Minnesota Chippewa Tribe (THPO) submitted formal comments via email. Both concurred with
the TCRS report findings and recommendations for additional survey, avoidance of resources,
and additional recommendations listed at conclusion of the TCRS report. For example,
mitigation efforts for fruit and nut-bearing trees and shrubs, effects on wild rice as a tribal
cultural resource, and more information at crossings of ancient and historic trails. In addition,
White Earth THPO listed more concerns, to include already threatened and endangered plants
and animals, water quality, concern with accelerated nature of this project review, the Band’s
opposition to the project, and the “lack of interest in meaningful tribal consultation that Enbridge
has shown.”

Response: The survey and evaluation of the areas warranting additional work, as
recommended within the 2018 TCRS report, was completed during the 2019 field work season
and discussed during the DEC 2019 consultation meeting. The findings and recommendations
were provided in report form in the Addendum. Avoidance of resources and the protection
measures as recommended within the TCRS report are included within the AMIP. The AMIP
implements the TCRS-recommended avoidance, minimization, and protection measures at
identified resources of concern to Tribes, and the tribal monitoring plan for construction. The
recommended mitigation of fruit- and nut-bearing trees and shrubs is outside of the Corps
control and responsibility. Efforts to minimize the construction related impacts to wild rice are
discussed in Section 6.8 above. Detailed information was presented within the TCRS report
and within the AMIP that outlines the process for construction at or near potential historic trail
locations; tribal monitoring during construction is required at all potential trail locations. Effects
to threatened and endangered species and consultation with the USFWS are described in
Section 6.4.1 of this document.

On February 19, 2020, the Corps received Addendum 1 for the Tribal Cultural Resource
Management Survey of the Enbridge Line 3 Replacement Project from Fond du Lac THPO. The
tribal survey team returned to select locations (recommended for further work in the TCRS
report 2018) and surveyed an additional 91 facility adjustment areas. In addition, the
Addendum corrected errors from the TCRS report and provided the state-assigned OSA
numbers for 22 tribal survey-identified resources in 2018. This work was discussed during the
Thursday morning conference calls in 2019 and during the DEC 2019 consultation meeting at
Black Bear.

The Corps prepared its eligibility determinations and findings of effect based on consideration of
all reports received, all comments from consulting tribes, the applicant’s proposed avoidance
and minimization of impacts to identified significant resources, and discussion during the
December 2019 consultation meeting. As described above in Section 11.3, the Corps came to
a finding of No Adverse Effect based on avoidance of significant resources. The tribal survey
identified 22 new archaeological resources. The Corps provided its eligibility determinations for
20 resources, as at least two resources were now far removed from the Corps’ APE (due to
avoidance measures of re-route or alignment shifts). The Corps determined that three sites
(two previously identified - 21MA0039 and 21HB0082, and one newly identified - 21CE0098)
are eligible for listing in the NRHP. In total, 15 locations were recommended for avoidance in
the TCRS report. Enbridge developed avoidance measures at each location. based on
recommendations from the TCRS report, to include re-routes and alignment shifts of the
pipeline corridor to avoid significant/eligible resources, tribal monitoring during construction, and



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the traditional archaeological and geomorphological investigations and monitoring during
construction. On March 20, 2020, the Corps’ submitted coordination of final eligibility
determinations and effect finding (historic properties would not be adversely affected) for the
proposed undertaking to Minnesota SHPO.

On March 26, 2020, the Corps sent to consulting Tribes, via USPS, a hard copy of THPO’s
letter, hard copy of coordination letter to the Minnesota SHPO, and flash drive with the
enclosures and reports. The Corps sent via email on March 27, 2020, its coordination letter
(and all enclosures) to the MN SHPO of final eligibility determinations and effect finding (No
Adverse Effect to Historic Properties) for the proposed undertaking, the THPO letter, and those
recent reports (less any mapping that was too big for email, so on the flash drive) for their
review and comment. [Appendix D]

In response to COVID-19, SHPOs and THPOs began teleworking, working limited hours, with
some THPO offices closed for a short period of time beginning in late March. Tolling was
invoked by some tribal historic preservation staff. Tolling was invoked by the Minnesota SHPO.
On April 16, 2020, Minnesota SHPO emailed a request for extending its review period an
additional 15 days to May 7, 2020. The Corps approved the 15-day extension granted on April
23, 2020. On May 1, 2020, the Corps provided additional information to Minnesota SHPO, and
consulting Tribes, consisting of the draft monitoring plans (tribal, archaeological,
geomorphological), unanticipated discoveries plan, avoidance/protection measures of resources
from the recommendations within the TCRS report, procedures and processes, monitoring
forms, roles, etc. [Appendix D]. The draft document Avoidance, Mitigation, and Implementation
Plan for Construction (AMIP) was provided for their review and comment, and to support the No
Adverse Effect finding. Enbridge, its cultural resources consultants, and Fond du Lac (tribal
monitoring plan portion) worked together to create this document.

By email on May 4, 2020, Bois Forte Band of the Minnesota Chippewa Tribe (THPO) submitted
questions to the Corps. They asked what precautions will be taken when construction
encounters a historic location listed as NRHP Eligible (information indicates that construction
would “Proceed with Caution” but what does this practically mean?) They asked what
happened or will happen with the artifacts that are “pre-contact” that are near or within the
projected area of disturbance? They also asked about the locations of the culture resources
survey (when it breaks off from the projected route, was that that the old proposed routes?) and
they asked if or how the Clean Water Act could be in effect in areas that pass by the Itasca
State Park either with groundwater or subsurface water?

Response: No NRHP-eligible properties are planned to be impacted. All known historic
properties are avoided. Additionally, tribal cultural and archaeological properties not considered
eligible for listing, are avoided or impacts minimized with protection measures proposed by the
TCRS report and implemented within the AMIP. Examples of “proceed with caution” include
temporary matting and flagging known property boundaries to avoid equipment damaging the
resource. There are no direct impacts to these resources through the protection measures.
Should inadvertent discoveries occur, including those significant enough to be considered
eligible, the AMIP includes the Unanticipated Discoveries Plan (UDP). During tribal monitoring,
should discoveries occur, work-stop authority is outlined and then the process and procedures
for evaluating the discovered resources would occur. If the resources are deemed significant
and considered eligible for listing, the mitigation process would occur. Should artifacts be
discovered within a Corps permit area, State law (Minnesota Field Archaeology Act) defines
custody and use of artifact and collected data. Correct, locations within the map books that
show a “break” in cultural resources survey may indicate portions of the formerly proposed SPP,



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re-routes of the L3R corridor (e.g., avoidance of the Wild Rice River Watershed), and re-
alignments of the L3R corridor to avoid significant resources. In some cases, archaeological and
tribal survey occurred multiple times within an area to avoid resources, for example, surrounding
the Dakota Village site. Lastly, groundwater or subsurface water effects are beyond our control
and authority under Section 404 of the Clean Water Act.

By email on May 6, 2020, Northern Cheyenne (THPO) submitted formal comment. The THPO
stated they were able to get a better idea of the importance of the avoidance measures for sites
in the addendum, many of which were discussed during the December meeting. Their office
concurred with the TCS monitoring measures for avoidance in Addendum 1 for the following:
Waukenabo Lake Trail, MN-CA-C5-067.000 stone feature, and 21CE0098. Additionally, due to
the large number of pre-historic sites, it is critical that monitoring occur at each site throughout
the entirety of the pipeline. Essentially, TCS will need to be on-site throughout majority of the
pipeline construction. Regarding the reconnaissance study information including 18 newly
identified sites, the THPO advises that all mitigation and/or avoidance measures be taken, along
with TCS monitoring during construction.

Response: The applicant’s AMIP proposes to implement the recommendations and
avoidance/protection measures at these resources, and implement the tribal monitoring plan.

On May 7, 2020, the Minnesota SHPO provided its review and comment of the Corps’ March
20, 2020 coordination with its office, and consulting Tribes. In summary, it concurred with the
Corps’ eligibility determinations and finding of effect (No Adverse Effect), based on the
proposed avoidance and minimization efforts and the monitoring during construction. On May 8,
2020, the Corps provided the SHPO concurrence letter to all consulting Tribes, via email.
[Appendix D]

ON May 14, 2020, three THPOs asked if the review comment period could be extended. The
first 15-day extension put the due date at May 12, 2020. Based on past submitted comments on
the L3R Project and the complications of everyone’s schedules due to COVID-19, the Corps
made the decision to extend the review period to June 11, 2020 and communicated this to the
THPOs via email.

On May 18, 2020, Fond du Lac Band of the Minnesota Chippewa Tribe (THPO) submitted
formal comment via email. They stated that “Considering the contribution from Consulting
Tribes and the comprehensive identification efforts associated with this Section 106 review,
combined with the collective results of the multi-disciplinary investigations spanning several
years emphasize the value of the cultural/natural resources within the Ceded Territories crossed
by the proposed Enbridge L3R to the Ojibwe Nation and all Tribes ancestral to this geographic
region….The multi-disciplinary approach encompassed both standard archaeology and Tribal
input. This all-inclusive identification effort adds meaning and increased awareness in regard to
the value of cultural resources within the Ceded Territories and offers a platform for future Tribal
Cultural Resource Survey and involvement.” Fond du Lac stated they concur with the Corps’
finding that the Federal undertaking, as it is currently proposed, would not adversely affect
historic properties. Fond du Lac made several recommendations, some of which will be
incorporated as special conditions of any permit issued and others that the Corps does not have
the authority to require. Their recommendations and the Corps response follow:

Recommendation: The installation of the Enbridge L3 proceed with caution around all water
crossings, including those intended for hydro-testing, and all phases of site preparation, pipe
installation and any future maintenance activities be monitored by Tribal Monitors.



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Response: The applicant’s AMIP proposes to implement the recommendations and protection
measures at these resources.

Recommendation: It is recommended that the Enbridge L3 Project proceed with caution
around all ancient and historic trail crossings listed in this report and all phases of site
preparation, pipe installation and any future maintenance activities be monitored by Tribal
Monitors.

Response: The applicant’s AMIP proposes to implement the recommendations and protection
measures at these resources.

Recommendation: It is recommended that the Enbridge L3 Project proceed with caution
around pre-contact archaeological sites and all phases of site preparation, pipe installation and
any future maintenance activities be monitored by Tribal Monitors.

Response: The applicant’s AMIP proposes to implement the recommendations and protection
measures at these resources.

Recommendation: It is recommended that the Enbridge L3 Project proceed with caution in
areas of historic sites and all phases of site preparation, pipeline installation and any future
maintenance activities be monitored by Tribal Monitors.

Response: The applicant’s AMIP proposes to implement the recommendations and protection
measures at these resources.

Recommendation: The following sites contain cultural materials that demonstrate an
extended history of Tribal cultural use in the area and are contributing elements to the cultural
corridors. Enbridge has taken measures to avoid these sites: 21KT0065, 21MA0076,
21MA0085, 21MA0084, 21MA0039, 21PE0028, 21CE0098, 21HB0100, 21HB0082, 21HB0071,
21HB0084, 21HB0089, 21WD0028, 21WD0069.

Response: Enbridge considered the recommendations and protection requests from the TCRS
recommendations, and has taken measures to minimize potential impacts and avoid these
resources.


Recommendation: Mitigation is recommended for stands of fruit and nut bearing
trees and shrubs that are identified during the timber assessment on state forest and federal
lands where harvesting is allowed. Trees and shrubs lost to construction should be replaced to
allow Tribal harvests to continue. Plantings should be in clusters to accommodate harvesting.
Consultation with Tribal Resource Managers to determine the best location for replacement is
recommended.

Response: This is outside of the Corps control and responsibility to require mitigation for
stands of fruit and nut bearing trees and shrubs. Requests for additional mitigation measures
outside of the Corps’ regulatory authority could be directed to the applicant to consider as a
voluntary measure.

Recommendation: The pipeline corridor right-of-way permanently removes forest cover, which




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fragments the forest and encourages the overgrowth of invasive species such as wild parsnip.
Wild parsnip contains chemicals that cause severe dermatitis, making it problematic for
harvesting/gathering medicinal plants, berries, and other forest products in infested areas.
Pipeline construction and maintenance activities have also introduced purple loosestrife, sweet
clover, tansy, and spotted knapweed to new areas along the pipeline corridor in areas that may
be difficult to access for proper control efforts. The presence of invasive species diminishes
resources on the Reservations and in the Ceded Territories. It is recommended that Enbridge
continue to work closely with Tribes in regard to on-reservation and Ceded Territories control of
invasive species.

Response: Enbridge has also developed an invasive and noxious species management plan,
included as Appendix B of the Environmental Protection Plan, which identifies BMPs and
measures that will be taken to reduce the potential for the spread of invasive species.
Management of invasive species is also included in the Post Construction Monitoring Plan
which is included by reference as a special condition of the DA permit. In addition to managing
invasive species, Enbridge will also be required to restore wetlands and waterbodies, and meet
vegetative performance standards to ensure successful restoration, thus reducing the potential
for establishment of invasive plant species.

Recommendation: The pipeline corridor has altered hydrological flow in specific areas. It is
recommended that Enbridge continue to work closely with Tribal Resource Managers and
credentialed experts in regard to resolution and restoration of hydrological flow.

Response: It is outside of the Corps control and responsibility to require Enbridge to resolve
secondary effects of previous pipelines. The Line 3 Replacement project does include robust
post construction monitoring to ensure there are no secondary effects to vegetation or hydrology
as a result of the project. Unanticipated effects would be required to be remediated or
mitigated.

Recommendation: The emphasis on extractive industries has displaced the traditional
lifeways of Indigenous People in many areas of North America. Any diminishment of natural
resources or access to those resources in certain Ceded Territories amounts to a diminishment
of Treaty-protected rights. It is recommended that Enbridge continue to work closely with Tribes
in regard to mitigation of resources that have been diminished by the pipeline corridor.

Response: Effects to Corps-regulated resources are primarily temporary and would be avoided
and minimized as detailed in this document. Compensatory mitigation would be provided to
offset unavoidable effects.

Recommendation: The increase in capacity for pumping oil and bitumen will result in impacts
to the climate, which must be accounted for through quantification of climate change impacts.
Any new oil transportation infrastructure will lead to increasing greenhouse-gas emissions,
reducing the chance of meeting pollution-reduction targets worldwide. It is recommended that
Enbridge consider contributions towards alternative energy and sustainable development.

Response: This is outside of the Corps control and responsibility to request a third party to
consider investing in alternative energy and sustainable development.

Recommendation: The Enbridge L3 traverses numerous wetlands, streams, lakes, and
fisheries in lands ceded by the Ojibwe in Minnesota. The quality of these waters is vitally
important to Band members. Possible effects from contaminated water include disruption of the



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Bands’ traditional lifeways based on the harvest of fresh water fish, game, wild rice and other
aquatic plants and animals that are culturally significant to the Bands. It is recommended that
Enbridge continue to consult with Tribal Resource Managers to ensure protection of these
irreplaceable resources.

Response: With respect to the discharge of dredged and fill material into waters of the U.S.,
measures to minimize effects from activities regulated by the Corps are described in earlier
sections of this document. These measures would ensure that discharges of dredged and fill
material do not adversely impact water quality. On April 15, 2020 the Fond du Lac reservation
issued the Section 401 Water Quality Certification for the portion of the Project that crosses the
Fond du Lac reservation and on January 31, 2019 the North Dakota Department of Health
issued the individual Section 401 Water Quality Certification for the portion of the project within
the state of North Dakota that is being reviewed by St. Paul District. On November 13, 2020,
the MPCA issued a Section 401 Water Quality Certification for the discharge of dredged and fill
material into waters. Individual water quality certifications are included in Appendix B of this
document. Overall, impacts to water quality are not expected to exceed regulatory limits.
Discharges from construction and appropriation are subject to the MPCA NPDES permit.

The MPCA Individual Section 401 Water Quality Certification prohibits Enbridge from
conducting in-channel work in waters in close proximity to known wild rice waters, identified in
Table 5.4-1 in Enbridge’s Antidegradation Assessment for Section 401 Water Quality
Certification, from April 1 through July 15.

Effects to water quality are expected during construction; however, these effects are anticipated
to be minor and temporary. Water quality would return to normal after construction and
restoration of the impacted areas

Recommendation: The pipeline right-of-way permanently removes forest cover which
fragments the forest and leaves unnatural open spaces which may lead to reduction of wildlife
habitat and animal pattern/migration changes. It is recommended that Enbridge continue to
consult with Tribal Resource Management staff in regard to mitigation efforts.

Response: Enbridge is required to provide compensatory mitigation for conversion of forested
and scrub-shrub wetlands. See Section 8.0 of this document for additional details on
compensatory mitigation. Requests for additional mitigation measures outside of the Corps’
control and responsibility could be directed to the applicant to consider as a voluntary measure.

Recommendation: The United States is currently dependent on crude oil, but it would be
advantageous to reduce this dependence on a non-renewable fuel source to the greatest
degree possible. The construction of new crude oil pipelines and the increase in capacities of
existing pipelines instead encourage an increase in dependence. It is recommended that
Enbridge consider investing in alternative energy in addition to oil production.

Response: This is outside of the Corps’ control and responsibility.

Recommendation: The 2015 Earth Economics eco-system valuation of the St. Louis River
Watershed found it provides an estimated $5 billion to $14 billion in ecosystem service benefits
yearly. It is recommended that a similar study of eco-systems that could be impacted by Line 3
be done by an independent third party.

Response: This is outside of the Corps’ control and responsibility.



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In May and June, 2020, the Corps provided weekly reminders, either during the Thursday
morning conference call or the emails with the call notes, or an email during the week with no
conference call, to submit comment by June 11, 2020. No additional comments from consulting
Tribes were submitted during the additional 30-day extension. Comments submitted were
addressed as described above.

In early July 2020, the Corps received the revised AMIP, incorporating Corps and Fond du Lac
comments. Most notably, the AMIP was reorganized, making it more direct and easier to
understand and better describing processes and procedures such as work-stop authority, the
tribal monitoring plan and the unanticipated discoveries plan.

On July 23, 2020, the Corps provided the revised draft AMIP to all consulting parties: the
Minnesota SHPO, MDNR, and Tribes, for review and comment. The Corps asked for comments
to be submitted by August 31, 2020. No comments or concerns received. The AMIP includes
the Tribal Monitoring Plan and unanticipated discoveries plan, to ensure participation of
interested Tribes, via Fond du Lac THPO as Fond du Lac has contracted with Enbridge similar
to the tribal survey effort, to manage the tribal monitoring component during construction
activities. Three one-week tribal monitoring trainings, hosted by Fond du Lac, were proposed.
Should discoveries occur within the Corps permit areas, the Corps remains the responsible
Federal agency. Special Condition language to be developed to ensure Enbridge complies with
its commitment of avoidance measures and minimization efforts of significant resources, the
construction monitoring plans (a State requirement), and unanticipated discoveries plan and
process procedures.

In September 2020, Fond du Lac finalized the first three weeks in November for the tribal
monitoring training. Three one-week (40-hour) trainings were planned to train up to 20
participants per session, for a total of up to 60 tribal monitors for potential upcoming work on the
L3R Project. This was discussed during the Thursday morning meetings.

On October 1, 2020, the Corps held the 86th recurring Thursday morning tribal L3R consultation
conference call using a WebEx meeting. October 20, 2020, the Corps provided the final AMIP
and appendices to all consulting parties including Tribes, via letter submittal to the Minnesota
SHPO.

Any permit issued by the Corps will contain a special condition that requires the permittee’s
compliance with the Avoidance, Mitigation, and Implementation Plan for Construction. This
plan:
    • Requires implementation of avoidance, minimization, and protection measures before
       and during construction as recommended by the tribal investigations
    • Requires tribal monitoring throughout construction and
    • Outlines a process to follow should discoveries be made during construction.

Following issuance of any Section 10/404 permit, the Corps will continue to host biweekly
recurring Thursday morning meetings, with the next meeting to be held on December 10.
These meetings will continue in order to keep consulting tribes informed and channels of
communication open should construction begin.


Government to Government Tribal Consultation




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Government to government tribal consultation, beyond tribal consultation under the Section 106
process of the NHPA, was offered for local Ojibwe Bands (of the Minnesota Chippewa Tribe, or
MCT) and the Red Lake Nation (not part of the MCT), those residing closest to the proposed
L3R corridor and within which the proposed pipeline would traverse ceded lands. Early initial
meetings were held summer 2014, while the Project was still the proposed Sandpiper pipeline
(SPP). St. Paul District Regulatory staff and leadership (Branch Chief, Cultural Resources
Manager, Project Manager) met with White Earth Band and Red Lake Nation. During the
following years, tribal consultation was continually occurring under the NHPA. In fall 2019, the
St. Paul District Regulatory Tribal Liaison began reaching out to local Bands (Leech Lake Band
of Ojibwe, Red Lake, White Earth, Mille Lacs, Fond du Lac, and Bois Forte) to ask if tribal
leadership was interested in meeting with Corps leadership to consult on the proposed L3R
Project, hear their concerns, answer their questions, and provide information of our involvement
in the potential permitting of the proposal. The following provides some dates and details of
contacts with tribal leadership.

On November 26, 2019, the Corps’ Tribal Liaison contacted (phone and email attempts) leaders
of the six local Bands, and confirmed Red Lake would like a consultation meeting and began
working on scheduling. The Corps left voicemail messages with five other Tribes. In addition,
the Tribal Liaison contacted the THPO of each Band, prior to these calls, to provide notice of
reaching out to their Chairpersons/Executive Admins.

The District Engineer and Regulatory Branch Chief attended a half day of the two-day tribal
consultation meeting conducted on December 10-11, 2019.

On January 15, 2020, the Corps’ Tribal Liaison contacted Chairpersons of the five Bands that
did not respond to the November 26, 2019 contact, leaving voicemails. The Tribal Liaison
continued working on scheduling the Red Lake meeting. On February 5, 2020, the Tribal Liaison
attempted to contact Chairpersons, or the point of contact directed to contact for this Project, of
the five Bands that had not yet responded.

On March 9, 2020 the District Engineer, Tribal Liaison, Technical Services Section Chief and
Northwest Section Chief met with the Red Lake Nation at the tribal headquarters in Red Lake,
MN. The Red Lake Nation expressed that the project as proposed would adversely impact their
treaty rights. The Corps provided information on the limits and responsibilities of its authorities,
specifically that the Corps cannot control the entire pipeline construction or operation, but rather
has responsibility to evaluate effects from the activities that are within its control, i.e.., regulated
activities in waters and activities in nearby upland impacted in association with waterbody
crossings.

On March 26, 2020, the Corps sent a letter to the five Bands that had not yet responded to
formally invite them to participate in a consultation meeting. The letter was sent via USPS to
Band leaders and copy furnished, via email, to the THPO. The Corps requested the
Chairperson respond within 15 days if they wish to meet and offered the option to meet via
teleconference due to COVID-19 potential impacts and restrictions. The Corps did not receive
any response to this letter.

On May 29, 2020,the Tribal Liaison emailed a copy of the March 26, 2020 letter to the
Chairperson or the designated point of contact for L3R for the Band (for Mille Lacs) and asked
for response if they wished to meet. No email address was available for the Chairpersons of the
Bois Forte Band or the Leech Lake Band of Ojibwe, so the Tribal Liaison left a voicemail
message for the Chairperson. No response was received from tribal leadership.



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June 5, 2020 The Tribal Liaison emailed the Chairpersons of the Bois Forte and Leech Lake
Band of Ojibwe the March letter and asked for response if they wished to meet, after obtaining
their email addresses from the THPO. No response was received from tribal leadership.


11.14 EXECUTIVE ORDER 11988: FLOODPLAIN
MANAGEMENT
The Project has been evaluated consistent with the intent of EO 11988. Portions of the Project
would cross FEMA mapped 100-year floodplains. Impacts to floodplains are discussed in detail
in Sections 7.11 and 7.12 of this document.

11.15 EXECUTIVE ORDER 12898: ENVIRONMENTAL JUSTICE
Executive Order (E.O.) 12898 directs federal agencies to identify and address, as appropriate,
any disproportionately high adverse human health or environmental effects of federal actions to
minority and/or low-income populations. Its purpose is to focus federal attention on the
environmental and human health effects of federal actions on minority and low-income
populations with the goal of achieving environmental protection for all communities. Public
involvement, via Public Notices, as well as Tribal coordination and consultation concerning the
Project, has been an integral part of planning for this Project to ensure that concerns of all
people are considered in the decision-making process. As informed by CEQ’s Environmental
Justice Guidance Under the National Environmental Policy Act (1997), the identification of a
disproportionately high and adverse impact on minority and low income populations does not
preclude a proposed agency action from going forward, nor does it necessarily compel a
conclusion that a proposed action is environmentally unsatisfactory. If an agency determines
there is a disproportionately high and adverse impact to minority populations and low-income
populations, an agency may wish to consider heightening its focus on meaningful public
engagement regarding community preferences, considering an appropriate range of alternatives
(including alternative sites), and mitigation and monitoring measures.

The methodology, consistent with E.O. 12898, to accomplish this Environmental Justice (EJ)
analysis includes identifying low-income and minority populations within the Enbridge Line 3
replacement Project corridor using the EJ Screen Mapper Tool
(https://ejscreen.epa.gov/mapper/) developed by the Environmental Protection Agency as well
as information provide in Chapter 11 of the State EIS completed by the Minnesota Department
of Commerce (MDOC). The MDOC conducted the analysis using National guidance including,
the Council on Environmental Quality’s (CEQ’s) “Environmental Justice: Guidance Under the
National Environmental Policy Act” (1997) and the U.S. Environmental Protection Agency’s
(EPA’s) “Promising Practices for EJ Methodologies in NEPA Reviews” (EPA Promising
Practices) (2016). See Chapter 11 of the State EIS for specific details on the methodology of
this analysis.

The following guidelines below were used by the MDOC in the State EIS to compare census
tract data to county data and is consistent with the EPA Promising Practices guiding principles:
            • Minority populations were determined to be present in an area when the
                percentage of minority group or low-income population exceeded 50 percent of
                the county population, or was “meaningfully greater” than the general population
                of the county.
            • A difference of 10 percentage points or more was used to determine whether the
                percentage of a minority or low-income group in a census tract in the Region of



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               Interest (ROI) was “meaningfully greater” than that group’s percentage in the
               respective county.
           •   Minority populations were calculated as the populations excluding those persons
               who self-reported as being white (and no other race) and not Hispanic or Latino.
               The minority population includes persons who self-reported as Black or African
               American, American Indian or Alaska Native, Asian, Native Hawaiian or Pacific
               Islander, some other race, having two or more races, or being of Hispanic or
               Latino origin.

   •   Low-income populations were determined to be present in an area when the percentage
       of minority group or low-income population exceeded 50 percent of the county
       population, or was “meaningfully greater” than the general population of the county.

            • Department of Commerce utilized recommendations from the MPCA for
              determining low-income populations. Low-income populations are those
              individuals with income below 185 percent of the poverty level. The analysis
              used a difference of 10 percentage points or more to establish the “meaningfully
              greater” measure consistent with the comparison of minority populations.

The Project would cross through a total of 13 Counties and a total of 128 census tracts, which
are predominantly rural. The Project would cross census tracts with a meaningfully higher
minority population than the surrounding county including one tract in Cass County (Tract
9400.2), one tract in Clearwater County (Tract 2), one tract in Polk County (Tract 207), and
seven tracts in St. Louis County (Tracts 112, 12, 131, 155, 156, 16, 18, and 19). Of the census
tracts crossed that contain a meaningful higher minority population, a total of six tracts contain
Native American populations that exceeds the County level by more than 10%: Carlton County
(46.9%), Cass County (69.2%), Clearwater County (23.2%), and St. Louis County (16.5%,
21.9%, and 17.5%). The census tract in Clearwater County (Tract 2) includes a portion of the
White Earth Reservation. While the Project crosses the tract, the Project does not cross the
reservation itself. The Project does cross the Fond du Lac Reservation and also crosses ceded
lands on which tribes exercise their treaty rights to access tribal resources.

None of the census tracts crossed by the Project has a meaningfully greater proportion of the
population with income less than 185 percent of the poverty level compared to their respective
county level.

The Project would cross the Lost River at Mile Post 885.8, which is a federal Project and
requires Section 408 permission from the Corps. Details regarding the Federal Project are
included in the Section 408 Environmental Assessment, Appendix E, of this document. This
crossing is not located in a Tract with meaningful higher minority populations or low-income
populations.

Conclusion:
Most of the impacts associated with the Project would be construction-related and would be
considered short term and localized primarily along the pipeline. Long-term impacts associated
with operation would generally be limited to maintenance of a permanent pipeline right-of-way
and presence of pump stations.

Based on information available to the Corps, including the information provided in the State EIS,
as well as the details of the Project that is within the Corps’ regulatory authority, the Project
would not have disproportionately high and adverse impacts to minority populations.



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Construction, operation, or an accidental release at the Lost River crossing would not result in
disproportionate and adverse effects to meaningful higher minority populations or low-income
populations. See Section 408 discussion in Appendix E. Review of the Project included robust
coordination with Tribes to ensure mitigative measures would be taken to reduce any adverse
effects to Tribal resources. Please see Section 11.13 for details regarding Tribal coordination
and consultation. In addition, public input was sought through the issuance of two separate
Public Notices. See Section 4 of this document for details regarding public involvement.




11.16 EXECUTIVE ORDER 13112, AS AMENDED BY EXECUTIVE
ORDER 137511, INVASIVE SPECIES
Enbridge has also developed an invasive and noxious species management plan, included as
Appendix B of the Environmental Protection Plan, which identifies BMPs and measures that will
be taken to reduce the potential for the spread of invasive species. Management of invasive
species is also included in the Post Construction Monitoring Plan which is included by reference
as a special condition of the DA permit.




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                              Appendix A

                  Public Notice Comments and Responses

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FIRST PUBLIC NOTICE COMMENTS AND RESPONSES

Several commenters requested a PN extension as well as a public hearing.

Response: The Corps granted an extension of the public notice from January 21, 2019 to
February 21, 2019. The Corps has considered the request for a public hearing and reviewed
the public hearing requirements set forth in 33 CFR 327, and has made a determination that
they will not be conducting a public hearing. 33 CFR 327(b) states the Corps shall grant a public
hearing request, unless the district engineer determines that the issues raised are insubstantial
or there is otherwise no valid interest to be served by a hearing. The applicant has retained a
qualified consulting firm and several agencies have been involved in the review of the
application. The Corps does not believe a public hearing would generate new information that
would change or inform the review process.

Several commenters provide support for the project and indicated approximately 8,600 potential
jobs would be connected to the project.

Response: Comment noted

Multiple commenters requested the Corp prepare an Environmental Impact Statement/ Decision
to jump to EA and indicted that the Corps Cannot Adopt the State-Level EIS Prepared by the
Minnesota DOC.

Response: The National Environmental Policy Act (NEPA) requires federal agencies to
determine if their federal action is a “major federal action” and, if so, whether impacts to the
human environment are significant. A major federal action “includes actions with effects that
may be major and which are potentially subject to Federal control and responsibility.” (40 CFR
1508.18). If the effects of the action are determined to be significant, the agency must prepare
an Environmental Impact Statement. The Council on Environmental Quality (CEQ) regulations
state that an Environmental Impact Statement (EIS) “…shall provide full and fair discussion of
significant environmental impacts and shall inform decision makers and the public of the
reasonable alternatives which would avoid or minimize adverse impacts or enhance the quality
of the human environment.” (40 CFR 1502.1). Generally, oil pipeline projects are not “major
federal actions” for USACE since USACE has limited jurisdiction over activities associated with
pipeline construction.

The USACE evaluated the application for construction-related impacts to waters of the U.S. and
one crossing of a federal project. Construction-related impacts of utility line projects to waters of
the US are, in general, mostly temporary in nature and can be adequately assessed in an EA
that is compliant with NEPA. Elevation of the environmental review from an EA to an EIS is not
necessary to adequately disclose and address the environmental and public interest impacts of
the project that are within our regulatory authority.

Information regarding effects of the overall project were disclosed in the State EIS, approved by
the PUC on May 1, 2018. Proposed construction impacts to aquatic resources and to other
public interest factors within the scope of our regulatory purview were reviewed or evaluated
independently by the Corps, as well as by the USFWS, BIA, USEPA, consulting Tribes, and
state agencies (DNR, PCA, SHPO). The Corps did not adopt a State-level EIS, rather, utilized
information provide in the State EIS that was within the Corps’ regulatory authority, as well as
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coordinated with State agencies, as to not duplicate additional review requirements to the
maximum extent practicable.

Several Commenters questioned the applicant’s purpose and need.

Response: The applicant's purpose and need statement provides the basis for developing a
range of alternatives, the criteria for comparative evaluation of alternatives, and the basis of
criteria for selecting the preferred alternative. It dictates the range of alternatives which may be
considered reasonable, prudent, and practicable, consistent with the environmental process
requirements of NEPA and the 404 (b)(1) guidelines. The purpose and need statement and the
alternatives to the designated route were examined throughout the State EIS and project
development processes. The Corps does not consider the applicant's purpose and need
statement for the designated route to be so narrow in definition or so specific that it
predetermines the outcome or eliminates otherwise reasonable alternatives, nor does it
consider it to be too vague that evaluation criteria or measurable objectives cannot be
determined. See section X of the EA for additional details on the applicant’s purpose and need

Two commenters asserted that the Corps must evaluate all connected actions, including those
that cross federal jurisdictions and/or control (Federal Actions listed: 404, 408, BIA ROW). The
Corps must also include reasonably foreseeable projects or expansions, including the
reasonably foreseeable expansions of other pipelines to transport the expanded capacity of the
Line 3.

Response: The following connected federal actions are addressed in the EA: Evaluation of an
Individual DA Permit application for the discharge of dredged or fill material into waters of the
United States under Section 404 of the Clean Water Act and to conduct work in navigable
waters of the United States under Section 10 of the Rivers and Harbors Act; and Permission
from the Corps to alter a federal project (Lost River flood control project) under Section 408 of
the Rivers and Harbors Act. Issuance of an ROW Grant to cross BIA tracts within the exterior
boundaries of the FDL Reservation is not within the Corp’s regulatory authority and was
evaluated individually by the BIA.

Multiple commenters indicated the Corps must evaluate oil spills and consider oil spill risk for
other route alternatives.

Response: At the time of the Public Notice, no spill analysis was completed. Since then, a spill
analysis has been completed as required by the PUC. Congress has not authorized the
USACE, or any other federal agency, to regulate the overall construction or operation of oil
pipelines. Our regulatory authority and jurisdiction is limited to the construction-related impacts
to aquatic resources. USACE does not regulate the siting of any type of pipeline/utility line or
any substance being transported within a pipeline. The potential for oil spills is beyond the
scope of our regulatory authority as is the citing of pipelines/utility lines. USACE's authority
under §404 is limited to construction-related impacts to jurisdictional waters of the US. The
environmental consequences of oil spills of varying types over representative terrains, which are
outside of the regulatory authority, are disclosed in the State EIS. Line 3 is subject to the U.S.
Department of Transportation Standards under 49 USC Chapter 601. The Office of Pipeline
Safety administers the national regulatory program to ensure the safe transportation of
hazardous liquids by pipeline.
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One commenter indicated the Corps must evaluate climate change impacts and, including
Greehhouse Gas Emission impacts from increased tar sands development. The commenter
also requested the social cost of carbon pollution be evaluated.

Response: USACE involvement in utility line and pipeline projects is limited in scope. USACE
does not regulate the overall construction or operation of pipelines, nor does it regulate the
siting of any type of pipeline/utility line, or any substance being transported within a pipeline.
However, the Corps reviewed proposed construction activities within and adjacent to waters of
the US and determined that they would not be expected to affect climate. There are no
anticipated direct changes to hydrology that could potentially trigger changes in temperature,
precipitation, evaporation rates and other climate variables, as well as dependent basin
responses to climate drivers, such as sedimentation loadings. Construction impacts which may
have some potential to effect climate are largely temporary in nature. Social costs of carbon
pollution are not with the Corps’ regulatory authority. See Section 7.5 of the Environmental
Assessment for additional discussion about climate change.

Two commenters asserted the Corps must evaluate impacts to waterways, including but not
limited to impacts to forested wetlands, specific water crossings, and sensitive areas. Earth
Justice (February 21, 2019) Honor the Earth (February 21, 2019)

Response: Impacts to all aquatic resources were evaluated, including forested wetlands,
specific water crossings, and sensitive areas as identified during interagency coordination.
Impacts an associated compensatory mitigation are discussed in the EA. See Sections 6 and 8
of the EA for more details regarding aquatic resource impacts and compensatory mitigation.

Two commenters indicated the Corps must evaluate impacts to species.

Response: At the time of the Public Notice, the ESA Section 7 review had not been completed.
Section 7 consultation was completed on August 6, 2019 with the USFWS concurring with all
determinations. Section 10.1 of the Department of the Army Environmental Assessment and
Statement of Findings includes additional information on the ESA Section 7 review.

The Corps Must Evaluate Alternatives all alternatives, including the No Action alternative,
utilization of other pipeline upgrades, replacement or repair of damaged sections of the existing
Line 3, route alternatives, as well as verify the demand for increased capacity.

USACE does not regulate the siting of any type of pipeline/utility line or any substance being
transported within a pipeline. Construction-related project impacts to WOUS associated with the
Designated Route were avoided and minimized to the extent practicable. Impacts and effects
associated with alternative route segments and system alternatives were reviewed in the State
EIS. The review of impacts associated with system and route alternatives is outside the scope
of the USACE's regulatory authority. The environmental effects of the No-Action Alternative and
of the Designated Route are disclosed in the EA. Demand for petroleum resources was
addressed in PUC’s Certificate of Need. The purpose and need of the project is outlined in the
Section X of this document. This does not include future forecasts for demand as that is not
within the Corps’ regulatory authority.

Several commenters indicated Enbridge’s Preferred Route is not the least environmentally
damaging practicable alternative and other alternatives, including alternative routes and
systems alternatives would fulfill the project’s purpose.
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Response: Proposed discharges of dredged or fill material into waters of the US associated
with construction of the designated route and associated facilities were evaluated in the EA for
compliance with the 404(b)(1) Guidelines and determined to be the LEDPA. The EA considered
the No Action and Designated Route Alternatives, including maintenance of the existing Line 3,
in its analysis. Other route and system alternatives evaluated by the State were not evaluated
in the EA since the USACE does not regulate the siting of pipelines/utility lines. See Section 5.0
the EA for the LEDPA determination and assessment of alternatives.

Two commenters questioned the proposed individual crossing methods as the LEDPA.

Response: The Corps worked closely with Enbridge and State agencies to review proposed
pipeline construction methods at waterbody and wetland crossings. Construction-related project
impacts to WOUS associated with the Designated Route were avoided and minimized to the
extent practicable. This review took into account site characteristics which may have led to a
trenched crossing method potentially being less environmentally damaging than a bore method.
In general, and with respect to the 404(b)(1) guidelines, the HDD method would be viewed as
the Least Environmentally Damaging Practicable Alternative (LEDPA). However, for site
specific reasons (geo-tech, water table, etc.) an HDD might pose too high of risk for frac-outs
(release of drilling mud) potentially effecting the waterbody or biota. Therefore, a trench method
was requested by the agencies. In general, the HDD method is not practicable at every
waterbody crossing because of site specific concerns, availability of HDD equipment, and costs.

Specifically, extensive geotechnical studies and other multi-year analyses of site-specific
conditions at the sensitive water/wetland complexes at the MN DNR public water
LaSalle Creek, and the MN DNR public water Spring Brook and the neighboring MN DNR pubic
water wetland Scout Camp Pond, the MN DNR determined an HDD had a significant potential
to adversely affect the aquatic environment at both locations. Enbridge and
MN DNR determined, in coordination with the MPCA and the Corps, that the least damaging
practicable alternative crossing method for both LaSalle Creek and Spring Brook is a dry
crossing dam and pump.

Details of construction methods are included in Enbridge’s November 2020 Environmental
Protection Plan. LEDPA determination is included in Section 5.0 of the EA.

Two commenters indicated Line 3 likely would cause unacceptable impacts to the aquatic
ecosystem and the application does not demonstrate that discharges form the project will
comply with water quality standards.

Response: The majority of the impacts to aquatic resources are temporary for this project.
Enbridge is required to restore temporary impacts to preconstruction conditions and monitor the
restoration post project. Impacts to the aquatic ecosystem, compensatory mitigation, and post
construction monitoring are discussed in the EA, as well as an analysis of cumulative effects in
Section 9 of the EA. Enbridge has applied for a 401 water quality certification from the Fond du
Lac Reservation which was granted on April 15, 2019, State of North Dakota which was granted
on January 31, 2019, and the MPCA which was granted on November 12, 2020.

One commenter identified that the project would cross sensitive areas and result in a loss of
wetland.

Response: Sensitive areas have been identified through interagency collaboration. Crossing
methods in these areas have been identified and discussed with Enbridge to reduce impacts to
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aquatic resources in these areas as well as throughout the project. Special wetlands, as
identified by the agencies, will be compensated at a higher ratio as a result of the uniqueness or
sensitivity of the wetland. See the EA for additional discussion regarding compensation ratios.
The majority of the impacts associated with the project are temporary in nature as a result of
excavating a trench, laying the pipe, and backfilling the trench. Enbridge will be required to
monitor all aquatic resources after construction to ensure sites are properly restored and
impacts are minimized. Due to the nature of most of the impacts, restoration requirements,
compensatory mitigation, post construction monitoring, and financial assurances, losses of
wetland as a result of installation of the pipeline are not anticipated.

Several commenters indicated there is no showing that the project is in the Public Interest.

Response: The public Interest review is included in the EA.

One commenter asserted that the Corps must independently verify the information Enbridge has
provided.

Response: The Corps has independently reviewed all information supplied by Enbridge and its
consultant. Much of this information had also been reviewed and coordinated with State
agencies during interagency coordination.

One commenter indicated information regarding waterbody and wetland crossings is not
complete due to use of the National Wetlands Inventory data and other off-site resources.

Response: At the time of the Public Notice Enbridge had not field delineated all waterbodies
and wetlands. Complete field level delineation or verification of any field level delineations are
not required for a complete application. Since the Public Notice, Enbridge delineated all
waterbodies and wetlands in the field. All delineation boundaries were reviewed through
delineation reports submitted by Enbridge’s consultants. A sub-sample of boundaries, as
determined through interagency coordination, was reviewed in the field by agency staff.

Several commenters identified the need to assess direct, indirect, and cumulative impacts.
Response: Direct, indirect, and cumulative impacts are discussed in the EA.

Several commenters identified effect to treaty usufructuary rights and indicated the project
would violate the 1855 & 1854 Treaties.

Response: Please see Section 11.3 of the EA for details on compliance with Section 106 of the
National Historic Preservation Act. Section 11.13 of the EA documents the process the Corps
took to comply with Tribal Treaty Rights which included government to government consultation
with several tribes.

Two commenters identified concerns with potential effects to wild rice as a result of an oil spill.

Response: The potential for oil spills is beyond the scope of our regulatory authority under
Section 10 and Section 404 as is the siting of pipelines/utility lines. USACE's authority under
§404 is limited to construction-related impacts to jurisdictional waters of the US. The
environmental consequences of oil spills of varying types over representative terrains, which are
outside of the regulatory authority, are disclosed in the State EIS.
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One commenter indicated the Corps must comply with Section 106 of the National Historic
Preservation Act prior to permitting the pipeline.

Response: Please see Section 11.3 of the EA for more details on compliance with Section 106
of the National Historic Preservation Act.

One commenter identified the need for the Bureau of Indian affairs to grant right of way through
Fond du Lac reservation is a major federal action triggering NEPA.

Response: The requirement for the Bureau of Indian Affairs (BIA) to assess granting right-of-
way to Enbridge is not within the Corps’ regulatory authority. Any NEPA requirements for right-
of-way would be assessed by the BIA. The need for right-of-way from the BIA does not affect
the review of impacts or NEPA review under Section 404.

The Army Corps Must Consider the Social, Economic, Ecological and Environmental Justice
Impacts Raised by Line 3, Proposed Mitigation Measures, and Alternatives to Avoid These
Impacts.

Response: These issues are addressed in the EA.

Several individuals identified concerns with the project’s potential to impact private property,
generally related to crop production.

Response: The use of private property and effects to the private property for a pipeline would
be accounted for in easement negotiations between Enbridge and the landowners.
Any grievances regarding impacts to private property would be between the landowner and
Enbridge and are not within the Corps authority.

One commenter asserted that Impacts from frac-outs and unrecovered drilling mud need to be
assessed.

Response: Enbridge has developed drilling fluid response, containment, and notification
procedures, included in the Environmental Protection Plan. Areas where drilling mud has been
released in wetlands or waterbodies would be required to be restored and drilling mud removed
to the maximum extent practicable. Enbridge will consult with the appropriate regulatory
agencies to evaluate the circumstances of the release, discuss additional containment or
cleanup requirements, and determine whether and under what conditions the HDD may
proceed. Any losses to wetlands or waterbodies as a result of a release would need to be
compensated for. Compensation would be determined through inter-agency coordination.

Two commenters claimed that the Corps had not used an early, orderly process to include the
public and cited Part §325.1 Applications for Permits, Section (b) Pre-application consultation
for major applications instructs the Corps District Engineer to assure early and orderly
involvement by appropriate Federal, state and local agencies and the public.

Response: The Public Notice serves as the early coordination process with the public. The
public notice provided the project proponents proposal. Prior to the receipt of a complete
application as outlined in 33 CFR 325.1(d) and 325.3(a).), the Corps had numerous discussions
with other agencies. Pre-application discussions are not a requirement for a Section 10 or
Section 404 authorization. These discussions provide the potential applicant with helpful
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information necessary in pursuing the application, including factors which the Corps must
consider in its permit decision making process.

One commenter indicate that the Corps is obligated to coordinate permit and environmental
review with the State review and such coordination had not happened.

Response: The Public Notice identifies the applicant’s proposal and it was early in the review
process. The Corps coordinated numerous times with state agencies prior to the issuance of
the public notice as well as during the review process after the public notice. Coordination
included participating in weekly agency meetings as well as participating in inter-agency review
of specific plans submitted by the applicant.

Two commenters asserted that the Corps must apply extra-jurisdictional authority to this project
based on the magnitude of the project. The commenters indicated that the Corps needs to
expand the typical narrow focus of stream and wetland crossings and should include non-
jurisdictional areas.

Response: Corps scope of review is not dictated but the magnitude of the project and cannot
be expanded based on the type of project. Discussion about the Corps’ NEPA scope, action
area, and permit area are included in Section 2.0 of the EA.

One commenter cited inappropriate limiting of public comment scope by statements in the public
notice related to the Corps’ regulatory authority.

Response: The public notice included the statement, “Under the authorities listed above, the
USACE does not regulate the overall construction or operation of pipelines, nor does it regulate
the siting of any type of pipeline/utility line or any substance being transported within a pipeline.”
to clarify the Corps regulatory authority under Section 404 and Section 10 and to solicit
substantive comments that are within the Corps’ regulatory authority.

One commenter asserted that a Federal EIS was needed to resolve deficiencies in the State
EIS.

Response: The state FEIS and decisions on state permits, including the PUC's decisions on
the requests for a certificate of need and route permit, were used to inform aspects of our
federal review. The Corps did not evaluate the adequacy of the FEIS, but rather incorporated
relevant parts of the FEIS documentation into our evaluation as appropriate. There is no
requirement to conduct a Federal EIS to supplement a State EIS.

A few individuals indicated that a Section 404 permit cannot be issued until a Section 401 water
quality certification decision has been made.

Response: Certification under section 401 of the Clean Water Act is required prior to a valid
Section 404 authorization. The individual 401 water quality certification was issued on April 15,
2019 by the Fond du Lace reservation, January 31, 2019 by the State of North Dakota, and on
November 12, 2020 by the Minnesota Pollution Control agency.

One commenter indicated they would be requiring any construction excavations be conducted
with a Tribal Historic Preservation Office representative or approved consultant present to
identify any potential sacred or archaeological sites found during construction-related
excavations.
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Response: Tribal monitoring during construction will occur. The tribal monitoring component
will be managed by the Fond du Lac Band of the Minnesota Chippewa Band (Fond du Lac
Band) Tribal Historic Preservation Office (THPO). The Fond du Lac Band managed the tribal
cultural resources survey (TCRS) and the elder interviews for the proposed project corridor.
There was participation within the tribal survey and elder interviews by a number of consulting
Tribes, and opportunity was provided for involvement to all consulting Tribes throughout
consultation. The same invitation to participate in the tribal monitoring training was provided to
all consulting Tribes, via our recurring Thursday morning meetings and coordination with Tribes.
Tribal monitoring training is occurring the first three weeks of NOV 2020, open to all consulting
Tribes to participate, and Fond du Lac plans to train up to 90 tribal trainees for future work on
the L3R construction. Enbridge’s cultural resource management consultants drafted an
Avoidance, Mitigation, and Implementation Plan for Construction (AMIP) spring 2020, which is
composed of the Unanticipated Discoveries Plan (UDP), tribal monitoring component,
archaeological monitoring component, geo-archaeological component, avoidance/protection
measures of resources from the recommendations within the TCRS report, procedures and
processes, monitoring forms, roles (stop-work authority, for example), and so on. It is a robust,
multi-disciplinary, comprehensive document. We provided the draft AMIP to all consulting
Tribes, MN SHPO, and MN DNR archaeologist on 01MAY20. Our agency and the Fond du Lac
THPO, who was heavily involved in the development of the tribal monitoring section, provided
comments on the draft. No other comments were received. A second draft AMIP, incorporating
our and Fond du Lac’s comments, was provided to all consulting parties (Tribes, SHPO, DNR)
on 23JUL20. No comments or concerns received. On 20OCT20, we provided the final AMIP to
all consulting parties. A Special Condition of our permit will reference the AMIP, for areas
subject to our authority. Tribal monitoring during construction is also a State requirement. See
Sections 11.3 and 11.13 of the EA for detailed discussion on tribal coordination and
coordination of the AMIP.

Multiple commenters identified concerns with the compensatory mitigation and mitigation ratios
proposed by the applicant. Some commenters also indicated compensatory mitigation should
occur as close to the impact as possible.

Response: At the time of the original PN the Corps provided a description of what Enbridge
proposed for compensatory mitigation. Enbridge proposed compensatory mitigation for
unavoidable permanent fill and for wetland type conversions of scrub-shrub and forested
wetlands, as well as temporary loss of functions through the purchase of wetland credits.
Enbridge proposed to restore all temporarily impacted wetlands to pre-construction conditions.
The proposed compensation ratios for temporary and permanent conversion (0.5:1 for PFO and
PSS, 0.10:1 for PSS, and 0.03:1 for PEM, PUB) were based on previous Enbridge pipeline
projects and District procedures. Permanent wetland losses were identified, but no Mitigation
ratios were proposed at the time of the public notice. Enbridge indicated that the ratios for
permanent losses of wetland would be determined by the Corps based on evaluation of the
wetland impacts. Since the public notice, there was a substantial amount of work done with the
applicant and state agencies to refine the wetland compensatory mitigation. Revisions included
identifying sensitive resources and developing mitigation ratio for the sensitive resources, and
identifying where credits would be purchased to satisfy compensatory mitigation requirement
based on a revised proposal. Enbridge provided their revised Compensatory Mitigation Plan in
January 2019 which was included in the second public notice on February 4, 2020. See section
8.0 of the EA for additional details on the final compensatory mitigation.
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One organization included 42,896 individuals who signed onto the general response of denying
the permit, of which, 10,978 individuals included personal comments. The commenter requested
that each individual who signed onto the statement be counted.

Response: Comment and request noted.

One commenter indicated using only the 4 general classes from Cowardin (PSS, PFO, PEM,
and PUB) oversimplified potential impacts and requested an explanation on the potential
impacts, including wetland type conversion, to all wetlands types.

Response: The general classes of wetlands continued to be used throughout the review.
However, as a result of inter-agency coordination, certain wetland types were identified and
used to assess impacts and compensatory mitigation requirements. Wetland categories are
identified in Enbridge’s Compensatory Wetland Mitigation Plan dated October 2020.

One commenter requested further explanation and justification of how avoidance and
minimization measures have taken place and how no further avoidance and minimization can
be achieved for ATWS corridors for specific bodies of water.

Response: Pre-application coordination was held with the applicant to identify potential areas
where ATWS impacts to wetlands may be minimized. The applicant has made efforts to
minimize the ATWS to the maximum extent practicable while taking into account site conditions
and construction requirements. Specific minimization efforts are outlined in the EPP as well as
6.8 of the EA.

One commenter requested long term monitoring to assess any unforeseen impacts for the life of
the line and suggested financial assurances for wetland mitigation and remediation.

Response: Monitoring of impacts and restoration site will be required as outlined in the Post
Construction Monitoring Plan, and would generally be conducted for a period of 5 years after
construction. Monitoring would no longer be required once restoration sites have met
performance standards outlined in the plan and permit. Financial assurances are also required
and included in the plan to allow for remediation or mitigation of any unanticipated impacts
identified during the monitoring period. See November 2020 Post Construction Monitoring Plan
for details regarding post construction monitoring, performance standards, and financial
assurances.

Two commenters recognized certain wetlands had not been field verified via a wetland
delineation and questioned how the 404 application could be considered complete.

Response: At the time of the public notice, not all wetland boundaries had been field verified.
During project review, the applicant completed field verifications for 99% of the wetland
boundaries. A sub-set of the wetland sites were selected through interagency coordination for
confirmation of wetland delineation boundaries which represented a cross-section of various
types and wetland plant communities that the proposed project would impact. The remaining
1% of wetlands were field delineated during the 2020 growing season. In total, field crews
conducted wetland and waterbody surveys on all 36,788.4 acres of the environmental survey
corridor
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One commenter indicated that many of the wetland surveys had been completed late in the
growing season and were concerned that key wetlands species or wetland types such as
seasonal ponds may have been missed.

Response: A sub-set of the wetland sites were selected by the Corps and State agencies for
confirmation of wetland delineations which represented a cross-section of various types and
wetland plant communities that the proposed project would impact. Enbridge completed a
desktop review of seasonal ponds shapefiles provided by the Minnesota DNR and compared
the known areas to the field delineated areas. As a result of the desktop review, Enbridge
indicated they had adequately identified all seasonal ponds during the field delineations.

One commenter recognized the need for close interagency coordination to prevent conflicting
permitting recommendations.

Response: We agree with the need for close agency coordination to prevent any permitting
conflicts and to reduce redundant regulatory requirements. The Corps participated in many
coordination efforts with State agencies during the entire project review.

One commenter recommended a vegetation management plan be developed to address
impacts during construction as well as vegetation maintenance activities during the life of the
pipeline. They also recommended a hydrological and wetland recovery monitoring plan be
developed.

Response: Vegetation management and monitoring are outlined in Section 7.0 of the EPP.
Enbridge has also developed an invasive and noxious species management plan, included as
Appendix B of the EPP. Hydrologic and wetland monitoring after construction is outlined in
Enbridge’s November 2020 Post Construction Monitoring Plan. In addition, Enbridge has
committed to acquiring pre and post construction color infra-red imagery of the entire route
within Minnesota. This will assist in identifying any ponding or other hydrologic changes on and
off ROW after construction and initial restoration are completed.

One commenter requested the Corps consult with the USFWS and use all avian friendly power
line equipment on all lands and develop an Avian Mitigation Plan.

Response: Coordinating avian concerns with the USFWS, aside from any Section 7 review
requirements, is outside of the Corps’ regulatory authority.

One commenter recommended placement of vehicle traffic barriers and placement of no-
trespassing signs during revegetation and as necessary during the life of the line as monitoring
demonstrates the need. In addition, retaining or replacing riparian shrubby vegetation would be
important for stream bank stability and to discourage cross-river ATV traffic.

Response: Limiting of access to property is outside of the Corps’ regulatory authority. A
Department of Army permit does not convey any property rights to Enbridge. Issues with
revegetation or stream stability in areas under the Corps’ authority will be identified during post
construction monitoring.

One commenter recommended heavy and frequent investigation by environmental monitors,
long term monitoring for direct and indirect permanent wetland impacts, as well as mitigation for
any long-term impacts in new corridors.
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Response: Environmental monitoring protocols for third party monitors are outlined in
Enbridge’s November 2020 Environmental Monitoring and Control Plan to ensure that the
project will be constructed in compliance with the applicable regulatory authorizations.
Compensatory mitigation requirements for all impacts are outline in the October 2020
Compensatory Wetland Mitigation Plan. The November 2020 Post Construction Monitoring
Plan identifies the post construction monitoring protocols and identifies the need for additional
compensatory mitigation or financial assurances if unanticipated impacts are identified.

One commenter requested working in frozen conditions to minimize impacts to the environment.

Response: Enbridge will be utilizing winter construction methods for the majority of the project
where feasible. Winter Construction methods are outlined in Enbridge’s November 2020 Winter
Construction Plan.

One commenter requested minimizing the length of open trench to a maximum of 3 miles within
any one construction spread to prevent massive erosion from storm events and minimize
potential for wildlife entrapment, and to fill trenches as soon as possible. The commenter also
requested a maximum of 72 hours of open trench.

Response: Enbridge will be limited to a total of 14,000 linear feet of open trench per
construction spread (total of 6 construction spreads) through a special condition in the DA
permit. The duration of the open trench is limited to no more than three days. These limitations
do not apply to HDD, bore, road bore crossings, or valve and pump station construction.

One commenter requested the company power wash all equipment and mats to prevent the
spread of invasive species. The commenter also recommends numerous additional BMPs to
reduce the spread of invasive species.

Response: The Invasive and Noxious Species Management Plan, Appendix B of the
November 2020 EPP, identifies BMPs and measures that will be taken to reduce the potential
for the spread of invasive species.

One commenter recommended no use of salt on all lands.

Response: Use of salt is not within the Corps’ regulatory authority. However, Enbridge has
committed to using no salt, and would only use sand to reduce icy conditions.

One commenter recommended siting valves and pumps, and ATWS in previously disturbed
upland locations

Response: Aquatic resource impacts associated with the discharge of fill material for the
construction of valves and pumps, and siting of Additional Temporary Work Space (ATWS) to
aquatic resources have been minimized to the maximum extent practicable. Enbridge has sited
these features in upland or disturbed locations as much as possible while still meeting
construction requirements or operating requirements. See Section 6.8 of the EA for additional
minimization measures Enbridge is taking.

One commenter requested topsoil be separated to ensure successful reclamation and
recommended using matting to store soil in areas of rare species and communities.
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Response: Topsoil segregation is outline in Enbridge’s November 2020 Environmental
Protection Plan.

One commenter indicated wetlands and areas with hydric soils may need multiple layers of
matting to support weight of equipment and reduce compaction, or construct during frozen
conditions depending on soil conditions and other considerations such as rare plant species and
communities. The commenter also recommended construction when water levels in wetlands
are lower to avoid challenges with trench backfilling under frozen conditions.

Response: Construction methods and BMPs for construction under frozen conditions are
included in Enbridge’s Winter Construction Plan.

One commenter recommended lowest impact crossing method for all stream and wetland
flowages, minimizing disturbance and impacts to riparian vegetation, avoiding hard armoring
(rock riprap) for stream bank protection, and burying the pipeline 4-feet below the deepest pool
feature to reduce potential impacts to the stream or the flood plain.

Response: Enbridge has crossing method information for all water body crossings. This
information was used during interagency coordination to determine the appropriate crossing
method for a particular waterbody. This review took into account site characters which may
have led to a trenched crossing methods potentially being less environmentally damaging than
a bore method. In general, and with respect to the 404(b)(1) guidelines, the HDD method would
be viewed as the Least Environmentally Damaging Practicable Alternative (LEDPA). However,
for site specific reasons (geo-tech, water table, etc.) an HDD might pose too high of risk for frac-
outs (release of drilling mud) potentially effecting the waterbody or biota. Therefore, a trench
method was requested by the agencies. Impacts to riparian vegetation have been minimized to
the maximum extent practicable through a reduction in the width necessary to facilitate
construction as well as no ground disturbance through clearing activities outside of the trenched
areas. Minimum depth-of-cover requirements are established by federal regulation, specifically
49 C.F.R. § 195.248. Concerns related to depth of cover were discussed between State
agencies and Enbridge. To avoid and minimize hydrotechnical hazard impacts on the pipe,
Enbridge has committed to a minimum depth of cover of 48 inches at all surface water crossings
(i.e., watercourses and wetlands). In saturated conditions where there is a floating mat or
vegetation over a water layer, the depth of cover will be measured starting at the bottom of the
water resource substrate as illustrated in Figure 18 of the EPP. This exceeds the federal
mandated depth at inland bodies of water less than 100 feet wide by 18 inches (1.5 feet).
Enbridge has also agreed to additional depth of cover greater than its 48-inch standard at some
public waters to address MDNR concerns. Details of construction methods, including crossing
types, clearing of riparian vegetation, and depth of pipe are included in Enbridge’s November
2020 Environmental Protection Plan. See Section 6.8 of this EA for additional information on
minimization efforts Enbridge is taking.

One commenter provided recommendations for different types of crossing methods including
HDD, Open-Cut, Dry-Crossings, and Wet Crossings.

Corps Response: The recommendations were taken into consideration during review of the
proposal as well as discussed during interagency coordination meetings. Some of the
recommendations presented are not within the Corps’ regulatory authority, such as requiring the
applicant to notify the MNDNR if in-stream construction lasted more than 24 hours, or
prohibiting crossing or bridging of streams at all HDD locations. Specific information regarding
crossing types is include in Enbridge’s November 2020 Environmental Protection Plan.
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One commenter identified groundwater concerns and identified the need to properly seal wells
per Minnesota Department of Health well rules. The commenter also identified the need for ditch
plugs at appropriate locations to reduce the potential for groundwater to flow along the pipe.

Response: Sealing of wells would need to be completed per the Minnesota Department of
Health well rules as noted in the comment and is not within the Corps’ regulatory authority.
Trench breakers were discussed during interagency coordination and details of trench breakers
can be found in Enbridge’s November 2020 Environmental Protection Plan.

One commenter identified concerns with potential groundwater impacts in large peatland
complexes and provided recommendations for construction in these areas.

Response: Recommendations for construction in peatland areas were discussed during
interagency coordination and with Enbridge. The majority of the peatlands will be crossed during
frozen conditions to reduce potential impacts. Enbridge’s November 2020 Post Construction
Monitoring Plan identifies protocols for monitoring any potential indirect impacts to the hydrology
which includes placement of monitoring wells in certain areas of peatlands and detailed
peatland/wetland complex vegetation monitoring at 11 different sites.

One commenter requested an exclusion of construction from April 1 to June 30 to reduce
impacts to wildlife.

Response: Excluding construction windows to reduce impacts to wildlife is too broad and not
within the Corps’ regulatory authority. However, Enbridge has agreed to not conduct
construction activities in any wetland not permitted for permanent fill from April 11 through June
1 for non-sensitive waters and from April 1 through June 15 for sensitive waters to protect
aquatic life use during sensitive periods, at the request of the MN DNR and MPCA. Enbridge will
also not be conducting in-channel work during the MN DNR in-channel exclusion dates for MN
DNR public waters, unless specifically approved by the MN DNR. See Section 6.4.3 for
discussion on impacts to wildlife and Section 6.8 for additional minimization measure that will
reduce impacts to wetlands as well as wildlife.

One commenter provided recommendations for types of erosion blankets and mulch and
hydromulch to be used.

Response: Dictating the types of erosion blankets and mulch is not within the Corps’ regulatory
authority. Stabilization and reseeding efforts after construction is outline in Enbridge’s
November 2020 Environmental Protection Plan.

One commenter identified concerns with the use of hazardous chemicals, refueling, and
potential spills of fuel.

Response: Enbridge has outlined their spill prevention, containment, and control measures in
their November 2020 Environmental Protection Plan.

One commenter provided recommendations on replanting and seed mixes.

Response: Enbridge has outlined their seeding protocols and seed mixes in their November
2020 Environmental Protection Plan.
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One commenter provided recommendations for work through sensitive wetland types.

Corps response: This information was used during interagency coordination as well as
coordination with the applicant, resulting in additional mitigation measures employed by the
applicant such as winter construction, use of additional timber mats, and strategic placement of
trench breakers.

One commenter identifies special areas of concern which included all water and wetland
crossings; in particular, trout streams, calcareous fens, biological diverse areas, peatland
complexes, old growth forest, threatened and endangered species, and rare native plant
communities.

Response: This information was used to identify preferred crossing methods which may
reduce impacts to the resource. Enbridge will be following the MN DNR in-stream work
exclusion dates for cold-water streams (trout streams) and warm-water streams, unless
specifically approved by the MN DNR. Wetland types, including certain wetland types of
concern were assess during the interagency effort of developing compensatory mitigation
requirements. See Section 6.5.2 of the EA for details about special wetland categories. Section
6.4.1 of the EA includes information regarding federally threatened and endangered species.
State listed threatened, endangered, and special concern species are not within the Corps’
regulatory authority.

One commenter indicated the application implies that the permanent conversion of wetlands will
only occur to forested (i.e. PFO) and scrub scrub (i.e. PSS) wetlands and fails to consider
potential permanent impacts to other wetland types within PEM and PUB.

Response: Permanent impacts associated with the placement of valves and pump stations
have been accounted for. No permanent impacts to PEM or PUB for the installation of the pipe
have been proposed as these areas will be restored after pipe installation. No wetland type
conversion impacts are anticipated to PEM or PUB type wetlands as these areas do not need to
be maintained free of woody vegetation. Temporary impacts to PEM and PUB have been
identified and compensation will be provided to account for the temporary losses in wetland
function. All wetland types will be monitored post construction to identify any unanticipated
impacts.

One commenter indicated the proposed Project has the potential to result in secondary impacts
to adjacent aquatic resources; however, the Application does not account for secondary impacts
as required by the Guidelines.

Response: The proposal identifies all known or reasonably predictable impacts and assumes
the construction procedures and will occur as planned. It is impossible to assess all impacts
that might occur. However, post construction monitoring will be required. Along with monitoring
of the ROW, off-site (off ROW) monitoring post construction will be conducted to aide in
determining if any secondary or unanticipated impacts do occur. Enbridge’s November 2020
Post Construction Monitoring report details the monitoring protocols.

One commenter requested additional information regarding the quality of streams to be crossed
by the project, recommended post construction monitoring of streams crossed by the project,
and requested compensatory mitigation for the temporary impacts (i.e. disrupted floodplain
connectivity, disturbed groundwater and surface water interactions and instream flow dynamics,
changes in water quality, temperature, nutrients, and disturbance to fish and macroinvertebrate
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communities due to instream changes and elimination of riparian buffer) to the streams crossed
by the project.

Response: The project includes temporary impacts to waterbodies during the duration of
trenching, pipe installation, backfilling, and initial restoration. Based on information included in
Enbridge’s November 2020 EPP, the anticipated duration for pipe installation through water
bodies would typically range from 24 to 48 hours. As identified in the EPP, Enbridge would
restore the streams banks that had been disturbed by construction to as near as possible to pre-
construction conditions utilizing civil survey data collected pre-project. Unstable banks may
require bio-engineering which would be accomplished in consultation with the appropriate
agencies. Restoration of the area impacted by the stream crossing should return any functions
temporarily lost during the relatively short construction period. Site specific restoration plans,
completed in consultation with the appropriate agencies, as well as post construction monitoring
will reduce the potential for any long-term effects at waterbody crossing sites. Financial
assurances are required to ensure adequate restoration of the waterbody crossings and prevent
impacts that would warrant compensatory mitigation. Additional details regarding financial
assurances are included in the October 2020 Compensatory Mitigation Plan.

Second Public Notice Comments and Responses

Many commenters requested denial of the permit without any regulatory rationale.

Response: The Corps cannot simply deny a permit without any rationale that is within the
Corps’ regulatory authority.

Many commenters cited concerns with water quality as a result of a potential oil spill as well as
the type of crude oil (Tar Sand Oil) that would be transported through the pipe.

Response:
Congress has not authorized the USACE, or any other federal agency, to regulate the overall
construction or operation of oil pipelines. Our regulatory authority and jurisdiction is limited to
the construction-related impacts to aquatic resources. USACE does not regulate the substance
being transported within a pipeline. The potential for oil spills is beyond the scope of our
regulatory authority. USACE's authority under §404 is limited to construction-related impacts to
jurisdictional waters of the US. A spill analysis has been completed as required by the PUC.
The environmental consequences of oil spills of varying types over representative terrains,
which are outside of the regulatory authority, are disclosed in the State EIS. Line 3 is subject to
the U.S. Department of Transportation Standards under 49 USC Chapter 601. The Office of
Pipeline Safety administers the national regulatory program to ensure the safe transportation of
hazardous liquids by pipeline.

Multiple commenters identified the need to develop alternative energy sources and address the
effects of the project on climate change and greenhouse gas emissions.

Response: Requiring development of alternative energy sources is not within the Corps’
regulatory authority. Climate change and greenhouse gas emissions is addressed in Section
7.5 of the EA.

One commenter requested approval of the project due to the potential of an oil spill as a result
of the existing line being 60 years old.
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Response: Comment noted

Many commenters expressed their general support for the project.

Response: Comment noted

One commenter indicated the project would violate treaty rights.

Response: This comment is addressed in the Section above.

Multiple commenters indicated the revised information did not meet the requirements of Section
404 and indicated that the revised information still did not provide a description of all reasonable
alternatives, detailed analysis aquatic impacts for all alternatives, detailed analysis of
practicability for all alternatives, and detailed feasibility analysis for each crossing, wetland
delineation reports for all wetlands proposed for impact, including in-field alpha numeric
flagging.

Response: All reasonable alternatives that are within the Corps’ regulatory authority are
include and discussed in the EA. Enbridge has provided information for each waterbody
crossing that was used to determine the LEDPA crossing methods for each site. Wetland
delineation reports have been completed and provided to the regulatory agencies. There is no
regulatory requirement to include flagging of boundaries for agency review of the delineations.
However, Enbridge is required to flag and sign all wetland and sensitive areas for construction
purposes to reduce the potential for any unauthorized impacts. This included as a special
condition in the Department of Army permit.

Many commenters requested a Federal EIS be prepared and two commenters requested a
public hearing.

Response: This comment is addressed in the section above.

One commenter resubmitted their comments in response to the December 2018 Public Notice.

Response: Substantive comments within the Corps’ regulatory authority were addressed
above in Section 4.2.

One commenter questioned the completeness of the application and recommend that once a
complete Clean Water Act Section 404 application is submitted to the Corps by Enbridge that
that project be public noticed, and all components of the application be made available for
review.

Response: Enbridge submitted a Revised Department of Army permit application on
September 21, 2018, which included a withdrawal request of the Sept 2015 and February 2018
applications. The revised application was submitted as a result of changes to designated route
and anticipation of MPUC granting of route permit. Enbridge was notified of the completeness
determination on November 16, 2018.

The Public Notice for this application and additional information was issued on December 20,
2018. While the application was determined complete for the purpose of issuing a public notice
pursuant to 33 CFR 3254.1(d), Enbridge and the Corps recognized additional information would
be needed to reach a permit decision. Since the revised Sept 2018 application was submitted,
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Enbridge continued to provide additional supplemental information to the Sept 2018 application,
generally as a result of coordination with permitting agencies. None of this information changed
the November 16, 2018 completeness determination.

On December 2019, Enbridge submitted additional and revised information, mostly as a result
of initial Public Notice comment and agency input. Revisions since the original Public Notice
include minor changes to the Project workspace resulting in a reduction of 0.8 acre of temporary
wetland impact, a reduction of 2.3 acres of permanent wetland fill, and the re-characterization of
7 crossings from wetlands to waterbodies based on agency review. Additionally, Enbridge
provided a detailed Compensatory Wetland Mitigation Plan and Post-Construction Wetland and
Waterbody Monitoring Plans based on extensive interagency input. Additional revised
information included updated Water Body Crossing Table, Wetland Impact Tables for mainline
crossings, and access and haul routes, detailed route maps, and a revised Environmental
Protection Plan. The revised information was made available to the public for comment.

One commenter recommend the Wetland Mainline Impact Table detail the specific impacts
proposed for all features marked null (i.e.‘- -‘) under the “Crossing Method” column.

Response: Enbridge modified the information to describe the impacts where there is no
crossing method. This is a result of temporary impacts (matting, etc.) but no actual pipe being
placed into the ground. Separate access and haul road table exists.

One commenter recommend the waterbody impacts be properly summarized (i.e. linear feet or
acreage) consistent with how impacts have been summarized for wetlands (impacts by stream
type, by impact type and by permanency of impact (i.e. temporary or permanent) for both the
‘proposed crossing method’ and the ‘alternative crossing method’) in the Waterbody Crossing
Table.

Response: Enbridge has updated the waterbody table to include the length and width of the
waterbody crossings. The alternative crossing method would be used if the proposed crossing
method is determined to not be feasible at the time of construction due to site conditions. In this
case, the contractor would be required to receive written approval from Enbridge prior to
implementing an alternative crossing method. The request to a proposed crossing method
would follow the process outlined in Section 6.0 of the October 2020 Environmental Monitor
Control Plan. This plan also details that no crossing method may be changed from the
proposed crossing until all applicable agencies review and approve an alternative crossing
method. This requirement is also a special condition in the Department of Army permit.

One commenter recommended information on the following be included in the proposed
Mitigation Plan: evaluation or discussion of Enbridge’s efforts to seek in-kind and in-watershed
mitigation options over out-of-kind, out-of-Bank Service Area mitigation, and provide condition or
functional assessments of all resources being impacted.

Response: The January 2020 L3R Wetland Compensatory Mitigation Plan (Plan) that was
included in the public notice discusses the evaluation and effort to seek in kind and in-
watershed (in BSA) mitigation with respect to the preference hierarchy outlined in the Federal
Mitigation Rule. This information is provided in the final October 2020 L3R Wetland
Compensatory Mitigation Plan.

The Mitigation Rule and the District Mitigation Policy both specify a preference for mitigation
banking over project-specific compensation. An approved banking instrument must be in place
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before credits can be used to compensate for authorized impacts. Mitigation banks can reduce
risk and uncertainty, as well as temporal losses of wetland functions. Mitigation banks typically
involve larger tracts of wetlands/uplands/riparian areas that are more ecologically diverse and
resilient than typical project-specific compensation (District Mitigation Policy, pp. 7-8). It is also
important to note that for linear projects, such as pipelines, the Mitigation Rule gives district
engineers flexibility to determine that consolidated compensatory mitigation projects, including
but not limited to mitigation banks, are environmentally preferable to requiring numerous small
permittee-responsible compensatory mitigation projects along a linear project corridor. As
described in the October 2020 L3R Compensatory Wetland Mitigation Plan, Enbridge has
agreed to use the special wetland categories, differentiated baseline compensatory wetland
mitigation ratios, and mitigation ratio multipliers recommended in the Interagency Compensatory
Wetland Mitigation Guidance.

Table 5.1-1 of the October 2020 L3R Compensatory Wetland Mitigation Plan identifies the
number and type of credits Enbridge owns within each BSA. Table 5.2-1 of the October 2020
L3R Compensatory Wetland Mitigation Plan includes all impacts broken out by wetland type,
wetland category, and BSA. As shown in this table, 24.66 credits of the 144.66 total credits
required for impacts in BSA 1 would come from outside of the BSA. Enbridge has purchased
additional wetland bank credits in two BSAs (BSA 5 and BSA 6) adjacent to BSA 1 to cover the
deficiency in BSA 1. As a result of purchasing outside of the BSA, the impact acreage is subject
to an additional 0.25:1 mitigation requirement.

No functional assessment method was utilized pre-project. However, as a result of interagency
coordination, special wetland categories were developed to recognize categories of higher
functioning or higher value wetlands warranting higher compensatory mitigation ratios to better
reflect the temporal loss of functions and services provided by these wetlands. The
identification of the Special Wetland Categories ensures that both temporary losses to the
functions provided by these aquatic resources, and the additional functions and services are
appropriately mitigated. Section 3.0 of the October 2020 L3R Compensatory Wetland
Mitigation Plan discusses the Special Wetland Categories and provides information regarding
the mitigation ratios.

While no functional assessment was used pre-project, a Floristic Quality Assessment (FQA)
would be completed for special wetland communities identified in Section 2.5.2 of the November
2020 Post Construction Monitoring Plan. Enbridge will assume pre-impact condition to be
“Exceptional” which will be that standard for restoration. As Enbridge determines it necessary, a
reference site may be established in the undisturbed area adjacent to the construction
workspace of the same wetland community type to serve as an acceptable FQA comparison
domain for vegetation performance standards. Results of the FQA comparison would be used to
determine if additional restoration measures need to be implemented or if additional
compensatory mitigation would be required.

One commenter recommend the Mitigation Plan include the rationale for using the proposed
ratios and a discussion of why the mitigation proposed in the Mitigation Plan is considered a
commensurate amount of compensation to offset the loss of function and quality of the impacted
wetlands

Response: Information utilized for previous utility line projects was used for baseline ratios and
provided in the September 2018 application. Through numerous discussions and direction from
agency staff, Enbridge revised their ratios based on agency input. As discussed in the previous
comment response, special wetland categories were identified by the agencies to ensure both
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temporary losses to the functions provided by these aquatic resources, and the additional
functions and services are appropriately mitigated.

One commenter recommend the Corps require compensatory mitigation for impacts to
waterbodies; which would be consistent with the approach for wetlands and ensure compliance
with the Guidelines.

Response: Minimization efforts at waterbody crossings include a 25-foot neck-down of the
construction work space (from 120 feet wide to 95 feet wide) beginning 20 feet from the OWHM.
The full 95-foot workspace would include the removal of vegetation during construction and a
10-foot wide swath would be maintained free of trees and woody shrubs. Outside of the 10-foot
wide swath, 20 additional feet (a total of 30 feet wide over the centerline) would be maintained
for trees but other woody vegetation such as shrubs would be allowed to grow. Clearing of
vegetation includes mowing and shearing at ground level but would not result in any other
ground disturbing activities. Root wads and stumps from woody vegetation would not be
removed except for the area of the trench. In riparian areas where and HDD would be utilized,
a 30-foot wide area above the pipe would be cleared to allow for monitoring during the drilling
activity. This same 30-foot wide area would be maintained free of all woody vegetation to
facilitate aerial inspection of the pipeline. Minimizing the area maintained free of woody
vegetation will reduce any long-term impacts associated with the removal of woody vegetation
but still allow for operational monitoring of the pipeline.

The project includes temporary impacts to waterbodies during the duration of trenching, pipe
installation, backfilling, and initial restoration. Based on information included in Enbridge’s EPP,
the anticipated duration for pipe installation through water bodies would typically range from 24
to 48 hours which is substantially less time than some of the temporal loss of functions to some
wetlands, especially where access roads (matting) need to be left in-place for a longer period of
time to facilitate final restoration. As identified in Section 2.0 of the November 2020
Environmental Protection Plan, Enbridge would contact the MN DNR if any crossings of a Public
Water would take longer than 24 hours. Of the 227 waterbodies being crossed by the Project,
95 of the waterbodies are ditches, many of which are roadside ditches. 74 of the ditches would
be crossed via a trench method and 21 would be crossed via bore method. The proposal
would cross 132 streams ranging from perennial to ephemeral flow regimes, of which 21 would
be crossed via HDD or bore method, and 111 would be crossed via a trench method.

As identified in the November 2020 Environmental Protection Plan, Enbridge would restore the
streams banks that had been disturbed by construction to as near as possible to pre-
construction conditions utilizing civil survey data collected pre-project. Unstable banks may
require bio-engineering which would be accomplished in consultation with the appropriate
agencies. Restoration of the area impacted by the stream crossing should return any functions
lost during the relatively short construction period. Site specific restoration plans, completed in
consultation with the appropriate agencies, as well as post construction monitoring will reduce
the potential for any long term effects at waterbody crossing sites. Financial assurances will be
required to ensure adequate restoration of the waterbody crossings and prevent impacts that
would warrant compensatory mitigation.

One commenter recommend the Corps require monitoring of adjacent wetlands as a condition
of the permit to determine the exact extent of secondary impacts and require additional
mitigation if the analysis reveals adverse impacts to adjacent resources by the proposed
activities.
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Response: Enbridge will install monitoring wells in nests to allow for the determination of
groundwater flow direction and to assess if there are changes in groundwater conditions
upgradient and downgradient of the pipeline at 15 different peatland locations, identified in
Table 2.4-1 of the November 2020 Post Construction Monitoring Plan (PCMP). In addition to
direct hydrology monitoring, the applicant will be conducting long-term vegetative sampling in
select wetlands that were determined by the MNDNR. The long-term vegetation sampling is
intended to asses any potential hydrologic effects, up and down-gradient of the pipeline, through
an assessment of changes in vegetation over time. Protocols for the long-term monitoring are
outlined in 2.5.3 of the PCMP.

The PCMP also identifies potential corrective actions that may be required due to unexpected
ponding from peat compaction and alterations to groundwater flow that could result in
unexpected drainage or damning.

One commenter recommended existing performance standards for use in compensatory
mitigation projects in Minnesota be used to establish performance standards for this project,
including limitations to the presence of invasive species.

Response: Post-construction monitoring will begin during the first growing season after
construction restoration work is complete and be conducted in years 1, 3, and 5. The post
construction monitoring protocols would apply to all wetlands and waterbodies identified during
field surveys included in the USACE Permit Application, including surface waters of the state,
and Minnesota Public Water Inventory (“PWI”) waters and wetlands regulated by the MDNR and
non-PWI wetlands and waterbodies located on MDNR-Administered state lands.

Corrective actions identified during monitoring will generally be completed in the even years
(years 2 and 4) and as needed after the monitoring conducted in years 1 and 3. Enbridge
proposes to conduct on-the-ground monitoring efforts and restoration activities (e.g., corrective
actions) supported by review of color infrared imagery as described in the November 2020 Post
Construction Wetland and Waterbody Monitoring Plan (PCMP). Monitoring will not be
considered complete until the performance standards have been met and reviewed by the
applicable Agencies (see Section 4.0 of PCMP).

Performance standards, similar to those used for mitigation sites, are included in Section 4.0 of
the PCMP. In the case that the performance standards have not been met by year 5 of
monitoring, Enbridge, in consultation with the Agencies, will either extend monitoring at those
sites, or provide additional mitigation.

Along with standard post construction monitoring for all wetlands, Enbridge will conduct MPCA
Rapid Floristic Quality Assessment monitoring at wetlands with Sate designated S1, S2, or S3
Native Plant Communities, wetlands with High or Outstanding biodiversity, wetlands with known
occurrences of MN DNR State listed plant species, and sensitive waters as identified by the
State agencies.. This effort would compare adjacent off-workspace FQA scores to FQA scores
in the disturbed workspace during the restoration and monitoring period. FQA would be
conducted in years 1, 3, and 5 at the selected sites.

The PCMP also provides details for financial assurances for wetland and waterbody monitoring.
Enbridge will provide no less than $27,377,298 in financial assurances in a manner acceptable
to the Agencies to ensure a high level of confidence that the restoration of wetlands and waters
to pre-construction conditions will be successfully completed in accordance with the
performance standards specified in the PCMP. The financial assurances approved by the
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Agencies will be in place before Enbridge commences the activity permitted by the Corps
Section 404 Clean Water Act (“CWA”) and Section 10 Rivers and Harbors Act Permit, and the
MPCA Section 401 CWA water quality certification and applicable MDNR license and leases.
The permits, certifications and authorizations or the approved financial assurances instrument
will clearly specify the conditions under which the financial assurances will be released to
Enbridge and/or other financial assurance provider, including, as appropriate, linkage to
achievement of performance standards, adaptive management, or compliance with Corps
permit special conditions.

The March 6, 2019 comment letter from EPA identifies the need to assess conversion impacts
to PEM and PUB type wetlands, and recommends monitoring of the adjacent areas to
determine if any secondary impacts occur. PEM and PUB type wetlands are included in the
protocols in the PCMP as well as in the subset of wetlands that will be assessed utilizing the
FQA.

The proposal would cross the area of the Gully 30 Fen. A Fen Management Plan has been
developed by Enbridge and was approved by the MDNR on October 19, 2020. Along with
construction details and requirements, the Fen Management Plan identifies restoration and post
construction monitoring requirements.

Invasive species management is addressed in Appendix B of the November 2020
Environmental Protection Plan. Invasive species in the workspace would be compared to
invasives adjacent to workspace.

One commenter identified numerous functions provided by wetlands, including production of
food items, medicinal benefits, protection from infectious disease, and carbon sequestration.

Response: The majority of the impacts as a result of the project area temporary. All wetland
functions will be replaced after construction and restoration. However, there may be some
changes to certain functions. Enbridge is providing compensatory mitigation after taking all
measure to avoid and minimize to the maximum extent practicable. Enbridge will be required to
provide 307 acres of compensatory mitigation through the purchase of wetland bank credits.
The mitigation plan will not only ensure that the vast majority of wetland functions are restored
at the impact sites but also that 307 acres of wetland will be protected in perpetuity.

One commenter cited potential impacts to wild rice.

Response: Enbridge used desktop and field survey methods to identify waters that support
natural wild rice stands that could potentially be affected by construction. Enbridge also
conducted wild rice surveys in 2018, 2019, and 2020 at waterbody crossings and water
appropriation sources near the proposed appropriation point. Table 5.4-1 in Enbridge’s
Antidegradation Assessment for Section 401 Water Quality Certification identifies receiving
waters that support natural wild rice beds. The project would cross eight waters identified on
the MNDNR Wild Rice Waters list or MPCA draft wild rice list. However, as a result of the field
surveys a total of 15 waters had wild rice present during the surveys. Of the 15 waters with wild
rice present during the field surveys, 10 crossings would be conducted via HDD, two waters
would not be crossed, one water would be impacted by an access road, one would be crossed
by a dry crossing method, and another crossed by a standard wet open cut method.
Impacts to waters that support natural wild rice stands will be localized and are anticipated to
affect only those that are crossed via a trench method. The MPCA water quality certification
prohibits Enbridge from conducting in-channel work in waters in close proximity to known wild
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rice waters, identified in Table 5.4-1 in Enbridge’s Antidegradation Assessment for Section 401
Water Quality Certification, from April 1 through July 15. Enbridge plans a dry crossing of the
Lost River where wild rice has been documented. Enbridge will largely avoid the sensitive
floating leaf stage of wild rice (typically May through June, depending on weather conditions) at
the Lost River through compliance with MPCA’s 401 water quality certification special condition
identified above. The section of the Lost River that will be crossed has previously been
disturbed by alterations connected with USACE flood control efforts in the 1960s and installation
of seven crude oil pipelines within Enbridge’s mainline corridor, most recently by the Alberta
Clipper Pipeline constructed in 2009-2010 using a dry crossing method. Despite this previous
disturbance, wild rice is present there today. Current data shows that wild rice has re-
established itself and flourished after those projects were completed. After completion of the
river crossings, Enbridge will restore each crossing location and wild rice vegetation will be
expected to reestablish. The pipeline trench will be backfilled with the spoil material and parent
streambed excavated from the trench. The in-stream trench will be backfilled so that the stream
bottom is similar to its pre-construction condition, with no impediments to normal water flow. No
permanent impacts on wild rice vegetation at any of the crossings are anticipated.

One commenter requested the project purpose be more broad and public-focused, and is too
narrow focusing only on one company’s needs and goals.

Response: Reponses to comments regarding the purpose and need are addressed in the
section above.

One commenter asserted that the project misrepresents the actual amount of wetland impacted
and indicated many more acres would be permanently impacted outside of the project right-of-
way.

Response: Direct impacts as a result of the project have been accounted for through
identifying the construction limits through wetlands and waterbodies. Generally, impacts to
wetlands do not extend far past the actual trenched or impacted area. Minimization as well as
BMPs, such as adequate depth of pipe, will reduce the potential for any unanticipated impacts.
In addition to BMPs, Enbridge will be required to monitor restoration of the ROW for a period of
at least 5 years, as well as conduct hydrology monitoring off-ROW at select locations as
determined by the regulatory agencies. Any unanticipated impacts would be identified during
the monitoring period. The impacts would need to be remedied on-site. If the impacts cannot
be remedied, Enbridge will be required to provide additional compensatory mitigation or utilize
the financial assurances to ensure the impacts are adequately compensated for.

One commenter asserted that the project’s impacts are contrary to and inconsistent with
achieving the goals and objectives of the Federal Clean Water Act which aims to protect and
restore the physical, chemical and biological integrity of the nation’s waters. The projects
construction and operation will admittedly violate state water quality standards.

Response: The goal of Section 404 of the Clean Water Act is to protect the Nation's aquatic
resources, while allowing reasonable development through fair, flexible and balanced permit
decisions. On April 15, 2020 the Fond du Lac reservation issued the Section 401 Water Quality
Certification for the portion of the Project that crosses the Fond du Lac reservation and on
January 31, 2019 the North Dakota Department of Health issued the individual Section 401
Water Quality Certification for the portion of the project within the state of North Dakota that is
being reviewed by St. Paul District. On November 12, 2020, the MPCA issued a Section 401
Water Quality Certification for the discharge of dredged and fill material into waters.
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One commenter requested the applicant prepare and submit an end-of-project-life
abandonment and/or removal plan such that the Section 404 and 401 analyses can include
these foreseeable project impacts and how these impacts might be avoided or minimized by the
no-action or other project alternatives.

Response: Potential future abandonment of L3 replacement is well outside the Corps’
regulatory authority as any impacts and effects of those impacts as a result of and
abandonment are uncertain. In addition, abandonment of any pipe may not require Section
404 or Section 10 authorization. However, fills authorized by the current permit would need to
be maintained for the life of the permit. Abandonment of maintaining the authorized fill could
result in suspension or the revocation of the permit.

One commenter cited concerns with Environmental Justice and indicated route alternatives
would result in disproportionate impacts to Native American communities.

Response: Environmental Justice and compliance with Executive Order 12898 is discussed in
Section 11.15 of the EA
